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UNITEO STRATES DISTRICT CouRF
FOR THE OISTRICT OF IODAHDC
The Accused Sovereign
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Vs’

No, CR-08-199- RHU)
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Case 3:02-cr-00197-RHW Document 26 Filed 03/26/03 Page 2 of 98

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Affidavit and Proclamation of Sovereign Elector /
With Notice and Praecipe to UNITED STATE S DISTR fT COURT

The definition for ihe words, terms, and phrases used hereon, in their lawful or legal tense, are found in Bouvier’s Law
Dictionary Anno Domini 1914 edition, (three volume set) in precedent Words used hereon in their non-lawful or legal
tense are found in Noah Webster's Anno Domini 1828 single volume diclionary in precedent.

Affidavit and Proclamation

The undersigned Larry - Fug tne 7 Kau A us j hereby declares
that, being of sound and disposihg mind and memory and not aeting under duress, menace, fraud or

undue influence of anybody whatsoever, do make, publish, proclaim, and hereby provide solemn and
formal Notica of the following:

A. fama Flesh and Blood [maleffemalej of Caucasian [race] descent, over
the age of 18 yaars. Tha Flesh and Blood of my Body constitute the substantive prima facia

Evidence in support of My claim te and possession of the de jure character of "Posterity,” and the
“Law of the Land” resides with Ma. | am nota

B. ji hold Preamble “Sovereign Citizenship’ in fhe State of Washington through my domicile and de jure

Common Law Natural Birthright through Blood and Descent, thereby establishing My Preamble
Citizenship and Fundamental Unalienable Rights through Consanguinity im common with the
Founding Fathers of the united States (of America Anno Domini 1789) the Republic, wha came to
This Land before Me. The Natural inheritance of Birthright, Blood, and Descent is antecedent to all
State and Federal Constitutions and not a consequence of them. | am a Sovereign Citizen of the
united States (of America Anno Domini 1789) the Republic.

ha ery ~ Eug ene 2 Raug us |
My domicileflacation far aver 30 days is:
ty, ond Lanepe bd

City of ¢ HESS HH : lash/waTa d a

The State of Washington, Anno Domini 1878

DO. | am a Sovereign Elector (under the Almighty Sovereign Creator}, with the Right to participate and
cast a Ballot(s) at local or State Elections. | have the Right and Authoritative Power to declare Myself
a Candidate for a local or State Elective Office and to have My proper grammatically correct
Name/Appeliation printed in the farm and manner | dictate on the "Elector Status Instrument" and/or

on the Ballot for Election of Office (other than a Federal Elective Office) should | declare ta seek such
Elective Office.

Affidavit of Elector Status Fage 1 of 2

 
 

Case eee Document 26 Filed es Page 4 of 98

The foregoing Information is True, and Correct, and therefore the Truth, the whole Truth and nothing
but the Truth, so help me My Almighty Sovereign Creatar neh ad
Wherefore, the Undersigned darry 7 Eas anes Kaus x#1 has set my hand and mark this =? 3
day, of the 3 month, in the year of my Master Redeamer Yahshua the Messiah, A.D. 62003.

Ail My Rights, Freedoms, and Liberties Retained.

 

Signed Absoiute Sovereign Washington Electer
Witness Witness

 

 

Notice and Praecipe

1. In the event you are unable or unwilling to camply with this Notice and Praecipe, duty requires that
you either rebut point-by-paint with particularity the claims herein or give explanation with particularity
as to the reasons for your inability or unwillingness to parform. In the absence of such rebuttal and/or
explanation, the Undersigned will demand a copy of your Oath of Fidelity and/or Oath of Office
together with the policy number, and name and address of your bonding company. Furthermore, your
failure either timely to rebut and/or explain your failure to perform under this Praecipe will constitute
your acquiescence and assent by tacit procuration to conclusive evidence of your concurence with
the contents of the above stated Affidavit and Proclamation.

2. You are hereby instructed to Well and Truly Conform the books, files [registry], and similar records af

your office to the Particulars set forth herein and to show the Undersigned's correct Name/appeliation
as an Absolute Soveraign Washington Elector.

Be aware, that you lack authority and are hereby prohibited fram altering the Undersigned Christian or
Family Name/Appellation and fram imposing either an alias or address upon such as, but not limited to,

Name(s), location(s), or item(s) labeled contrary to what | have stated herein. Any such alterations will
be refused for cause and fraud,

Any spellings of My Christian and Family Name/Aprellation that use all capital letters or that truncate or
transpose all or a portion thereof are misnomers and constitute evidence of an artifice to slander or libel
My Character and to create a colorable persona under color of law for purposes of deceit and fraud.

The foregoing Proclamation, having been presented to you by the Undersigned, you are hereby

instructed to perform hereunder and provide written confirmation of such performance to the Undersigned at
the location stated in Paragraph "D" above within twenty (20) days.

All My Rights, Freedoms, and Liberties Retained.

 

Signed Absolute Sovereign Washington Elector
Affidavit of Elector Status Page 2 of 2

 
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Case S02 cron gg BEN Document 26 Filed 03/2 XBRLE 5

District Court of the UNITED STATES
In and For the MISTRICT OF “EPAHO

. RP -o2-i97- RHW
he heey sed Seversign mah Case No.: No, & &

Darrius fugenesz Raugus
Nol. Ladivid uall
“Tony olun ta ry ~_ “Tr Jste e

AFFIDAVIT
by the Sovereign
Revocation of Implied
Power of Attorney

And
Supporting Affidavit

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UN) TED STATES OF AMER ICH

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AW FaTer pris €

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family, being first duly Affirm an Cath, ceposes ana Says my yeas be yeas and

my nays be mays and:

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My true and correct name/appellation is Larrys Bug eme Rang ust, and my
primary Domicile is: , net-domestic,
Bdaho, Repablie 1898 unless otherwise stated. I have current Knowledge of
the matters contained within this Affidavit, and i am of consenting age and
fully competent to testify with respect to these matters.

I, Larry +FEugest = Raug ust, as a Lawful North American Continent, American
National, Born on the Soil of the Sovereign Washington Country of the
Several Sovereign States, do hereby Wholly Rescind, Revoke, Cancel, Annul
and Terminate all Implied Powers of Attorney, in fact oF otherwise, signed
py me, my Agent (s), Parents, parens patriae, implied in Law or by Trust,
Voluntary or Involuntary, with or without my informed Consent and or
Knowledge, ag these Revoked Implied Power(3} of Attorney pertain to me in
the Past, nunc pro tunc, present-current, and the future.

Any other Evidence or Presumption to the contrary is hereby Rebutted. Any
past signatures or authorizations on any Internal Revenues Service 19040'2,
W-4's, 1099's, 941's, etcetera, and/or Social Security Administration forms
(S8-5), and/or state(s) Drivers Licenses, and/or Vehicle registrations,
and/or Birth or Trust Certificates, and/or Voter Registrations, and/or any
ether Franchises with any agency(s) of the Corporate Government (#) eEtc.,
weee in Error and Involuntayvily made under Threat, Puress. and Coercion
(Toc). I hereby Revoke, Cancel, and render Nuli and Vota, nunc pro func,
poth Currently and Retroactively to the time of signing, any and all such
Contracss and/or Franchises.

That Me man, woman, elected Official, public servant, Dureaucrat,

Corporation, Government or state has any authority wnatscever to act on my

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behalf, nor to represent, or re-pre-sent me in a Court of Law, mer any
Legisiative or Judicial Tribunal, nor Any administration that binds me to
any Unconscionable Adhesion Contract(s) or Franchise(s) that I have Not
entered into Knowingly and willingly after full Disclosure of all facts.

I have made, constituted and Re-affirm my full Fower of Attorney and
Soverg@ign Rights, Effective (ted) Immediately, over all my Private and
business Affairs. I give and grant myself full Power and Authority to do
and to perform all and every act and things whatsoever necessary te be done
to ensure that the Unalienable and Severaign Rights, secured by me under
the Laws and Covenants by my Absolute Severeign Creator Yahweh, and the
Declaration of Independence A.D. 1776, the Grganic Laws of and the
Constitution for The united States of the North American Continent, The
Common Law, and the State Constitution for the Sovereign Country of
Tdahke  A-6.1896, will be Honored, Respected and Protected. I have
also given my sacred Gath to protect and defend The Constitution for the
united States of the Northern America against all enemies foreign or
domestic and against any form of tyranny.

I nave already declared “sui juris” status in connection with my private,
Property(s} and my namé/appellation. If any agency of any of the Corporate
government(3) diapubtes the above Affirmed Claimed “status” in connection
with the “name/fappellation” Affirmed by my Gath and Sealed in this
Affidavit, I Demand any such party Bring ferward and produce all documents
and or Contracts or Franchises being “held-in-due-course,” Pursuaat ts
U.c.c. 3-305.52 and U.C.c. 3-595, that create Any Legal disability to my

claimed “sui juris” Status and “alleni juris" relating to my

page 3 ofS

 

 
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“Name/Appellation”. I am Not under any circumstances to be construed as tg
a revocation of Any of my Sovereign Unalienable Rights thus Secured.
Perjury Jurat
I, Larry= Eugen®: Rangustie hereby Affirm under the Laws and Covenants of my
Absolute Sovereign Creator Yahweh and under the Pains and Penalties of Perjury
under the Laws of the united States of America A.D. 1787 Pursuant te the Title
28 usc § 1746(1} and executed “without the UNITED STATES,” that the foregoing
is True, Correct, Complete and Certain to the best of my Belief and current
infermed Knowledge. I now affix my Signature and official Seal te all of the
above Atfirmation(s) with Explicit Reservation and Retention of all my
Unalienable Rights, Without Prejudice to any of those Rights pursuant to
U.¢.¢. 1-103.6 and u.c.c. 1-207, 1-208.
Further the Sovereign Electer Sayeth Not,

Hegpectfully, Date:

 

 

Seal of, Jarry Eugene, Rang nsT, The Sovereign In Propia Persona

The Stata of daha )

The Coanty of } Affirmed Notary
On ; _. before ma, Larry ~ Engane 2Raug usTappeared and proved to

me by satisfactory evidence ta be the Sovereign-American-National whose name
is subscriped ta the within instrument and executed, the same in his Sovereign

Capacity with his signature on said instrument beltore me.

page 4 2

 
 

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Witness my hand and Official Seal.

 

 

 

My commission expires Type of 1.0.

Affiant Picture I.D.

 

 

 
 

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Case $:02-0r-004gs -RHW Document 26 Filed cara Pale of 58

CHELAN COUNTY DISTRICT COURT

STATE OF WASHINGTON, }Cause No. CO349546, CO349547, &
) 39BBCPR
Plaintiffs, }
vs. )} Special Plea in Bar

)

;Plaintiff is a Nul tiel

STRAND, RODNEY DALE, }corporation,
Defendant/Trust jand

)Coram Non Juidice ¢,
And “The People of the State of }
Washington”
By intervention

 

Comes now the People of the State of Washington and make this
special plea in bar in order to affirmatively aver that the
plaintiff to this action is a nul tiel corporation, and that this
court is without judicial power. This special plea in bar is to
attack the prerequisite jurisdictional requirements necessary for
jurisdiction. This plea in bar does not address the elements, or
the sufficiency of the plaintiff’s pleading, but is intended to

raise jurisdictional matters that speciaily bar this alleged

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Memo in support and Offer of Proof of no judge in the premises

 
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court from further action. This plea is recognizable at common
law, and by this courts own rules as follows:

While recognizing that CRLJ 2 allows only one form of action
to be known as “civil action”, the court rules provide by rule §,
and 9 the ability of a party to raise affirmative defenses
attacking the capacity of the plaintiff, and the court. CRLJ 4ic)

“In pleading to a preceding, pleading, a party shall set

forth affirmatively...and any other matter constituting an

avoidance or affirmative defense.” (Emphasis mine}.

CRLJ 9(a)sets frth the required criteria to attack the capacity
of a party to sue.

“When a party desires to raise an issue as to the legal
existence of any party or the capacity of any party to sue or
be sued or the authority of a party to be sued ina
representative capacity, he shall do so by specific negative
averment.” (Emphasis mine).

Likewise the “criminal” rules at CrRLdJ 1.1 says

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These rules govern the procedure in the courts of limited
jurisdiction of the state of Washington in all criminal
proceedings and supersede all procedural statutes and rules
that may be in conflict. They shall be interpreted and
supplemented in light of the common law and the decisional
law of this state. These rules shall not be construed to
affect or derogate from the constitutional right of any
defendant.” (Emphasis mine)

While we do not anticipate a refusal to follow the court
rules on the part of Alicia Nakata, We are neverthiess familiar
with the reputation of this court and feel this lengthy
explanation warranted.

Plaintiff is a Nul tiel corporation

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It is our position that the plaintiff in this matter is
not a legal entity under the Constitution. By specific
nhegative averment, “f deny the People have delegated the State
or the United States authority to create an entity that
resembles the State Government, but does not utilize the
style of process of the State Government. “f deny such entity
is a necessary and proper instrumentality of the United
States.
Coram Non Juidicia

It is our position that this court is at best a court engaged
in the private business of judging. It is well settled in Federal
jurisprudence that the salary of a Federal judge may not be
diminished during their continuance in office. Article three of
the Federal Constitution. Also the Federal taxing power does not
extend to State judicial officers. We aver that the salary of the
judges of this court do have federal taxes withheld from their
pay. We allege that this fact is conclusive that the office these
judges occupy is non-judicial, and is a nen governmental
function. We deny this court holds any judicial power to execute

a sentence, or enforce its rulings.

Memorandum in support.

Issue one Plaintiff is a Nul tiel corporation

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In 1878 the people by lawful convention created a State
Constitution. On Dec. 5°" 1878 the election was held, and the
Constitution was passed. Pursuant to the schedule, sec. 5, the
territorial officers continued to hold office until the
superseded by the authority of the State. At sec. 17 of the
schedule, the first general election was to be held on the
Tuesday next succeeding the sixth Monday after the admission of
the state. The first election was to elect among other offices,
the members of the legislature. There was a considerable time
period until the State was in fact admitted to the Union, but it
did occur in 1889, and was allegedly done by senate bill No. 185.
To the best of my knowledge the State of Washington was admitted
on Jan 28, 1889, and therefore pursuant to the schedule, on the
Tuesday next succeeding the sixth Monday, the territorial
legislature was toa be replaced by the State. The State Supreme
Court admitted the occurrence of Statehood in 1936 in Ryan v.

State as follows;

 

“py the enabling act of Congress, passed Feb 22, 1889, the
territory of Washington became the State of Washington.
Subject to the limitations and restraints of the Federal
Constitution, the state as such, has all the sovereign powers
of independent nations over all persons and things within its
territorial limits.” 188 Wash, 115,130 (1936)
It should be noted that on Feb 22, 1889 the only Convention held
in which a Constitution had been drafted, was in 1878.
There has yet to be an actual election done by the State

under the lawful process. I have searched diligently for such an

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election and find no such election has taken place.

"Full and conclusive proof is not required where a party has

the burden of proving a negative, but it is necessary that

the proof be at least sufficient to render the existence of
the negative probable, or to create a fair and reasonable
presumption of the negative until the contrary is shown.”

Higgins v. Salewsky 17 Wn App, 207, (1977)

It appears that without an election having taken place by the
People of the State of Washington, we are ieft with a government
Defacto. The present government in fact is the remaining
territorial government, possibly filling the state functions. The
term “State” was construed to mean “Territory” by an unauthorized
act (session laws 1889, p. 94) see also

“Thus in some statutes, the term “state” will be construed
to include a territory.” AM Jur “States etc.” $2
While the Law does allow an officer defacto, the law does not
recognize an office defacto. (State v. Moore 73 Wn App.
805, (1994), State v. Canady 116 Wn 2d. 853, (1991), Higgins v.
Salewsky 17 Wn App, 207, (1977). It 1s possible to fill in fact
an office that does not rightly belong to you, yet it is not
possible to in fact fill a nen-office. If the members of the now
deceased territory in an unlawful manner did in fact occupy the
seats of the State, then in order for the acts of the defacto
State Officers to be valid, they would neéd to conform to the
lawful requirements of the State Constitution.

It should be addressed at this point that in 1889 a

convention was convened in violation of the first constitution,

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Memo in support and Offer of Proof of no judge in the premises

 
 

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at Art XVI Section 2. The former Constitution allows a process toa
call another convention. This process was not followed by the
second convention and for this reason it is a nullity. It is also
pointed out that the 1889 convention did not produce a
constitution that admitted Washington into the Union. The
original Constitution is the one upon which Washington gained
admittance.

Based upon the premise that the present government is at
best defacto, and that the officers defacto fill the offices of
the Constitution, their acts are valid only if they would have
been valid had they held their office dejure. In other words, a
defacto officer, and a dejure officer have this in common, all
their acts must be lawful. In contrast a defacto office can do no

act at all, since there is no such office.

In order to prosecute in fact on the People’s behalf, the
style of process must conform to the process required by law. As
a territory the style of process was “Territory of Washington”.
Upon statehood, the actions commenced by the territory were
required to be prosecuted in the name of the State. See Sec. 1,4
ef the schedule. The process af the State is to be “ The People
of the State of Washington”, Article VIII Sec. 17. There appears
to be a fraudulent attempt to replace “State” with “Territory”,

and continue the territorial process possibly under the theory

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that the second state constitution’s schedule at sec. 1. Once
again if there is a claim by plaintiff to an office in fact, the
actions of such officer defacto must comply with the law, If
Plaintiff claims a territorial office, it is a claim to an office
defacto, and has no basis in law. If he claims to be a defacto
officer, then he must prosecute all actions by the Constitutional
Mandated style of process, or show cause why the second state
Constitution supersedes the prior one.

Whereas the process does not comply with the Constitutional feqyeent
the action is either not on behalf of the government, (not by a
office defactca) but simply a person, or it is done by the defacto
government, but does not follow the law, (making it of no legal
effect).

This county seems to have trouble understanding what the
State Supreme Court ruled an action involving this county,
although utilizing the second state constitution, as follows:

“As to the first, it was urged that since the notice te

respondents did not run in the name of the state of

Washington, and that by art. IV, $. 27 of the state

constitution, all process is required to be in the name of

the state of Washington, the notice was ineffectual to give

jurisdiction. An elaborate argument on this point is pressed
upon us on this point *=preseed-upemes to show that the
notice herein is process within the meaning of the
constitution. But we think it unnecessary to enter into a
review of this question, since we have heretofore held that
a summons in a civil action iS not process; and we think the
notice given herein stands on no higher plane. State ex rel.
Chelan Elec. Co. v. Sup. Court. 142 Wash. 270, 282, (1927)

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The court admitted that since the notice was not done in the name
of the State, it had no higher standing than a civil summons.
Citing Wagnitz v. Ritter

“The summons is in no sense a process of the court; it is a

notice merely, which an attorney is authorized to issue and

cause to be served without the direction or knowledge of the
court.” Wagnitz v. Ritter 31 Wash, 343,349, (1993).

No doubt this court will cite State v. Fisk, i51 Wash. 323,
(1929). The court should note that in State v. Fisk,

“The case proceeded regularly to trial upon the merits in
the superior court, sitting with a jury, there baing no
challenge, demurrer or plea interposed by the defendant ta
the information other than his plea of not guilty.” Emphasis
mine

On appeal the only issue was the signing of a deputy in place of
the principle. The issue of process was not raised, and the court
stated “the prosecution was instituted in the name of the state
as required by Art. 4 sec. 27 of our state constitution”. I
challenge the premise that the second state Constitution is
controlling, as well as the fact that the process at bar conforms
to the explicit requirements of either constitution.

Based upon the fact that the notice provided defendant was
not done in the name of the State, as constitutionally required
(by either constitution) I challenge the plaintiff to prove it

has legal existence:
Issue two Coram Non Juidicm#c

The court has no judicial authority to act. It is avered that
the salaries of the judges of this court are taxed by the Federal
government. It has long been established in multiple rulings that
the salary of a State officer cannot be taxed by the Federal

Government. The taxation of the salary of the judges of this

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court give rise to the rational presumption that they are not

State officers.

“It would seem to follow, as a reasonabie, if not a
necessary, consequence, that the means and instrumentalities
employed for carrying on the operations of their governments,
for preserving their existence, and fulfiliing the high and
responsible duties assigned to them in the Constitution,
should be left free and unimpaired, -should not be liable to
be crippled, much less [199 U.S. 437, 4609] defeated, by the
taxing power of another government, which power acknowledges
no limits but the will of the legislative body imposing the
tax. Collector v. Day 11 Wali 113,

And also

“Thus as to persons or corporations which serve as agencies
of government, national or state, and also. have private
property or engage on their own account in business for
gain, it is well settled that the principle does not extend
to their private property or private business, but only to
their operations or acts as such agencies;2 and in harmony
with this view, it has also been held that when a state
departs her usual governmental functions and “engages in
business which is of aprivate nature” no imunity arises in
respect to her own or her agents operations in that
business.” Indian Mortorcycle v. United States. 283 U.5.
570, (1931)

And also

“.. by the very terms of the rule, the immunity of the states
from federal taxation is limited to those agencies which are
of a governmental character. Whenever a state engages in a
business of a private nature, it exercises nongovernmental
functions, and the business, though conducted by the state,
is not immune from the exercise of the power of taxation
which the Constitution vests in the Congress. This court, in
South Carelina v. United States, 199 U.S. 437 , 26 8.Ct.
1190, 4 Ann.Cas. 737, a case in no substantial respect
distinguishable from the present one, definitely so held.
Compare Board of Trustees of University of Illinois v.
United States, 289 U.S. 48, 59 , 53 5.Ct. 509.” STATE OF
OHIO v. HELVERING, 292 U.S. 360 (1934)

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They went on to say

Also

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“Whenever a State engages in a business which is of a
private nature that business is not withdrawn from the
taxing power of the Nation.” The decision sustained the
identical tax provisions involved in the present case, and
therefore we follow it as controlling.” STATE OF OHIO v.
HELVERING, Supra

 

“Tn other words, the two governments-national and state-are
each to exercise their powers 50 as not to interfere with
the free and full exercise by the other of its powers. This
proposition, so far as the nation is concerned, was affirmed
at an early day in the great case of M'Culloch v. Maryland,
4 Wheat. 316, 4 L. ed. 579, in which it was held that the
state had no power to pass a law imposing a tax upon the
operations of a national bank. The case is familiar and
needs not to be quoted from. No answer has ever heen made to
the argument of Mr. Chief Justice Marshall, and the
propositions there laid down have become fundamental in our
constitutional jurisprudence.” STATE OF SOUTH CAROLINA v.
U.S., 199 U.S. 437 (1905)

 

“Not only, therefore, can there be no loss of separate and
independent autonomy to the states, through their union
under the Constitution, but it may be not unreasonably said
that the preservation of the states, and the maintenance of
their governments, are as much within the design and care of
the Constitution as the preservation of the Union and the
Maintenance of the national government. The Constitution, in
all its provisions, looks to an indestructible Union,
composed of indestructible states.” Texas v. White 7 Wall.
700, 725, 19 L. ed. 227, 237

Tt is inconceivable that this court could or would be willing
or

est these cases, wish wee the immunity or lack thereof, and

eed to act “judicially without rebuttal to the premises

blished by this pleading.

Date

 

Metio

Page: 10 of 11

in support and Offer of Proof of no judge in the premises
 

Case weep Document 26 Filed og Page 20 of 98

The People of the State of Washington,

By its lawful designee.

Page: 11 of 11

Memo in support and Offer of Proof of no judge in the premises

 
nt 26
Case 3:02-cr-00197-RHW Docume

In Propria Persona

Under Protest and
by Special Visitation

UNITED STATES DISTRiIct COURT
OISTRIC? OF MINNESOTA

FOURTH DIVISION

Plaintirs [sic], NOTIcg AND p To DISMiss
FOR LACK OF RIMIN,

EVERETT c. GILBERTSON [sic],

Defendant [sic],
ae

ee

 

COMES Now Everett c. Gilbertson, Sui Juris, Citizen of Minnesot,
State, @xXpreasly hot 4 Citizen of the United States ("federa)
citizen") and Defendant in the above fhtitied hatter (hereinafta,
"Defendant*) , fo demand an immediate dismissa] Sf the instant
Criminal case, with Prejudice, For lack Of any &¥iminal
Jurisdiction tO proceed in the First instance, either over the

Subject Matter or Over the Person or Property oF

 

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RH men F Page 22 of 98
i 6 age

W Document 26 Filed 98/2

: - -00 -

Case 3:02-cr 6

Federal Rules of Evidence,

KNOW ALL BY THESE PRESENTS:
(Preambla ta 7 ered Paragraphs,
I, Everett Cc. Silbertgon Sui Juris, Defendant in the above
entitled Matter, hereby demand

Siva Jurisdiction over the AXacr
F€09raphical location where the alleged Criminal activity
Mentioned In the 59~-Called indictment is allegeg to have taken
Place, Defendant Was not “rested in any fort
arsenal, dockyard,

"needful building",

within Minnesots State,

Situated within ANY of

the federa] Zone) ,

A very recent us.

Supreme Court dec
1995,

ision,

dated April] 26,
of exclusive legislative Jurisdiction
of the Congress, and the POWers of the federg} 7oVernment .
Justice Thomas, in a Concurring Majority Pinion in Uys vy,
Lopes, 115 S.Ck, 1624 (1995), i32 of, Ed.2¢ 626, very Clearly favs
Indeed, © this crucial Point, the Majority and Justice
Breyer dissenting; agree 4 Principle: the Federal
Government has hothing SPPOaching & Police Powe - at
Page 64,

femphasis &ddard
Justice Thomas Went on

to discuss "

a Tedtlation Of Police
at page 86, Wherein he Slated as follows:

7 3 Wall, 41, 19 L.Ed 593 (1E70)
t time the Court BEruck @ federal i
exceeding Che power COnVveyad by the co

 
RH men F 2 Page 23 of 98
i 6 ag

1 W Document 26 Filed 03/ é

: - -00 -

Case 3:02-cr 6

2 Page opinion, the court invalidated ‘a Nationwide law
Prohibiting all Sales of Neptha, and illuminating Sills, ty
50 doing, the court Telarked that the Comme rca clause "has
always Been Understood aS limiteag by its terms; and as 3

Vittyal denial Of any Power to interfere with the interna)
trade and business Cf tha S@parara States 7 Za. at Dage 44.

Earlier iy the text, Justice Thomas, td. at Page 45, Said,
"Even before Gibbons, Hier Justice Marshall, Writing for the

Court in Cohens y, Virginia, 19 uls. 264, ¢ Wheat 264, 5 L.Ed 257

committed Within Any of the States, « and that Congress fONld nor
Punish felonies generally, However, Congress fouid fhect laws
for Places Where jt enjoyed Plenary Powars, for instance, Over
the District of Columbia, and whatever effect Ordinary Murders,

robberies, Cr gun P°S8Session hight have Or interstate Commerce

The first Federal Criminal Act dia not ®Stablish a
hationwide Prohibition ag4ingt murder 4nd the dike, See Act of
April 30, i790, Chapter 9 (1 Star, 112]; tather, Only when
committed in United States (federal) government) territories and
Possessions, SF on the high SG95. With the Single &XCaptions of
treason and weunterfeiting, and Notwithstanding any of the
effacts which Murder, robbery, OF gun POSSession Might have on
interstate Coliterce, Congress Understagg that it SOuld pop

establieh hationwide Prohibitions. Period,

Justice Thomas Slunhed UP hig Pinion dramatically With the

 
 

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Statement quoted in part herein:

If we wish to be true to a Constitution that dees not cede a

police power to the Federal Government ....

(1) "All federal crimes are statutory.” Dobie, "Venue and
Criminal Cases in the United States District Court," Virginia Law
Review, 287, 289 (1926), quoting: *" ...(9)n the other hand,
Since all Federal Crimes are statutory and all criminal
Prosecutions in fhe Federal courts are based on Acts of
Congress,” Rule 26, Federal Rules of Criminal Procedure, Taking
of Testimony, Advisory Committee Notes, 1944 Adoption, paragraph

2 {emphasis added).

Notice and Demand to Dismiss for Lack of Criminal Jurisdiction:
Rage—-of th
(2) Rule 54, Federal Rules of Criminal Procedure, Paragraph
(c}, Application of Terms, toa wit: "Act of Congress" includes
any act of Congress iocally applicable to and in force in the
District of Columbia, in Puerto Rico, ina territory or in an
insular possession. [emphasis added}
(3) There is no presumption in favor of turisdiction, and
the basis for jurisdiction must be affirmatively shown. Hanford
v. Davis, 16 3.Ct, 1051, 163 0.5. 273, 41 L.Ed, 157 (1896).

(4) See exact wording of og EE te

in the ven!

     

Pee sigtes 7 averiia, Which grant
of authority does not extend over every square inch of the 46
eontiqueus Union states or over the 50 Union states.

(5) In principle, the exclusive legislative jurisdiction of
the United States (federal government) is not addressed to

subject matter, but toa specific geographical locations, See U.S.

pose 4 ef 20
Case serge Document 26 Filed oe Page 25 of 98

v, Bevans, 16 U.S. (3 Wheat} 336 (18148).

{6) Yt is axiomatic that the prosecution must always prove
territorlai jurisdiction over a crime, in order tao sustain a
conviction therefor. U.S. v. Benson, 495 F,?d 475 ak 481 (i974),
A jurisdictional defect can never be waived by the Defendant, nor
acquiesced by the Defendant, in the absence of a positive showing
upon the recoard that Jurisdiction was clearly and unambiguously
established, It takes an Act of Congress!

Notice and Demand to Dismiss for Lack ef Criminal Jurisdiction:
“Page 4d of ia.

{7} Without proof of the requisite ownership or possession
by the United States, the crime has not heen made out. U.S. v.
Watson, 40 Fed. Supp. 649 (1948, E.D. Va.). Only in America can
We be forced into the status of "subjects”™ of a foreign
carporation, hy fiat legislation and the stroke of a CEO's pen,
at the point cf a gun, and thereby be immediately divested of

Standing in judicis, and declared to be debtors and enemies of

our Own government. Sea if U.S .0. Bbas: aagh uh

(8) In eriminal prosecutions, where the United States
{Federal government) is & proper moving party, it must not only
establish ownership of the property upon which the crime was
allegedly committed, but it must also produce documentation that
Minnesota state has ceded to it 4durisdiction over that property.
In the case of Fort Leavenworth Railway Ca. v. Tawa, 114 U.S. 525
at 831 (1885), the U.S. Supreme Court held as follows:

Where lands are acquired without such consent, the

possession of the United States, unless political

jurisdiction be ceded to them in some other way, is simply
that of an ordinary proprietor.

page FF 2°

 
 

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(9) No jurisdiction exists for the United States {federal
government) to enforce federal criminal laws, until consent to
accept jurisdiction over acquired lands has been published and
filed in behalf of the United States, as provided in We,
ech. The fact that a state may have authorized the United States
to @kercise Jurisdiction 18 immaterial, See Adams v. United
States, 319 0.3. 312, 63 S.Ct. 1122, 87 L.ifd. 1421 (1943).

(10) All courts of justice are duty-bound to take judicial
notice of the territorial extent of jurisdiction, although those

acts are not formally put into evidence, nor in accord with
pleadings. Jones v. U.S., 137 U.S. 207, 11 S.ct. 86 {1996),
Notice and Demand to Bismiss for Lack of Criminal Jurisdiction:
Pergeh oft.

{11} Where a federal court is without jurisdiction over the
offense, a judgment of conviction by the court and/or by the jury
is void ab initio, oniits face, Bauman v, U.S., 156 F.2d 534
(Sth Cir, 1946). [emphasis added]

(12) Pederal criminal Jurisdiction is never presumed; it
must always he proven; and it can never be waived. See U.S. v,
Rogers, 23 Fed, 658 (USDC, W.D. Ark., 1885}.

(13) The federal courts are limited beth by the Constitution
and by Acts of Congress. Owen Equip. & Erection Co. v. Kroger,
968 S.Ct. 23596, 437 U.S, 365, 57 L.Ed.?d 274 (1978),

(24) The jurisdiction of federal courts is defined in the

eo af oherte’s "0. fer judicial courts; in Tare
for legislative courts; ang in fericin fe for territorial
courts. Some courts created by Acts of Congress have been

referred to as “Constitutional Courts," whereas others are

Prt waft Re

 
Tegarded as "LEGislative Tribunals, » 9" Donoghue v. U.s., 2ag
U.S. St¢@ (1933), T? L.Ed 1356, ag 3.Ct, 74: Mookini Vv. U8, 303
U.8. 201 at 205 (1938), 82 L.Ed 748, a8 3.Ct. 244,

(15) Legislative POUrt sudges do not enjoy Meedoiu gay

Tuarantees; "inherently Judiciajs fasks must be Performed by

Judges deriving Power under Set bers riiy See U.s, Vv. Sanderg,

oa

641 Pog 659 (1984), Cert. den. Loi S.Ct, 43055, 452 U.s. 518, §9

{16) Creation and COMPOSition OF the Uniteg States District
Court Pho omy Wera accomplished by Acts of Congress on June 25,
1948 [62 Stat, B95), and November 13, 1963 [77 Stat, 331],
currently Codified ap ww Lig and the JUrisdictrion
theraorz, Previously demonstrated herein, i.e, Chapter 85 of Title
28, lists civil, admiralty, Meritime, Patent, bankruptey, Gtc.,

ahd does net once list, Mention, Or describe any CYiminal

Jurisdiction. It is hot there, 80 don't Dother looking for itt

Notice ang Pemand to Dismiss for Lack of Crimina? Jurisdiction.

criminal JUrisdictign whatsoever ; thege COUrts have Only such
Jurisdiction a5 is Conferreg EON them By Act of Congrags under
the Constitution. See Hubharg y. Anmernan, 465 Flog ilés (Sth

Cir, 1972), Cert. den. #3 S.cr, 967, 410 Us, 910, 35 L.Ed .2q

Upon it, GBxcept as Prescribed by Congress. See Graves Vv. Snead
 

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54] Floy 139 (6th Cir., 1976}, Fert. dan. 97 S.Ct, 1106, 429 uls,
1993, 451 L.Ed.2d4 $39, fnelusio Unius asp exclusia altering.

(19) Tt is ¢PParent that the
for the Judicial District of Minnesota WAS Created and
@stablished under SS ay and its Jurisdiction is defined
And limited by Chapter a5 of Title 28, Unite States Code. The
Historical and Statutory Notas under 28 U.S.C. ya Contain the
following important TWalification in the Section entitled
"Continuation of Organization of Court, Co wit:

Section 2{b} of Act June 45, 194g, Provided in Part that the

Provisions of this title as Set out in Section 1 of S@id Act

June 25, 1248, with respect to the organization of the
Sourt, shalj be Sonstrued as a Continuation of existing law

eee

femphasis added]

(20) The FOUTtS of 4PPropriatea Jurisdiction for Violations
of Title 12 U.S.C. are designated at PESh lan gone, Specifically

naming them as CUEED. Suarhe oF tee oso Tidings [sic],

(21) Thate igs a distince and definite difference between a
"United States District Court" (MSU) ang @ "District Court of
the United States" CTD The words "District Court of the
United States" Common ly describe constitutional COurts Created
under friivie ii! of the Constitution, not the tegislative Courts
Which have long been the COUrts oF the Territories. See
International Longshoremen'¢ & Warehousemen's Union y, Junean

Spruce Corp., 342 OLs, 237 at 24i (1952), 72 S.Ct, 235, 96 L.Ed,

275, 13 Alaska 276,
 

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describes «"'.. * *° courts, or "courts of the United States",
and not legislative courts of the territories. See American
Insurance Co. vv, 356 Bales of Cotten, 1 Pet. 511 (1828}, 7 L.Ed
242; International Longshoremen's and Warehousemen's Union v.
Wirtz, 170 F.20 183 (9th Cir., 1948), cert. den, 336 U.S. 919, 93
L.Ed. 1082, 69 8.Ct. 641, reh. den, 336 U.S, 971, 69 S.Ct. G36,

(23) Though the judicial system set up in a territory of the
United States is a part of federal jurisdiction, the phrase
"court of the United States", when used in a federal statute, is
generally construed as not referring to "territorial courts".
See Balzac v. Porta Rico, 258 UlLS. 298 at 312 (1921), 42 S.Ct.
343, 66 L.Ed. 627, In Balzac, the High Court stated:

The United States District Court is not a true United States

court established under °-:' .:. | of the Constitution to
administer the judicial power of the United States therein
conveyed, ft is created by Virtue of the sovereign

 

congressional faculty, granted under heii.) Te, he tase
oF that instrument, of making all] needful rules and
regulations respecting the fearritory belonging to the Unite
States. The resemblance of its jurisdiction to that of true
United States courts in offering an opportunity te
nonresidents of resorting to a tribunal not subject ta local
influence, does not change its character as a4 mere
territorial court.

{emphasis added!

Notice and Demand to Dismiss for Lack of Criminal Jurisdiction:
Paqe-3—3f 18.

(24) The distinction within the duai nature of the federal
court system is also noted in Title iv {).:... 3711, which states
that the United States District Court for the Canal Zone shall
have jurisdiction ".,., concurrently with the district courta of
the United States, of offenses against the laws of the United

States committed upon the high seas." [emphasis added]

(25) This distinction is the reason why federal jurisdiction

page 7 j Ro

 
 

 

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over prosecutions ig more than a technical concept: it is
Constitutional requirement. See U.S. v. Johnson, 337 F.2d 180,
aff'd 3B3 U.S. 169 (1966), 86 S.cr, 749, 15 L.Ed.2d 681, cert,
den. 87 5.Ct. 44, 134, and 385 U.S. 646, 17 L.Bd.3d 77, 117,

(26) The distinction between "district courts of the United
States" and "United States district eourts" is readily apparent
in the Section of Title 18 dealing with civil remedies for

activities prohibited by is ui. |

 

(i.e, racketeering).

Subsection (a) of Th asc. 4

 

"£ Makes explicit reference to the
Article Ili "district courts of the United states", as follows:

{a} The distriet courts of the United States shall have
jurisdiction to prevent and restrain violations of section
1962 of this chapter hy issuing appropriate orders

{emphasis added]

Subsection (c) of 1h Ul,e.u. ‘904 makes explicit reference to the

Article IV "United States district court", as follows:
{c) Any persen injured in his business or Property by

reason of a vielation of section 1962 of this chapter may
sue therefor in any appropriate United States district court

{emphasis added]
The language of these two subsections is almost identical in
scope, with the important difference resulting from an apparent

need fo legislate separate and distinct court authorities for the

Arhieit iii and for the Agtivls iv forums, respectively,
Inclusio unius est exclusio aiterius, See also 22 05.0. 144. et
seq., in which Congress appears to have confused the Tie) with
the 22 throughout the removal statutes codified therein.

Notice and Pemand te Dismiss for Lack of Criminal Jurisdiction:
Page/@ of HF mo

 
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(27) Besides the Lopez decision, at least two other courts,
i.e. United States District Courts, have come ta the same or
similar conclusions. See U.5.A, v. Wilson, Stambaughr, Skott,
Ketchum, Braun, and Ballin, ‘J0\., Wisconsin, Case Number 44-CR-

140 (March 16, 1995); and U.S. v. Kearns, wil, Temas, Case

 

Number SA-95-CR-201 (October 6, 1995),

(28} Interestingly enough, in a bankruptcy case in the U,3,
Bankruptcy Court, Middle District of Pennsylvania (Chapter 13),
Case No. 5-94-00839, titled In re: Francis Patrick Farrell v.

2efe CT, the alleged debtor sued out a compulsory counterclaim

 
 

against the i: rk after the alleged creditor submitted its
Proeef of claim. The counterclaim showed an extent of corruption
unparalieled in American history, to which agencies of the
federal government will often resert, specifically by placing a
fraudulent "T-Code" on Individual Master File ("IMF") records.
(29) In this way, the /ky/iiT: use Admiralty and Maritime
forfeiture laws to deprive a state Citizen of property and
assets, and to mis-classify Him as a "high level narcotics
trafficker." This occurred on November 17,1995! Why? See U.S.
v. Good, 114 S.Ct. 492 at 502, footnote 2? (1993), A similar mis«
Classification ~~ “Illegal Tax Protester" -- is likewise an

oxymoron for violating the f lie. Amescim {protest has never

 

Been illegal in America) and for forcing a construction that
reveals an "illegal tax," for all the world to see!
Notice and Demand to Dismiss for Lack of Criminal Jurisdiction:
Page tt oft

SUMMARY

The United States District Courts ("usce") have no criminal

page )| af 20

 

 
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' Particularly

 

the Private real Property Of tha

Criming} Jurisdiction whatsoever
within ANY of the 50 Union States.
Not a Single Act of Congress Vests the MSE, ae distines
from the MUS, with

anything Bat "civil" authority,
absolutely Te

There is
Criminal Jurisdiction

Vested in Said territerisy
tribunals, #Uthoriszag by Sthicte oo An the u,s, Constitution,
Recent Tésearch has alsa Proven thar the feder
hag Sabotaged the uULs Cons

 

Bart by
that the United States District
has Cerritorig} and Subject Matter JUrisdiction

within the S€veral Slates of

Criminal Prosecutions, When it does hot,
The truth is that the

United States (PITS) is

 

f and upon all

the Fundamental JWarantes OL due
blocess of law. Sedition by Syntax is Not due

 

 
Case “eee Document 26 Filed oe Page 33 of 98

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REMEDY DEMANDED

Therefore, Defendant hereby demands that this Article iv

legislative tribunal establish exclusive, original jurisdiction

py producing certified documents consisting of the following:

{a) Documentation showing "United States” (federal

government} ownership of each and every geographical location

mentioned in the instant indictment, wherein the alleged criminal

activity took place;

(pb) Documentation from the Minnesota Legislature which

provides evidence of a cession by Minnesota state, surrendering

jurisdiction te the "United States" (federal government} over the

geographical location as stated in (al above;

{c} Documentation pursuant to fitie io U.o.0, "os, wherein

“United States" (federal government} accepted jurisdiction to

geographical location as stated in {a} above, or,

decumentation showing concurrent Jurisdiction with Minnesota

State over the geographical location as stated in {a) above;

hereby demands that this V

Alternatively, absent the requisite documentation, Defendant

    

we

“ dismiss the instant case with

 

 

prejudice and in the interests of Justice, pursuant to Rule

12(h) (3) of the Federal Bules of Civil Procedure. "Shall* as

used therein ig mandatory. Confer in Black's Law Dictionary.

Dated;

Respectfully submitted,

/e/ Everett C. Gilbertson

Everett C. Gilbertson, Sui Juris
Citizen of Minnesota state grat ii +f 26

 
 

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(expressly not a citizen of the United States)

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Netice and Demand to Dismiss for Lack of Criminal Jurisdiction:

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Exhibit "AP:
Federal Criminal Jurisdiction

It is a well established principle of law that "ail federal

legislation applies only within the territorial jurisdiction of
the United States unless a contrary intent appears"; see Caha v.
United States, 152 U.S. 211, 215, 14 5.Ct. 513 (1894); American
Banana Company v. United Fruit Company, 213 U.8. 347, 357, 29

oeCt.
43 5.
437,
285,
aac

511 (1909); United States v. Bowman, 260 U.S. 94, 97, 98,
ct. 39 (1922); Blackmer v. United States, 244 U.S. 421,
B2 $.Ct. 252 (1932); Foley Bros, v, Filardo, 336 U.S. 291,
68 S.Ct. 575 (1949); United States v. Spelar, 3389 0.8. 217,
70 §.Ct. 10 (1949); and United States v. First National

City Bank, 321 F.2d 14, 23 (2nd Cir., 1963), And this principle
of law is expressed ina number of cases from the federal
appellate courts; see McKeel v. Islamic Republic of Iran, 722
F.2d 582, 589 (Sth Cir., 1943) (holding the Foreign Sovereign

Immunities Act as territorial); Meredith v. United States, 339

F.2d

9, 11 (9th Cir., 1964) (holding the Federal Torts Claims Act

as territorial); United States v. Cotroni, 527 F.éd 708, 71l

{and

Cir., 1975) (holding federal wiretap laws as territerial):

Stowe v. Devoy, 588 F.zd 336, 341 (2nd Cir., 1978); Cleary v.
United States Lines, Inc., 728 F.2d 607, 609 (3rd Cir., 1384)
{halding federal age discrimination laws as territorial}; Thomas
v. Brown & Root, Ine., 745 F.2d 279, 281 (4th Cir., 15984)
(holding same as Cleary, supral; United States v. Mitchell, $53

F.2d

996, 1062 (¢Sth Cir., 1977) (holding marine mammals

protection act as territorial); Peiffer v. William Wrigley,

IDs,

GCa., 755 F.gd 554, 557 (7th Cir., 1985) {holiding age

discrimination laws as territorial); Airline Stewards &
Stewardesses Assn. v. Northwest Airlines, Inc., 267 F.2d 170, 175

(8th

Cir., 1959) (holding Railway Labor Act as territorial);

Jahourek v. Arthur Young and Co., 750 F.2d 827, 829 (10th Cir.,

1984)

fholding age discrimination laws as territerial);

Commodities Fatures Trading Comm. v. Nahas, 738 F.2d 497, 493

(Bc.
feder
F.2d

Cir., 1984) (tholding commission's subpoena power under
al law as territorial); Reyes v. Secretary of H.E.W., 476
910, 915 (D.@.@ir., 1973) (holding administration of Social

Security Act as territorial); and Schoenbaum v. Firstbrook, 268
F.Supp. 385, 392 (S.D.N.¥., 1967) (holding securities act as

terri

torial). But, because of statutery language, certain

federal drug laws operate extra-territorially; see United States

vs Ki
hag

feder
insul

ng, 552 F.2d 633, 851 (9th Cir., 1976). The United States
territorial jurisdiction only in Washington, P.€., the
al enclaves within the States, and in the territeries and
aY Possessions of the "United States". However, if has no

territorial jurisdiction over non-federally owned areas inside

gage iM of Zo

 
 

 

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the territorial jurisdiction of the States within the American

Union. And this proposition of law is supported by literally
hundreds of cases.

AS a general rule, the power cf the United States criminally
to prosecute is, for the most part, confined to offenses
committed within “its jurisdiction". This is born out simply by
examination of ~ oe) oe, 2 . which defines the term
“United States" in clear jurisdictional terms. Section 7
contains the fullest statutory definition of the "jurisdiction of
the United States” [sic]. The United States District Courts have
jurisdiction of offenses occurring within the "United States",
Pursuant to vote fo, ua je ee

Notice and Demand to Dismiss for Lack of Criminal Jurisdiction:
Se

Examples of this proposition are numerous. In Pothier v.
Rodman, 291 ¥F. 311 (ist Cir., 1923}, the question involved
wheather a murder committed at Camp Lewis Military Reservation in
the State of Washington was a federal crime. Here, the murder
was committed more than a year before the 0.8. acquired a deed
for the property in question. Fothier was arrested and
incarcerated in Rhode Island and filed a Nabeas Corpus petition
seeking his release on the grounds that the federal courts had no
jurisdiction ever an offense not committed in U.5. jurisdiction.
The First Circuit agreed that there was no federal jurisdiction
and ordered his release. But, on appeal to the U.S. Supreme
court, in Rodman v. Pothier, 264 U.S. 399, 44 §.C€t. 360 (1924),
that Court reversed; although agreeing with the Jurisdictional
principles enunciated by the First Cireuit, it held that only the
federal court in Washington State conid hear that issue. In
United States v. Unzeuta, 35 F.2d 750 (8th CGir., 1929}, the
Bighth Circuit held that the U.S. had no jurisdiction over a
murder cotmitted ina railroad car at Fort Robinson, the state
cession statute being construed as not including railroad rights-
af-way. This decision was reversed in United States v. Unzeuta,
291 U.S. 138, 50 §.Ct. 284 (1930), the court holding that the
U.S. did have jurisdiction over the railroad rights-of-way in
Fort Robinson. in Bowen v. Johnson, 97 F.2d 860 (9th Cir.,
1938}, the question presented was whether jurisdiction over an
offense prosecuted in federal court could be raised in a petition
for Habeas Corpus. The denial of Bowen's petition was reversed
in Bowen v. Johnsten, 306 U.S. 19, 59 S.Ct. 442 (1939), the Court
concluding that such a jurisdictional challenge could be raised
ina Habeas Corpus petition. But, the Court then addressed the
issue, and found that the U.S. both owned the property in
question and had a state legislative grant ceding jurisdiction te
the United States, thus there was 4uriadiction in the United
States to prosecute Bowen. But, if jurisdiction is not vested in
the United States pursuant to statute, there is ne jurisdiction;
see Adams v. United States, 319 U.S. 312, 63 S5.ct. 1122 (1943).

And the lowar federal courts also require the presence of
federal jurisdiction in criminal prosecutions. In Kelly v.

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United States, 27 F. 616 (D.Me,, 1885}, federal jurisdiction of a
manslaughter committed at Fort Popham was upheld when it was
shown that the U.S. owned the property where the offense occurred
and the state had ceded jurisdiction. in United States v. Andem,
159 F. 9596 (D.N.d., 1908), federal jurisdiction for a forgery
offense was upheld on a showing that the United States owned the
property where the offense was committed and the state had ceded
jurisdiction of the property fo the U.S. In United States v,
Penn, 44 F. 669 ({(£,0.Va., 1880), since the U.S. did not have
jurisdiction over Arlington National Cemetery, a federal larceny
Prosecution was dismissed. In Uhited States v. Lovely, 319 F.2d
673 (4th Cir., 1963), federal jurisdiction was found to exist by
U.S. awnership af the property and a state cession of
jurisdiction. In United States v. Watson, 680 F,Stipp. 649
(£.D,Va., 1949), federal criminal charges were dismissed, the
eourt stating as follows:

Without proof of the requisite ownership or possession of
the United States, the crime has not been made out. 80
F.Supp., at 651,

Notice and Demand to Diamiss for Lack of Criminal Jurisdiction:
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In Brown v., United States, 257 F, 44 {5th Cir., 1919),
federal jurisdiction was upheld on the basis that the U.8. owned
the post office site where a murder was committed and the state
had ceded jurisdiction; see also Engiand v. United States, 174
Fe2a¢ 466 (Sth Cir., 1949); Kryll v. United States, 240 F.2d 122
(Sth Cir., 1957); Hudspeth v. United States, 223 F.2d 649 (Sth
Cir., 1955); and Gainey v. United States, 324 F.2d 731 (Sth
Cir., 1963). In United States v. Townsend, 474 F.zgd 209 (5th
Cir., 1973), a conviction for receiving stolen property was
reversed when the court reviewed Che record and learned that
there was absolutely ne evidence disclosing that the defendant
had committed this offense within the jurisdiction of the United
States. And in United Gtates v. Bensen, 495 F.2d 475 (Sth Cir.,
1974), in finding federal jurisdiction for a robbery committed at
Fort Rucker, the court stated:

Jt is axiomatic that the prosecution must always prove
territorial jurisdiction over a crime in order te sustain a
eanvietion therefor, 495 F.2d, at 481.

In two Sixth Circuit cases, United States v. Tucker, 122 F.
S18 (W.D.Ky., 1904}, a case involving an assault committed at a
federal dam, and United States v. Blunt, 658 F.¢d 1245 (6th Cir.,
1977), a case inveiving an assault within a federal penitentiary,
jurisdiction was sustained by finding that the U.S. owned the
property in question and the state involved had ceded
jurisdiction. In In re Kelly, 71 F. 545 (2,5.Wis., 1895}, a
federal assault charge was dismissed when the court held that the
state cession statute in question was not adequate to convey
jurisdiction of the property in question to the United States.

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in United States v. Johnson, 426 F.2d 1112 (7th Cir., 1970), a

case involving a federal burglary prosecution, federal
jurisdiction was sustained upon the showing of 0.5. ownership and
cession. And cases from the Highth and Tenth Circuits Likewise

require the same elements to be shown to demonstrate the presence
of federal jurisdiction; see United States v, Heard, 270 F.Supp.
198 (W.D.Mo., 1967}; United States wv. Redstone, 488 F.2d 300
(8th cir,, 1973); United States v. Goings, 504 F.2d 609 (8th
Cir., 1974} (demonstrating loss of jJjuriadicticn) ; Hayes v.
United States, 367 F.2d 216 (10th Cir,, 1966}; United States v.
Cacter, 430 F.2d 1278 (10th Cir., 1970}; Hall v. United States,
404 F.2d 1367 (10th Cir., 1969); and United States v. Cassidy,
571 F.2d 534 (10th Cir., 1978),

Of all the ciretits, the Ninth Circuit has addressed
jurisdictional issues more than any of the rest. In United
States v. Bateman, 34 F. 86 {(N,D.Cal,, 1888), it was determined
that the United States did not have jurisdiction to prosecute for
a murder committed at fhe Presidic because California had never
eeded jurisdiction; see also United States v. Tully, 140 F. 889
(D.Mon., 1905). But later, California ceded jurisdiction for the
Presidio ta the United States, and it was held in United States
v. Watkins, 22 F.2d 437 (N.D.Cal., 1927}, that this enabled the
U.S. to maintain a murder prosecution: see also United States v.
Holt, 168 F, 141 (W.D. Wash., 1999), United States v. Lewis, 253
F, 469 (§,D,Cal, 1918}, and United States v. Wurtzbarger, 276 F.
753 (p.Or., 19271}. Because the U.S. owned, and had a state
cession of Jurisdiction for, Fart Douglas in Utah, it was held
that the U.S. had jurisdiction for a rape prosecution in Rogers
ve. Squier, 1257 F.2d 948 (9th Cir,., 1946), But, Without a
cession, the 0.8. has no jurisdiction; see Arizona v. Manypenny,
445 F.Supp. 1123 (D.Ariz., 1977).

Notice and Bemand toe Dismiss for Lack of Criminal Jurisdiction:
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The above cases from the U.S. Supreme Court and federal
appellate courts set forth the rule that in eriminal
Prosecutions, the government, as the party seeking to establish
the existence of federal jurisdiction, must prove U.§. ownership
of the property in question and 4 state cession of jurisdiction.
This same rule manifests itself in state cases, ‘State courts are
courts of general jurisdiction and in a atate criminal
Prosecution, the state must only prove that the offense was
Gommitted within the state and a county thereof. If a defendant
contends that only the federal government has jurisdiction over
the offense, he, aS propenent for the existence of federal
Jurisdiction, must likewise prove U.5, ownership of the property
where the crime was committed and state cession of jurisdiction.

Examples of the operation of this principle are numerous.
In Arizona, the State has jurisdiction over federal lands in the
public domain, the state not having ceded jurisdiction of that
Property to the U.S.; see State v. Dykes, 114 Ariz. 392, S62
P.?@d 1690 (1977), In California, if it is not proved by a

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defendant in a state prosecution that the state has ceded
jurisdiction, it is presumed the state does have jurisdiction
over a criminal offense; see People v, Brown, 69 Cal. App.2d
607, 159 P.2d 6686 (1945). If the cession exists, the state has
no jurisdiction; see People v. Mouse, 203 Cal, 782, 265 F. 944
{1928). tn Montana, the state has jurisdiction over property if
it is not proved there is a state cession of jurisdiction to the
U.S.} see State ex rel Parker v. District Court, 147 Mon. 151,
410 Pl2d 459 (1966}; the existence of a state cession of
jurisdiction te the U.S. ousts the state of jurisdiction; see
State v. Tully, 31 Mont. 365, 78 P. 760 {1904}. The same applies
in Nevada; see State v. Mack, 23 Nev. 359, 47 B. 763 (1897}, and
Pendleton v¥. State, 734 P.2d 693 (Nev., 1987}; it applies in
Oregon (see State v. Chin Ping, 91 Or. 593, 176 P, 188 (1918) and
State v. Aquilar, @5 Or.App. 410, 736 P.2d 620 (1987)); and in
Washington {see State v. Williams, 23 Wash.App. 694, 5988 F.2d 731
{1979}).

In People v. Hammond, 1 Ill.2d 65, 115 N.E.2d 331 (1953), a
burglary of an IRS office was held to be within state
jurisdiction, the court holding that the defendant was required
to prove existence of federal jurisdiction by U.S. ownership of

the property and state cession of jurisdiction. In two cases
from Michigan, larcenies committed at U.S. Post Offices which
were rented were held to be within state jurisdiction? see

People v. Burke, 161 Mich, 397, 126 N.W. 446 (1919) and People y.
Van byke, 276 Mich, 32, 267 WN.W. 778 (1936); see also In re
Kelly, 311 Mich. 596, 19 N.W.@d 216 (1945}3. In Kansas City v.
Garner, 430 $.W.2d 6230 (Mo.App., 1968), state jurisdiction over a
theft offense occurring in a federal building was upheld, and the
court stated that a defendant had to show federal jurisdiction by
proving U.S. ownership of the building and a cession of
jurisdiction from the state to the United States. A similar
holding was made for a theft at 4 U.5. missile site in State v.
Rindall, 146 Mon. 64, 404 P.ad 327 (1965}. In Pendleton v.
State, 734 P.2d 693 (Nev., 1987), the state court was held to
have jurisdiction over a DUI ("driving under the influence”)
committed on federal lands, the defendant having failed to show
U.S. ownership and state cession of jurisdiction.

Notice and Bemand to Dismiss for Lack of Criminal Jurisdiction:
See te

In People v. Gerald, 40 Mise.2a@ $419, 243 W.Y.5.2d 1601
(1963), the state was held to have jurisdiction of an assault at
a U.S. Post Office since the defendant did not meet his burden of
showing presence of federal Jurisdiction; and because a
defendant failed to prove title and jurisdiction in the United
States for an offense committed at a customs station, state
jurisdiction was upheld in People v. Fisher, 97 A,D.2d 651, 469
N.¥.8.20d 187 (A.D. 3 Dept., 1983). The proper method of showing
federal jurisdiction in state court is demonstrated by the
decision in People v. Williams, 136 Misc.2d 294, 518 N.Y¥.S.2d 751
(19871. This rule was likewise enunciated in State v. Burger, 33
Ohiag App.3d 231, 515 N.E.2d 640 (1946), in a case involving a DUI

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effense committed on a road near a federal arsenal.

In Kuersehner v. State, 493 P.2d 1402 (OkL.Cr.App., 1972),
the state was held to have jurisdiction of a drug sales offense
eceurring at an Air Force Base, the defendant not having
attempted to prove federal jurisdiction by showing titie and
jurisdiction of the property in question in the United States;
see also Towry v. State, 540 F.2d 597 (Okl.Cr.App., 1975).
Similar holdings for murders committed at U.S. Post Offices were
Made in State v. Chin Ping, 91 Or. 593, 176 BP. 188 (1916), and in
United States v. Pate, 393 F.2d 44 (7th Cir., 1968}. Another
Oregon case, State v. Aguilar, #3 Or.App. 410, 736 P.2d 620
(1987), demonstrates this rule. And finally, in Curry v. State,
111 Tex. Cr. 264, 12 $.W.2d 796 (19278), it was held that, in the
absence of proof that the state had ceded jurisdiction of a place

to the United States, ‘the state courts had jurisdiction over an
offense.

Therefore, in federal criminal prosecutions, the government
Tust prove the existence of federal jurisdiction by showing U.&.
ownership of the place where the crime was committed and state
cession of Jurisdiction. Tf the government contends for the
Power criminally to prosecute for an offense occurring outside
“its jurisdiction", it must prove an eaxtra-territorial
application of the statute in qttestion as weld as a
constitutional foundation supporting the same. Absent this
showing, no federal prosecution can be commenced for offenses
committed ocutside "its jurisdiction", i.e. the federal zone.

Notice and Demand to Dismiss for Lack of Criminal Jurisdiction:
Pieter
FROOF OF SERVICE
I, Everett C. Gilbertson, Sui Juris, hereby certify, under
penalty of perjury, under the laws of tha United States of
America, without the "United States," that I am at least 19 years
of aye, a Citizen of one of the United States of America, and
that I personally served the following document(s}:
NOTICE ANP DEMAND TO DISMISS FOR
LACK OF ANY CRIMINAL JURISDICTION WHATSOEVER:
78 U.S.C. 1359; FRCP Rules Sib), Lé(b) (1),
L2{b}(2}, l2th) (3)

by placing one true and correct copy of said document(s) in first

class United States Mail, with postage prepaid and properly

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addressed to the following:

Henry Shea

United States Attorneys

110 South Fourth Street
Minneapolis [zip code exempt]
MINNESOTA STATE

Attorney General

Department of Justice

10th & Constitution, NW.
Washington [zip code exempt]
DISTRICT OF COLUMBIA

Solicitor General
Department of Justice

10th & Constitution, N.W.
Washington [zip code exempt]
DISTRICT OF COLUMBIA

Dated:

 

/s/ Everett C, Gilbertson

 

Everett C. Gilbertson, Sui Juris
Citizen of Minnesota state
(expressly not a cifizen of the United States)

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[See USPS Publication #221 for addressing instructions.]

Notice and Demand te Dismiss for Lack of Criminal Jurisdiction:
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Return to Table of Contents for

U.S.A. v. Galbectson, 8th Circait

 

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[This version of the case includes the footnotes, unlike one pulled
down from the project hermes machine at Cornell W., which for seme
réagon doesn't seem to have the footnotes in apinigons available
through it, ]

[Cite as U.S. v, Lopez, 115 8.Ch. 1624 (1995) ]

NOTE: Where it is feasible, a syliabus (headnote) will te released,
as is being done in connection with this case, at the time the
opinion is issued. The syllabus constitutes no part of the opinion
of the Court but has been prepared by the Reporter af Decisions for
the convenience of the reader. See United States v. Detroit Lumber
Co,, 200 U. S$. 321, 337.

SUPREME COURT OF THE UNTTED STATES
Syllabus
UNITED STATES v. LOPEZ

certiorari to the united states court of appeals for
the fifth circuit

No. 93-]7%60.
Argued November @, 1994-hecided April 26, 1955

After cespondent, then a l2th-grade student, carried a
concealed handgun into his high school, he was charged with
violating the Gun-Free School Zones Act of 1990, which forbids

any individual knowingly to possess a tirearm at a place that
lhe] knows . . . is a school zone,'' 18 U. 3. C, section
92z(qa) (1) (A). The District Court denied his motion to dismiss the
indictment, concluding that section $272(q) is a constitutional
exercise of Congress’ power to regulate activities in and affecting
commecce. In reversing, the Court of Appeals held that, in Light
of what it characterized as insufficient congressional findings and
legislative history, section G22 (qd) is invalid as beyond Congress’
power wneer the Commerce Clause.

Held: The Act exceeds Congress! Commerce Clause authority.
First, although this Court has upheld a wide variety of
congreasicual Acts regulating intrastate ecanomic accivity that
substannial.y affected interstate commerce, the possession of a gun
in a local school zone is in no sense an economic activity that
might, through repetition elsewhere, have such a substantial etfect
on interstate commerce. Section 922{q) is a criminal statute that
by its terms hag nothing to do with ““commerce''" or any sort of
aconomic anterprise, however broadly those terms are defined. Nor
ts it an essential part of a larger cegulation of economic
activity, in which the regulatory scheme could be undercu® unless
the intcastate activity were regulated. It cannot, therefore, be
sustained under the Court's cases upholding regulations of
activities that arise out of or are comnected with a commercial
transaction, which viewed in the aggregate, substantially affects
interstate commerce. Second, 322(4) containg no jurisdictional
element which would ensure, through case-by-case inquiry, that tne

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upon an anonymous tip, school authorities confronted respondent,
who admitted that he was carrying -he weapon. He was arrested and
enarged under Texas law with firearm possession on school
premises, See Tex. Penal Code Ann. section 46.03(a){1) (Supp.
1994). The next day, the state charges were dismissed atbter
federal agents charged respondent by complaint with violating the
Gun-Free School Zones Act of 1990. 16 U. 5S. C. section

S22 (q) (1) (A) (1988 ed., Supp. VW). [footnote 2]

A federal grand jury indicted respondent on one count of
knowing possession of a firearm at a school gone, in violation of
gaction S2?(q). Respondent moved to dismiss his federal
indictment on the ground that section 922(q) "is unconstitutional
ag it is beyond the power of Congress to legislate contral over
our public schools." The District Court denied the motion,
concluding that section $22(q) "is a constitutional exercise of
Gengress' well-defined power to requlate activities in and
affecting cammerce, and the ‘business' of elementary, middle ana
high scheols ... affects interstate commerce." App. to Pet. for
Cert. 55a. Respondent waived his right to a jury trial. The
District Court conducted a bench trial, feund him guilty of
violating section 922(q), and sentenced him to six months"
imprisonment and two years' supervised release.

On appeal, respondent challenged his conviction based on his
elaim that section 922(q) exceeded Congress’ power to legislate
under the Commerce Clause. The Court of Appeals For the Fifth
Circuit aqreed and reversed respondent's conviction. it held
that, in light af what it characterized as insufficient
cengressional findings and legislative history, "section S22iq),
in the full reach of its terms, is invalid as beyond the power of

Congress under the Commerce Clause." 2 F. Jd 1342, L3ae7-1365
(1993). Because of the importance of the issue, we granted
certiorari, 511 U. S. (1994), and we now affirm.

We stact with first principles. The Constitution creates a
Federal Government of enumerated powers. See UW. 3. Const., Art.
i, section &. As James Madison wrote, "(t]he powers delegated by
the proposed Constitution to the federal government are few and
defined. Those which are to ramain in the State governmants are
numerous and indefinite." The Federalist No. 45, pp. 292-292 (C.
Rossiter ed. 1961). This constitutionally mandated division of
authority “was adopted by the Framers lo ensure protection of our
fundamental liberties.” Gregory v. Asheroft, 501 U. 5. 452, 4458
(1991) tinternal quotation marks omitted}. “Just as the
separation and independence of the coordinate branches of the
Federal Government serves to prevent the accumulation of excessive
power in any one branch, a healthy balance of power between the
States and the Federal Government will reduce the risk of tyranny
amd abuse from either Eront." Ibid.

The Constitution delegates to Congress the pawer "[t}o regulate
Commerce with foreign Nations, and among the several States, and
with the Indian Tribes." U. $. Const., Art. 1, section 8, cl. 3.
The Court, through Chief Justice Marshall, first defined the
nature of Congress' commerce power in Gibbons v. Ogden, 9 Wheat.
1, 199-190 (1824):

 
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manufacture, and is not part of it"); Carter v. Carter Coal Ca.,
298 U. S$. 2348, 304 (1936) ("Mining brings the subject matter of
commerce into existence. Commerce disposes of it").
Simultaneousiy, however, the Court held that, where the interstate
and intrastate aspects of commerce were so mingled taga#ther that
full regulation of interstate commerce required incidental
regulation of intrastate commerce, the Commerce Clause authorized
such regulation. See, 4¢.g., Houston, E. & W. T. R. Co. v. United
States, 234 U. $. 342 (1914) (Shreveport Rate Cases).

In A. L. A. Schecter Poultry Corp. v. United States, 795 UL 5.
495, 550 (1935), the Court struck down regulations that fixed the
hours and wages of individuals employed by an intrastate business
because the activity being regulated related to interstate
commerce only indirectly. In doing so, the Court characterized
the distinction between direct and indirect effects of intra-
state transactions upon interstate commerce as "a fundamental one,
essential to the maintenance of qur constitutional system.” Id.,
at 54%. Activities that affected interstate commerce directiy
were within Congress' power; activities that affected interstate
commerce indirectly were beyond Congress' reach. Td., at 546,
The justification for this Formal distinction was rooted in the
fear that otherwise "there would be virtually no limit Lo The
tederal power and tor all practical Purposes we should have 4
completely centralized gavernment." Id., at 548.

Two years later, in the watershed case of NLBB v. Toned &
Laughlin Steel Corp., 30) U. 3. J (1937), the Court upheld the
National Labor Relations Act against a Commerce Ciause challenge,
and in the process, departed from the distinction between "direct"
and “indirect” effects on interstate commerce. id., at 36-48
‘the question [of the scope of Congress! power] is necessarily
one of degree"). The Court held that intrastate activities that
"have such a close and substantial relation to interstate commerce
that their control is essential or appropriate to protect that
commerce from burdens and obstructions" are within Congress’ power
to cegulate. id., at 37.

In United States v. barby, 312 U. S. 100 (1941), the Court
upheld the Fair Labor Standards Act, stating:

“Thea power of Congress over interstate commerce is nat
confined to the regulation of commerce among the states. It
extends te those activities intrastate which so affect
interstate commerce or the exercise of the power of Congress
over it as to make regulation of them appropriate means to the
attainment of a legitimate end, the exercise of the granted
power of Congress to regulate interstate commerce.” id., at
jig,

See also United States v. Wrightwood Dairy Co., 315 U. 3. 110, 119
(1942) (the commerce power"extends to those intrastate achivities
which in a substantial way interfere with ar obstruct the exercise
of the granted power").

In Wickard v. Filburn, the Court upheld the applicalion of
amendments to the Agricultural Adjustment Act of 1938 to the

 
 

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Metropolitan Transit Authority, 469 U. S, 528 (1985). In response
to the dissent's warnings that the Court was powerless tu enforce
the limitations on Congress‘ commerce powers because "“[ajll
activities affecting commerce, even in the minutest degree,
[Wickard}, may be regulated and controlled by Congress," 392 U.
S., at 204 (Douglas, J., dissenting), the Wirtz Court replied

that the dissent had misread precedent as "(njeither here mor in
Wickard has the Court declared rhat Congress may use a relatively
trivial impact on commerce as an excuse for broad general
regulation of state or private activities," id., at 197, nm. 27,
Rather, “[t]he Court has said only that where a general requlatoury
statute bears a substantial relation to cammerce, the dé minimis
character of individual instances arising under that statute is af
no consequence." Ibid. (first emphasis added).

Consistent with this structure, we have identified three oroad
categories of activity that Congress may regulate under its
commerce power. Perez v. United States, supra, at 150; seq alsa
Hodel v. Virginia Surface Mining 4& Reclamation Assn., Supra, at
276-277, first, Congress may requlate the use of the channels of
interstate commerce. See, &.g., Darby, 312 U0. 3., abt il4; Heart
ef Atlanta Motel, supra, at 256 (""(T)he authority of Congress to
keep the channels of interstate commerce free from immoral and
injurious uses has been frequently sustained, and is ne longer opén
to question.'" (queting Caminetti v. United States, #42 U. §&.
470, 491 (1917)}. Second, Congress is empowered to regulate and
protect the instrumentalities of interstate commerce, Or persons
ar things in interstate cammerce, even though the threat may came
aniy fram intrastate activities. See, @.g., Shreveport Rate
Cases, 234 U. S. 342 (1914); Southern R. Co. v. United States, 222
U. S, 20 {1911} {uphoiding amendments to Safety Appliance Act as
applied to vehicles used in intrastate commerce}; Perez, Supra, at
150 ("(Flor example, the destruction of an aireraft (18 U. §. ¢.
section 32), or . . . thefts from interstate shipments (18 UW. 5.
OC. section 659)"). Finally, Congress! commerce authority includes
the power to regulate those activities having a substantial
relation ta interstate commerce, Jones & Laughlin Steel, 301 U.
S., at 37, i.e., those activities that substantially affect
interstate commerce. Wirtz, supra, at 196, nm, 27.

Within this tinal category, admittedly, our case law has not
been clear whether an activity must “affect" or "substantially
affect" interstate commerce in order to be within Congress’ power
to requlate it under the Commerce Clause. Compare Preseault v.
tec, 49a U. 5. 1, 17 (1990), with Wirtz, supra, at 196, n. 27 (the
Court hag never declared that "Congress may use a relatively
trivial impact on commerce as an excuse for broad general
regulation of state or private activities"). We conclude,
consistent with the great weight of aur case law, that tha proper
test requires an analysis of whether the requlated activity
"substantially affects" interstate commerce.

We now turn to consider the power of Congress, in the
light of this framework, to enact section 922(q). The first twa
categories af authority may be quickly disposed of: section 822 (q)
ig net a reguiation of the use of the channels of interstate
cemnerce, nar ia it an attempt to prohibit the interstate
 

 

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activity, in which the regulatory Scheme could be undercut uniess

the intra-state activity were regulated. It cannot, theretore, be
sustained under our cases upholding regulations of activities that
arise out of or are connected with a commercial transaction, which
viewed in the aggregate, substantially affects interstate commerce,

Second, section 9$22(q)} contains no jurisdictional element which
would ensure, through case-by-case inquiry, that the firearm
passession in guestion affects interstate commerce. For example,
in United States v. Bass, 404 U. S&S. 336 (1971), the Court
interpreted former 18 U. &. ©. section 1202(a), which made it a
crime for a felon to "receivie], Bposses[s], oF transpor([t] in
commerce or affecting commerce . . . any firearm," 404 U. S., at
337, The Court interpreted the possessiaqn component of séctian
1202(a} to require an additional nexus ta interstate commerce both
because the statute was ambiquous and because “unless Congress
conveys its purpose clearly, it will not be deemed to have
significantly changed the federal-state balance." Id., at 349.
The Bass Court set aside the canviction because although the
Government had demonstrated that Bass had possessecad a firearm, it
had failed "to show the requisite nexus with interstate commerce,”
Td., at 347. The Court thus interpreted the statute to reserve the
conslitutional question whether Congress could regulate, without
tere, the “mere possession" of firearms. See id., at 349, n. 4;
see also United States v. Five Gambling Devicas, 346 U. 5. 441, 445
(1953) (plurality opinion) ("The principle is old and deeply
imbedded in our jurisprudence that this Court will construe a
statute in a manner that requires decisian of serious
constitutional questions only if the statutory language iaaves no
reasonable alternative"}. Unlike the statute in Bass, section
922{q) has no express jurisdictional element which might itimit its
reach to a discrete set of firéarm possessions that additionally
have an explicit connection with or effect on interstate commerce.

Although as pact of our independent evaluation of
constitutionality under the Commerce Clause we of course consider
tegislative findings, and indeed even congressional conmittee
findings, regarding effect on interstate commerce, see, 2.9.,
Freseault v. Toc, 494 U. 5S. 1, 17 (1990), the Government concedes
that “[njieither the statute nor its legislative history contain(s]
express congressional findings regarding the effects upon
interstate commerce of gun possession in a school zone." Brief for
United States 5-6. We agree with the Government that Congress
normally is mot required to make formal findings as to the
Substantial burdens that an activity has on interstate commerce.
See McClung, 379 U. S., at 304; see alsa Perez, 402 J. 5., ab lob
("Congress need [not] make particularized findings in order to
legislate"). Buk to the extent that congressional findings would
enable us to evaluate the legislative judgment that the activity in
question substantially affected interstate commerce, even though no
such substantial effect was visible toa the naked eye, they are
lacking here. [footnote 4]

The Government argues that Congress has accumulated
institutional expertise regarding the regulation of firearins
through previous enactments. Cf, Fullilove v. Klutznick, 448 U. 5.
449, 503 (1980) (Powell, J., concurring). Wwe agree, however, with
 

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process and the potential economic consequences flowing trom that
threat. Post, at 6-9, Specifically, the dissent reasons thar (1)
gun-related violence is a seriosus prohlem; (2) that problem, in
turn, has an adverse effect on classroom learning; and (3) that
adverse effect on Classroom learning, in turn, represents a
substantial threat toa trade and commerce. Fost, at 9, This
analysis would be equally applicable, if not more 50, [EO subjects
such as family law and direct regulation of education.

For instance, if Congress can, pursuant Lo its Commerce Clause
power, vegulate activities that adversely affect the learning
environment, then, a fortiori, it also can regulate the educational
process directly. Congress could determine that a school's
curriculum has a "significant" effect on the extent of classroom
learning. As a reault, Congress could mandate a federal curricu-
lum for local elementary and secondary schools because what is
taught in local schools has a significant “effect on classroom
learning," cf. post, at 9, and that, in turn, has a substantial
effect on interstate commerce,

Justice Breyer rejects our reading of precedent and argues that
"Congress . . . could rationally conclude that schools fall an the
commercial side of the line." Post, at 16. Again, Justice
Breyer's rationale lacks any real limits hecause, depending on the
level of gqanerality, any activity can be looked upon as commercial.
Under the dissent'’s rationale, Congress could just as easily look
at child rearing as "fall{ing] on the commercial side of the line"
because it provides a “valuable service-namely, to equip [ohildren}
with the skills they need to survive in life and, more
specifically, in the workplace." Ibid. We do not doubt hat
Congress has authority under the Commerce Clause fo regulate
numerous commercial activities that substantially affect interstate
commerce and also affect the educational process. That authority,
though broad, does not include the authority to regulate each ana
every aspect of local schools,

Admittedly, a determination whether an intrastate activity LS
commercial or noncommercial may in some cases result in legal
uncertainty. But, so long as Congress' authority is limited ta
those powers enumerated in the Constitution, and so long as those
enumerated powers are interpreted as having judicially enforceable
outer Limits, congressional legislation under the Commerce Clause
always will engender "legal uncertainty." Post, at 17. As Chief
Justice Marshall stated in McCulloch v. Maryland, 4 Wheat. div
(1919);

“The [federal] government is acknowledged by all to be one of
enumerated powers, The principle, that iff can exercise only
the powers granted to it. . . 18 now universally admitted.
But the question respecting the extent of the powers actually
Granted, is perpetually arising, and will probably continue to
atise, as long as our system shall exist." Id., at 405.

See also Gibbons v. Ogden, 9 Wheat., at 195 ("The enumeration
presupposes something nat enumerated"). The Constitution mandates
this uncertainty by withholding from Congress a plenary police
power that would authorize enactment of every type of legislation.

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achool." seotion 921 (a) (25).

2, See also Hodel, 452 U.5., at 311 ("{Slimply because Congress may
conclude that a particular activity substantially affects
interstate commerce does not necessarily make it so"} {Rehnquist,
J., concurring in judgment}; Heart of Atlanta Motel, 37% U.S., at
273 ("{W)hether particular operations affect interstate commerce
sufficiently to come under the constitutional power of Congress to
regulate them is ultimately a judicial rather than a legislative
question, and can be settled only by this Court") (Black, J
GOMCUErLNG).

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4. Under cur federal system, the ""States possess primary authority
for defining and enforcing the criminal law.'" Brecht v.
Abrahamson, 507 U.S. —, __, 113 S.Ct. 1710, 1720, 123 L.Ed.2d.
353 (1993) (quoting Engle v. Issac, 456 U.S, 107, 128, U2 4.CE.
1558, 1572, Tl L.Ed.2d. 783 (1982); see also Screws v. United
States, 325 U.S. 91, 109, 65 $.Ct, 1031, 1039, 89 L,Ed.2d. 1495
(1945) (plurality opinion) ("Gur national government is one of
desiqnated powers alone. Under our federal system the
administration of criminal justice vests with the States except as
Congress, acting within the scope of those delegated powers, has
created offenses against the United States"). When Congress
criminalizes conduct already denounced as criminal by the States, ©
it effects a "'change in the sensitive relation between tederai and
state criminal jurisdiction.'" United States v. Emmons, 419 U.S.
396, 411-412, 93 S.Ct. 1007, 21015-1016, 35 L.Bd.éd, 378 (1973)
{quoting United States v. Bass, 404 U.5. 336, 349, 92 5.Cr. 515,
599, 30 L.Ed.2d. 488 (1971)). The Government acknowledges that
section 9$22?{q) "displace[s] state policy choices in... thar its
prohibitions apply even in States that have chosen not Ca outlaw
the conduct in question." Brief for United States 29, n. 18; see
also Statement of President George Bush on Signing the Crime
Contrel Act of 1990, 26 Weekly Comp. of Pres. Doc. 1544, 1945 (Nov.
29, 1990) ("Most egregiously, [section 922(q)}] inappropriately
overrides legitimate state firearms laws with a new and unnecessary
Federal law. The policies reflected in these provisions could
legitimately be adopted by the States, but they should not he
imposed upon the States by Congress").

4. We note that on September 14, 1994, President Clinton signed
into law the Violent Crime Control and Law Enforcement Act of 1994,
Pub.L. 103-322, 1068 Stat. 1796. Section 320904 of that Act, id.,
at 2125, amends section 927(q) to include congressional findings
regarding the effects of Eirearm possession in and arcund achools
upon interstate and foreign commerce. The Government does not rely
upon these subsequent findings as a substitute for the absence of
findings in the first instance. Tr. of Oral Arg. 25 ("*{Wle're not
relying on them in the strict sense of the word, but we think at a
very Ininimum they indicate that reasons can be identified for why
Congress wanted to regulate this particular activity").

Justice Kennedy, with whom Justice O'Connor joins, concurring.
The history of the judicial struggle te interpret the Commerce

Clause during the transition from the economic system the Founders
knew to the single, national market still emergent in out own era

 
 

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and commerce. Manufacture is transformation=-the fashioning of raw
materials into 4a change of [form for use. The functions of commerce
ace different." Kidd v. Pearson, 128 U. 8, 1, 20 (1868). Though
that approach likely would not have survived evan if confined to
the question of a State's authority to enact legislation, it was
net at ali propitious when applied to the quite different question
of what subjects were within the reach of the national power when
Congress chose to exercise it.

This became evident when the Court began to confront federal
economic regulation enacted in response to the rapid industrial
development in the late 19th century. Thus, it relied upon the
Manufacture-commerce dichotomy in United States v. E. ¢. Knight
Coa., 156 U. 8. 1 (1895), where a manufacturers! combination
controlling some 44 of the Nation's domestic sugar refining
capacity was held to be outside the reach of the Sherman Act.
Conspiracies to control manufacture, agriculture, mining,
production, wages, or prices, Che Court explained, had tow
"indirect" an effect on interstate commerce. Td., at le. And in
Adair v. United States, 208 U. §. 161 (1908), the Court rejected
the view that the commerce power might extend to activities that,
although local in the sense of having originated within a single
state, nevertheless had a practical effect on interstate commercial
activity. The Court concluded that there was not a "legal or
iggigal connection . . . between an employe's membership in a labor
arganization and the carrying on of interstate commerce," id., at
178, and struck down a federal statute forbidding the discharge of
an empioyee because of his membership in a labor organization. see
also The Employers’ Liability Cases, 297 U. 5S. 463, 497 (1308;
(invalidating statute creating negligence action against commen
garciers for personal injuries of employees sustained in the course
of employment, because the statute "regulates the persons because
they engage in interstate commerce and does not alane regulate Lhe
business of interstate commerce").

Even before the Court committed itself to sustaining tederal
legislation on broad principles of economic practicality, it found
it necessary to depart from these decisions. The Court disavowed £,
C,. Knight's reliance on the manufacturing-commerce distinction in
Standard O11 Co. of New Jersey v. United States, 221 U. &. 1, pda-6o
(1911), declaring that approach "unsound." The Court likewise
rejected the rationale of Adair when if decided, in Texas & New
Orleans R. Ca. v. Railway Clerks, 281 U. $. 548, S70-S71 (1940),
that Congress had the power to regulate matters pertaining to the
organization of railroad workers.

In another line of cases, the Court addressed Congress’ efforts
to impede local activities it considered undesirable by prohibiting
the interstate movement of some essential element. In the Lottery
Case, 168 U. 3, 321 (1903), the Court rejected the argument that
Congress lacked power to prohibit the interstate movement of
lottery tickets because it had Power only to regulate, net to
prohibit. See also Hipolite Egg Co. v. United States, 220 U. 5, 45
{191]); Hoke v. United States, 227 U. S. 368 (1913). in Haitmer v.
Dagenhart, 247 U. §S. 251 (19183, however, the Court insisted that
the power toa regulate commerce "is directly the contrary of Lhe
assumed right to forbid commerce from moving,” id., at fe9-276, and

 
 

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National Industrial Recovery Ack had “no direct relation Lo
interstate commerce”).

The case that seems to mark the Court's definitive commitment to
the practical conception of the commerce power is NLRB v. Jones &
Laughlin Steel Corp., 301 U, $, 1 (1937), where the Court sustained
labor laws that applied to manufacturing facilities, making no real
attempt to distinguish Carter, supra, and Schechter, supra. Jul U.
S., at 40-41, The deference given to Congress has since been
confirmed. United States v. Darby, 312 U. S$. 100, 116-117 (1$41),
overruled Hammer v. Dagenhart, supra. And in Wickard v. Filburn,
317 U, S. L1li (1942), the Court disapproved E. C. Knight and the
entire line of direct-indirect and manufacture-producticn cases,
explaining that "broader interpretations of the Commerce Clause
[were] destined to supersede the earlier ones," id., at 122, and
‘whatevec terminology is wsed, the criterion is necessarily ohne of
deqree and must be so defined. This does not satisty those who
seek mathematical or rigid formulas. But such formulas are not
provided by the gréat concepts of the Constitution,” id., at 123,
n. 24. Later examples of the exercise of federal power where
commercial transactions were the subject of regulation include
Heart of Atlanta Motel, Inc. v. United States, 379 U. 5. 241
{1964}, Katzenbach v. McClung, 379 U. S. 294 (1964), and Perez v.
United States, 402 U. S$. 146 (1971). These and Like authorities
ate within the fair ambit of the Court's practical conception of
commercial regulation and are not called in question by our
decision today.

The history of our Commerce Clause decisions contains at least
two Lessons Gf relevance to this case. The first, as stated at the
eutset, is the imprecision af content- based boundaries used
without more toa define the limits of the Commerce Clause. The
second, related to the first but of even greater consequence, 1
that the Court as an institution and the legal system as a whol
have an immense stake in the stability of our Commerce Clause
jurisprudence as it has evolved to this point. Stare decisis
operates with great force in counseling us not to call in question
the essential principles now in place respecting the cengressional
power to cegulate transactions of a commercial nature. That
Fundamental restraint on cuc power forecloses us from reverling to
an understanding of commerce that would serve only an 1§th-century
economy, dependent then upon production and trading practices that
had changed but little over the preceding centuries; it alse
mandates against returning to the time when congressional authority
to regulate undoubted commercial activities was limited py a
judicial determination that those matters had an insufficient
cannection ta an interstate system. Congress can regulate in the
‘commercial sphere on the assumption that we have 4a singie Market
and a unified purpose to build a stable national economy.

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In referring to the whole subject of the federal and state
balance, we said this just three Terms ago:

"This framework has been sufficiently flexible over the past
twa centuries to allew for eanormous changes in the nature of
government. The Federal Government undertakes activities
today that would have been unimaginable to the Framers in two

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States and the Federal Government will reduce the risk mt tyranny

and abuse From either front. ... In the tension between federal
and state power lies the promise cf liberty"); New York v. United
States, Supra, at (slip op., at 34) ("(T]he Constitutitn

divides authority between federal and srate governments for the
Protection of individuals. State sovereignty is mot just an end in
itself: “Rather, federalism Secures to citizens the liberties that
derive from the diffusion of sovereign power'") (quoting Coleman v.
Thompson, 501 U. 5. 722, 759 (1991) (Biackmun, J., dissenting)}.

The theary Chat two governments accard more liberty than one
requires for its realization two distinct and discernable Lines of
political accountability: one between the citizens and the Federal
Government; the secand between the citizens and the States. if, as
Madison expected, the federal and state governments are to control
@ach other, see the Federalist No, 51, and held each other in check
by competing for the affections of the people, see The Federalist
Ne. 46, those citizens must have some means of knowing which of the
two dovernments to hold accountable for the failure te pertarm a
given function. "Federalism serves to assign political
responsibility, not to abscure it." FTC v. Ticor Title ins, Cc,,
BO4 UU, S&S. 621, 636 (1997), Were the Federal Government te take
over the regulation of entire areas of traditional state concern,
areas having nothing to do with the regulation of commercial
activities, the boundaries between the spheres of federal and state
authority would blur and political responsibility would meceome
iilusery. See New York v. United States, supra, at —oo7 PERC v-
Mississippi, 456 U. S. 742, 7a) (1982) (O'Connor, J., concurring in
judgment in part and dissenting in part). The resultant inabliity
to hold either branch of the government answerable to the citizens
is more dangerous even than devolving too much autherity boa the
remote central power.

To be sure, one conclusion that could be drawn from The
Federalist Papers is that the balance between national and state
power is entrusted in its entirety to the political process.
Madison's observation that "the people ought not surely to be
precluded fram giving most of their cenfidence where they may
discover it to be most due,” The Federalist No. 46, p. 295 ic.
Roysiter ed. 1961), can be interpreted to say that the essence of
responsibility for a shift in power from the State to the Federal
Government rests upon a political judgment, though he added
assurance that "the State governments could have littie to
apprehend, because it is only within a certain sphere that the
federal power can, in the nature of things, be advantageously
administered," ibid. Whatever the judicial role, it if wklomatic
that Congress does have substantial discretion and control aver the
faderal balance.

For these reasons, it would be mistaken and mischievous for the
political branches to forget that the sworn obligation tuo preserve
and protect the Constitution in maintaining the federal balance is
their own in the first and primary instance. In the Webster-Hayne
Debates, see The Great Speeches and Grations of Daniel Webster
929-272 (E. Whipple ed. 1879), and the debates over the Civil
Rights Acts, see Hearings on 8. 1732 before the Senate Committee an
Commerce, $4@th Cong., lsat Sess., pts. 1-3 (1963), some Congresses

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Our position in entorcing the dormant Commerce Clause is
instructive. The Court's dectrinal approach in that area has
likewise "taken some turns." Gkiahoma Tax Coma'n v. Jeftterson
Lines, Inc., $14 U. S. 0, _ (1935) (slip op., at 4). Yet in
contrast to the prevailing skepticism that surrounds Gur ability ta
give meaning to the explicit text of the Commerce Clause, there is
widespread acceptance of our authority to enforce the Gorman
Commerce Clause, which we have but inferred from the constitutional
atructure aS a iimitation on the power of the States. One element
of our dormant Commerce Clause jurisprudence has been the principle
that the States may not impose regulations that place an undue
burden on interstate commerce, even where those TegulalLions do not

discriminate between in-state and out-of-state businesses. See
Brown-Forman Distillers Corp. v, New York State Liquor Authority,
476 U. 8. 573, 579 (1986) (citing Pike v. Bruce Church, frac,, a9

U.S, 137, 142 (1970)). Distinguishing between regulations that do
place an undue burden on interstate commerce and regulations Chat
do not depends upon delicate judgments. True, if we invaiidate a
state law, Congress can in effect overturn our judgment, whereas in
a case announcing that Congress has transgressed its authority, the
decision is more consequential, for its stands unless Congress fan
revise its law to demonstrate its commercial character. This
difference no deubt informs the circumspection with which we
invalidate an Act of Congress, but it does not mitigate our duty te
recognize meaningful limits on the commerce power of Congress.

The statute before us upsets the federal balance to a deyree
that renders it an unconstitutional assertion af the commesice
power, and our intervention is required. As the Chiet Justice
explains, unlike the earlier cases fo come before the Court here
neither the actors nor their conduct have a commercial character,
and neither the purposes nor the design of the statute have an
evident commercial nexus. See ante, at 10-12. The statute makes
the simple possession of a gun Within 1,900 feet of the grounds of
the school a criminal offense. In a sense any conduct in this
interdependent world of ours has an ultimate commercial origin oF
consequence, but we have not yet said the commerce power may reach
so far. If Congress attempts that extension, then at the least we
must inquire whether the exercise of national power seeks fo
intrude upon an area of traditional state concern.

An interference of these dimensions occurs here, for it is well
established that education ia a traditional concern of the States.
Milliken v. Bradiey, 418 U. S. ‘417, 741-742 (1974); Epperson v.
Arkansas, 393 U. 5, 97, 104 (1968). The proximity toe schools,
including of course schools owned and operated by the States or
their subdivisions, ig the very premise for making the conduct
criminal. In these circumstances, we have a particular duly Cs
unsure that the federal-state balance is not destroyed. Ct. Kice,
supra, @t 230 ("“(Wle start with the assumption that the histori:
police powers of the States” are not displaced by a federal statute
Nounless thal was the clear and manifest purpose of Congress")?
Florida Lime & Avocado Growers, Inc. v. Paul, 373 U. 3. 132, i46
(1963).

While it is doubrful that any State, or indeed any reasonable

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ih. 8. Dept. of Education, National Center for Eduvation Statist zy
Giqest Of Education Statistics 73, 14 (NCES Sd-lts, ber ata ote
vd, v4i. Each of these now has an invisible federal zone extending
1,000 feat beyond tha (often irreguiar) boundaries of the scheal
property. In some communities mo doubt it would te Oittacaibt ot
navigate without infringing on these goned. Tel Lnesiailedth Che
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obS U. S&S. (LYSe), of Lo grganive its qovercumertai lle tad. vik
a ocertain way, ct. PERC v. Mississippi, 406 U, 4., at Pens
Sotihanger, da, cunmeurring ino judgment ifn part and thikdelliieg a.
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tao enforce.

 

 

ror these reasons, L juin in the opinion avd Jug tets: Lote
Mourt .

Justice Thomas, concurring.

The Court today properly concludes that the Qotuderwy Sse bee
nat grani Congress the authority lo prahibil gum pusoes. "
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otha. “Masmaas ACG uf Lavi, Pulbe. bee lobed, barb lita. tn
&ithoagh T join the majority, I Write S@paratieiy fe vdes
our case law has drifted rar trom the origithel Uodslet
Cummerce Clause, In a Future case, We Gught fe Lampe if tithe tects
Clause jurisprudence in a manner that both takes Yeleer ot ufo Tur
recent cage law and is more faithful to the original tifetor> ba
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We Nave saicl that Congress May regulate non aniy

ately the several states," U. 4. Const., Art. be, vi. oe be
alsa anything that has a “substantial effeck™ On suet ota coe
This Lest, if taken to its Logical extreme, would Jive ueceitt
“oolice power" caver ail aspects al American jifeé.  Ubbob tv. .Ts oe
we fave never come to grips with this implication ot wut
substential effects Cormula, Although we heave Supposedly appre. 4
the substantial effects test for the past 6U years, WE ated ys nave

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literally méans "with merchandise." See 3 Oxford English
Dictlonary 552 (20 ect. 1989) (com-"with"; merci-"Merchandiseany , Tn
fact, when Federalists and AntiwFéederalists discussed the VUommerce
Clause during the ratification period, they often used trade {in
its selling/bartering sense} and commerce interchangeably. see The
Federalist No. 4, p. 22 (J, Jay) (assecting that countries will
cultivate our friendship when our “trade” is prudently reyulated by
Federal Gevernment); [footnote 1) id., No. 7, at 39-40 (A.
Hamilton) (discussing "competitions of commerce” between Slates
resulLing from state "regulations of trade‘); id., No. 40, atl fee
(J. Madison) (asserting that iC was an “acknowledged object of -Ene
Convention . . . that the regulation of trade should be submitted
fo che general government"); Lee, Letkers of a Federal Farmer No.
5, in Pamphlets on the Constitution of the United States 319 (P.
Ford ed. 1889); Smith, An Address to the People of the State oof
New-York, in id., at 107.

As one would expect, Che term "commerce" was used in
contradistinction to productive activities such 45 Manutacturing
and agriculture. Alexander Hamilton, for example, repeatedly
treated commerce, agriculture, and manufacturing aS three separate
endeavors. 5ee, e-g., The Federalist No. 36, at 224 (refecring te
"agriculture, commerce, manufactures"); id., No. 2l, at 143
(distinguishing commerce, arts, and industry); id., No. 12, at 74
jasserting that commerce and agriculture have shared interests;.
The game distinclLions were made in the state ratification
conventions. See e.g., 2 Debates in the Several State Comventaons
on the Adoption af the Pederal Constitution 57 (3. Elliot ead. 1836)
thereinafter Debates) iT. Dawes at Massachusetts convention); ide,
at 336 (M. Smith at New York convention).

Moreover, interjecting a modern sense of commerce ints Che
Canstitubion generates siqnificant textual and structural protulems.
For example, one cannot replace "commerce" with a different type af
enterprise, such as manufacturing. When a manufaclurer produces a
car, assembly cannot take place “with a foreign nation" or "with
the Indian Tribes.” Parts may come from ditferent States or sther
nations and hence may have been in the flow of commerce at one
time, but manufacturing takes place at a discrete site.

Agriculture and manufacturing involve the production Gf goods;
commerce encompasses traffic in such articles.

The Port Preference Clause also suggests that the term
"commerce" denoted sale and/or transport rather than business
generally. According to that Clause, “(nlo Preference shall be
given by any Regulation of Commerce or Revenue to the Porta of one
State over those of another." U. S. Const., Art. I, section G, ci.
é. Blthough it is possible to conceive of regulations uf
manufacturing of Farming that prefer one port over another, the
more natural reading is that the Clause prohibits Congress fron
using its commerce power Co channel commerce through certain
favored porte.

The Constitution not only uses the word "commerce" in a harrower
sense than our case law might suggest, it alse does noc support the
Proposition that Congress has authority over all activitees thal
"substantially affect" interstate commerce, The Commerce Clause
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Very Least, convinces uo. that tne “substantial eitesce™ 7. 3 oa
hat reexamined.

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relatively dimited reach of Che Commarce Clause Great it be ai.
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Barly Americans understood thal Commerce, Matiasbalrlid ated, ae.
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were the primary articies of commerce af the Cime. Ll vvuliinccil. wane
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and Lhese conditions exist "Where trade Tlouristies ale wie.
lerchant can Freely export the proddee of the cuuerry™ bo eet!

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ot the Constitution 399 iM. dunsen ed. 2970) (henredliattet ,
mentary History). See alse The Pederabise Na. 32, ah 2h om.

Ham. ltun) ("([BDpiscerning citizens are well awWare EOabl Lia madi

and manufacturing arts furnish the materiais OF me rcanki as

enterprise and industry. Many of them indeed are lamiadiat si ¥
connected with the operations of commerce. They rnuw bial ihe

merchatit is their matural patron and friend"); lde, ato .2 oUAe
hat the merchant . . . be disposed co cultivate . . . tte Jtiheeds ds
of the mechanic and manufacturing arts to which Wis ular) 1. we
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Lat aqriculture will serve as 4 "source OF wotumeroe edna tte ee hie
New Jecsey Journal, Nov. 14, 1767, id., af 1&2 Goeb btae tists”
and the farmer benefit from the prosperity of commerce: . Wai oath
Wavie, a@ d@legate tu the North Carolina Gonventasn, sade ts bed fo fae
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ations Pur Lug). Tho merehaht fuenietasd Ctr polarbear wette a te
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Yet, wWespite being well aware Chat agriculture, Meliibe P al ay
and other matters substantlaliy affected commerce, trict focarddaies
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Cungrend. Hamillon, twt ifstance, acknowledged Cheat bins rooted
Government: could net céguiate agriculture afthd Like OGhseist

"Tis administration of private justice Between flier cei eee bd
the same Stake, the supervision of agriculture anit ttle

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Wheat. | (1824) established that Congress may control all loval
activities that "significantly affect interstate commerce," past,
at l. And, "with the exception of one wrong turn subsequently
corrected," this has been the “traditiona[{1]" method of
interpreting the Commerce Clause, Post, at 1H (citing Gibbous atid
United States v. Darby, 312 U. 8. 100, 116-117 (1941)).

In my view, the dissent is wrong about the holding and reasoning
cf Gibbons. Because this error laads the dissent to charauheciaze
the first 150 years of this Court's case law 45 4 "wrong turn,” I
teei compelled to put the Last 50 years in proper perspective.

A

In Gibbons, the Court @xamined whether a federal Law that
licensed ships to engage in the "coasting trade" preempted a New
York law granting a 34-year monopoly to Robert Livingston and
Robert Fulton ta navigate the State's waterways by steamship. In
concluding that it did, the Court noted that Congress could
regulate "navigation" because "[a]ll America . . . has uniformly
understeed, the word ‘commerce,’ Lo comprehend navigation. It was
so understood, and must have been so under- stood, when the
constituLion was framed." 9% Wheat., at 190. The Court alse
observed that federal power over commerce “among the several
States" meant that Congress could requlate commerce conducted
partly within a State. Because a portion of interstale commerce
and foreign commerce would almost always take place within one of
more States, federal power over interstate and foreign commerce
necessarily would extend into the States. fd., at 194-198.

AL the same time, the Court took great pains to make clear Lhat
Congress could not regulate commerce "which is completely internal,
which is carried on between man and man in a Stale, or between
different parts of the same State, and which does not extend ta or
affect other States." Id., at 194. Moreover, while suggesting
that the Constitution might mot permit States to regulate
interstate or foreign commerce, the Court observed that
"[ilnspection laws, quarantine laws, health laws of every
description, as well as laws far regulating the internal commerce
of 4a State" were but a small part “of that immense mass of
legislation . . . not surrendered te a general government." T[d.,
at 203, From an early moment, the Court rejected the notion that
Congress can requlate everything tnat affects intersfaté commerce,
That the internai commerce of the States and the numerous state
inspection, Quarantine, and health laws had substantial effects on
interstate commerce cannot be doubted. Nevertheless, Lhey were not
"surrendered to the general gavernment,”

Of course, the principal dissent 18 not the first to miacensirue
Gibbons. For instance, the Court has stated that Gibbons
“described the federal commerce power with a breadth never yet
exceeded." Wickarcd v. Pilburn, 317 U. S$. 1lli, i120 (i842). Sec
also Perez v. United States, 402 U, $, 146, 151 (1971) (claiming
that with Darby and Wickard, "the broader view of the Commerce
Clause announced py Chief Justice Marshail had been restored”). T
believe that this misreading stems from two statements in Gibbauis.

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Lhat the substantial etfects test is but an innovation ot the south
century.

Even before Gibbons, Chief Justice Marsnail, writing for the
Court in Cohens v. Virginia, 6 Wheat. 264 (1621), noted Cnat
Congress had "no general right to punish murder committed witha:
any of the States," id., at 426, and that it was “clear Liat
Gengress Cannot punish felonies generaily," id., at de4. The
Courh's only qualification was that Congress could enact sucn laws
for places where it enjoyed planary powers-for ingrance, wver tne
District of Columbia. Id., at 426. Thus, whatever effect ordinary
murders, av robbery, OF gun possession might have on interstate
commerce (or on any other subject of federal cancern) was
ivrelevant to the question of congressional power. [footnote «|

linited States v. Dewitt, @ Wail. 41 (1870), marked the farse
time the Court struck down a federal law as exceeding the power
conveyed by the Commerce Clause. Tn a two-page opinion, The Court
anvalidated a nationwide law prohibiting ali sales of napnittha and
illuminating ails, In so deing, the Court remarked that the
Commerce Clause "has always been understood as limited by its
terms; and as a virtual dénial of any power to interfere with thu
internal trade and business of the separate States.“ T[d., al 44,
The law in question was "plainly a regulation of police," which
could have constitutional application only where Congress had
exclusive authority, such as the territories. Llad., at d4-shl wae
also License Tax Cases, 5 Wall. 462, 470-471] (1867) (Vongreds
Cannot interfere with the internal commecce and business wh a
State); Trade-Mark Cases, 100 U. 3S. $2 (1879) (fangress catia,
regulate internal commerce and thus may not establish national
trademark registration}.

Tr United States v. &. C. Knight Co., 156 U. 3. 1 (2895), ¢
Court held that mere attempts to monopolize the manufacture of
sugar could not be regulated pursuant to the Commerce Clause.
Ralsing echoes of the discussions of the Framers regarcding the
intimate relationship betwean commerce and manufacturing, the Cuuft
declared that "[clommerce succeeds Lo manufacture, and is mot a
part of it." Id., at 12, The Court also approvingly quoted from
Kidd v. Pearson, 128 U. §, 1, 20 {1888}:

has

""No distinction ia more popular to the common mind, oF more
clearly expressed in economic and political literature, tian
that between manufacture and commerce... . If if be held
that the term [commerce] includes the regulation oF all such
manufactures as are intended to be the subject of commercint
transacLions in the future, it is impossible to deny Lhal if
would 4150 include all productive industries that fontempiate
the same thing. The result would pe thal Congress woedid oo
invested . . . with the power to regulate, not only
manufactures, but also agriculture, horticulture, Stece rais-—
ing, domestic fisheries, fWining-in short, every branch of
human industry.'7" E. €. Knight, 156 U. &., at 14.

 

LE Federal power extended to these types of production
"comparatively Little of business operations and aflaice would ow
left for state control." Id., at 16. See also Newberry v. United

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The aggregation principle is clever, but has no stopping point.
Suppose all would agree that gun possession within 1,000 feet of a
school does mot substantially affect commerce, but that possession
of weapons generally (knives, brass knuckles, nunchakus, @ti-}
does, Wnder our substantial effects doctrine, even though Congress
cannoh single out qun possession, if can pronibit weapon possession
generally. But one always can draw the circle broadly enough tea
cover an activity that, when taken in iseleétion, would mot have
substantial effects on commerce. Under our jurisprudence, it
Congress passed an omnibus "substantially affects interslate
commerce” statute, purporting to reguiate every aspect of human
existence, the Act apparently would be constitutional. Even though
particular sections may govern only trivial activities, tne statute
in the aggregate regulates matters that substantially atfece
commerce.

 

Vv

This extended discussion of the original wnderstanding and our
firsl century and a half of case iaw does nob necessariiy require
a wholesale abandonment of our more recent opinions. [footnere 4]
It simpiy reveals that our substantia) affects test is far removed
from both the Constitution and from our carly case law and phac the
Court's opinion should not be viewed as "radical" ¢r another "wrong
turn" that must be corrected in the future. [footnote 9} The
analysis alsa suggests that we ought to temper our Commerce Clause
Jurisprudence.

Unless the dissenting Justices are willing tc repudiate our
long-held understanding of the limited nature of Federal power, 7
would think Ehat they too must be willing to reconsider Lhe
substanlial effects test in a future case. Tf we wish Lo be true
to a Constitution that does not cede a police power to the Feaerai
Government, our Commerce Clause's boundaries simply cannot be
"defined" as being “commensurate with the national needs'" oF
self-consciously intended to let the Federal Government " deter
itself against economic forces that Congress decrees inimical of
destructive of the national economy.'" See post, at lz-i3 jbreyer,
J., dissenting) (quoting North American Co. v. SEC, 327 0, 9, eee,
795 (19463). Such a formulation of federal power 18 no test at
all: at is a blank check,

At an appropriate juncture, I Chink we Must modify Gut Waaierce
Clause jurisprudence. Today, 1f 16 easy enough fo say that the
Clause certainly does not empower Congress te ban qun pussesaicn
within 1,¢00 feet of a school.

FOOTNOTES

1. All references to the Federalist are to the Jacob #. Cuore Lael
edition.

2. Even to speak of the “Commerce Clause” perhaps obscures the
actual scope of that Clause. As an original matter, Congress aia
not have authority to regulate all commerce: Congress coid onty
"regulate Commerce with foreign Nations, and among the aoveral

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requiated manufacturing or agriculture. Nor was where amley wtoatule
which purported to regulate activities with "substantial elfests"
on Lniterstate commerce.

7, To be Sure, Congressional power pursuant to the Commerce Clause
Was alternatively described Less narrowly or more marrowiy Gurliiy
this l50-year period. Compare United States v. Coombs, 1? fet. /2
%8, 9 L.Ed. 21004 (1838) (commerce powor “extends to such acts fhone
an land, which interfere with, obstruct, or prevent Che due
ox@rcise af power Lo regulate [interstate and inlernataisia: |
commerce” such as stealing goods from 4 beached ship) with whirteéd
States v. £.C. Knight Co., Lo6 U.S. 1, 24, 19 S.0r, 249, 204, au
L.Ed, 325 (1695) ("Contracts to buy, sell, Of exchange geovhi Lo te
transported ameng the several States, the transportation and its
insteumentalities . . . may be regulated, but this ia mecdusge thay
form part of the interstate trade or commerce"). Guring this
peciod, however, this Court never held that Congress csuid requdate
everything that substantially affects commerce,

i

  

8. Although I might be willing te return te the sriginal
understanding, { receqnize that many believe it is toe late in tne
day to undertake a Fundamental reexamination of the past of yreats.
Consideration of Stare decisis and reliance inlereésts may Torvirete
us that we cannot wipe the slate clean.

 

9, Nor can the majority's opinion fairly be compered to Locnner v.
New York, 198 U.S. 45, 25 S.Ct. $39, 49 L.ba. 937 (1905). See
post, at, Souter, J., dissenting). Unlike Lochner and our more
recent "substantive due process” cases, faday's decision enforces
only the Constitution and net "judicial policy judgments." See
post, at. Notwithstanding Justice Soaurer's diseuselon,
"Tcommercial!’ character” is not only a natural but an inevitabie
"wround of Commerce Clause distinction." See post, at
femphasis added). Quer invalidation of the Gun Free School ones
Act therefore falls comfartable within Gur proper role in reviewlLig
federal legislation to determine if it exceeds congrass bial
authority as defined py the Constitution itself. As Jonn Margnall
put it: “IE [Congress] were to make 4 Law not warranted by any of
the powers enumerated, it would be considered by the judges a3 an
infringement of Che Constitution which they are to guard. . . They
would declare it void." 3 Debates 553 (hefore the Virgins
ratifying convention); see also The Federalist No, 44, at 3u8
(James Madison) (asserting that if Cangress exercises powers “rot
warranted by [the Constitution's] true meaning “ the judiciary wil
defend tha Constitution); id., No. 78, at h26 (AL Hamilton)
iasserting that the "courts of justice are to be considered the as
the bulwarks of a limited constitution against legislarive
encroachments"). Where, as here, there iS a Case OF Conlewversy,
there can be no “miastep", post, at =, in enforcing Clie
Congstilbutilen.

Justice Stevens, dissenting.
The welfare of our future "Commerce with foraign Nablesis, ata
among the several States," U. 8. Const., Art. I, section », 21. 4,

is vitally dependent on the character of the aducation ol wuz
children. I therefore agree entirely with Justice Hreyer'’s

pert 5” cf XD
 

 

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(last update: September 1, 1999)

FEDERAL JURISDICTION

In the United States, there are two separate and distinct jurisdictions, one being that of the States within their
own territorial boundaries and the other being federal jurisdiction. Broadly speaking, state jurisdiction
encompasses the legislatrve power to regulate, control and govern real and personal property, individuals
and enterprises within the territorial limits of any given State. In contrast, federal jurisdiction is extremely
limited, with the same being exercised only in areas external to state legislative power and territory.
Notwithstanding the clarity of this simple principle, the line of demarcation between these two jurisdictions
and the extent and reach of each has become somewhat blurred due to popular misconceptions and the
efforts expended by the federal government to conceal one of its major weaknesses. Only by resorting to
history and case law can this obfuscation be clarified and the two distinct jurisdictions be readily seen

The orginal thirteen colonies of America were cach separately established by charters from the English
Crown Outside of the common bond of each being a dependency and colony of the mother country,
England the colomies were not otherwise united. Each had its own governor, legislative assembly and
courts, and each was governed separately and independently by the English Parliament.

The political connections of the separate colonies to the English Crown and Parliament descended to an
rebellious state of affairs as the direct result of Parliamentary acts adopted in the late 1760's and early
1770's. Due to the real and percerved dangers caused by these various acts, the First Continental Congress
was convened by representatives of the several colomies in October, 1774, and its purpose was to submit a
petition of grievances to the British Parliarnent and Crown. By the Declaration and Resolves of the First
Continental Congress, dated October 14, 1774, the colonial representatives labeled these Parliamentary acts
of which they complained as “impolitic, unjust, and cruel, as well as unconstitutional, and most dangerous
and destructive of American nghts;” but further, they asserted that these acts manifested designs, schemes
and plans “which demonstrate a system formed to enslave America.”

Matters grew worse and between October, 1775, and the middle of 1776, each of the colonies separately
severed their ties and relations with England, and several adopted constitutions for the newly formed States.
By July, 1776, the exercise of British authority in all of the colonies was not recogmzed in any degree. The

capstone of this actual separation of the colonies from England was the more formal! Declaration of
Independence.

The legal effect of the Declaration of Independence was to make each new State a separate and independent
sovereign over which there was no other government of superior power or jurisdiction. This was clearly
shown in M’Tvaine v, Coxe’s Lessee, 8 US. (4 Cranch) 209, 212 (1808), where it was held:

“This opmien is predicated upon a principle which is beheved to be undeniable, that the several states which
composed this Union, so far at least as regarded their municipal regulations, became entitled, from the ime
when they declared themselves independent, to all the nghts and powers of sovereign states, and that they
did not derive them from concessions made by the British king. The treaty of peace contains a recognition of
their independence, not a grant of it. From hence it results, that the laws of the several state governments

were the laws of sovereign states, and as such were obligatory upon the people of such state, from the time
they were enacted.”

The consequences of independence was again explained in Harcourt v. Gaillard, 25 0.5. (12 Wheat.) 523,
526, 527 (1827), where the Supreme Court stated:

“There was no territory within the United States that was claimed in amy other mght than that of some one of
the confederated states; therefore, there could be no acquisition of territory made by the United States

distinct from, or mdependent of some one of the states. “Each declared itself sovereign and mdependent,
accordmg to the lumits of its territory.

“[T]he soil and sovereignty within ther acknowledged limits were as much theirs at the declaration of
independence as at this hour.” Thus, unequivocally, in July, 1776, the new States possessed all sovereignty,
power, and jurisdiction over all the soil and persons in their respective termitorial limits.

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This condition of supreme sovi ty of each State over all property and within the borders thereof
continued notwithstanding the adoption of the Articles of Confederation. Arucle II of that document
declared:

“Article IL. Each state retains its sovereignty, freedom, and independence, and every Power, Jurisdiction and
nght, which is not by this confederation expressly delegated to the United States, in Cougress assembled.”
As the history of the confederation government demonstrated, each State was indeed sovereign and
independent to such a degree that it made the central government created by the confederation fairly
ineffectual. These defects of the confederation government strained the relations between and among the
States and the remedy became the calling of a constitutional convention.

The representatives which assembled in Philadelphia in May, 1787, to attend the Constitutional Convention
met for the primary purpose of improving the commercial relations among the States, although the product
of the Convention was more than this. But, no intention was demonstrated for the States to surrender in any
degree the jurisdiction so possessed by them at that time, and deed the Constitution as finally drafted
continued the same territorial jurisdiction of the States as existed under the Articles of Confederation. The
essence of this retention of state jurisdiction was embodied in Art. I, § 8, cl. 17 of the U.S. Constitution,
which defined federal jurisdiction as follows:

“To exercise exclustve Legislation in all Cases whatsoever, over such District (not exceeding ten Miles
square) as may, by Cession of particular States, and the Acceptance of Congress, become the Seat of the
Government of the United States, amd to exercise ike Authority over all Places purchased by the Consent of
the Legislature of the State in which the Same shall be, for the Erection of Forts, Magazines, Arsenals, dock-
Yards, and other needful Buildings.”

The reason for the inclusion of this clause in the Constitution is obvious. Under the Articles of
Confederation, the States retained full and complete jurisdiction over lands and persons within their borders.
The Congress under the Aricles of Confederation was merely a body which represented and acted as agents
of the separate States for external affarrs, and it had no jurisdiction within the States. This defect in the
Articles made the Confederation Congress totally dependent upon any given State for protection, and this
dependency did in fact cause embarrassment for that Congress. During the Revolutionary War while the
Congress met m Philadelphia, a body of mutineers from the Continental Anny surrounded the Congress and
chastised and msulted its members. The goveruments of both Philadelphia and Pennsylvania proved
themselves powerless to remedy this situation, so Congress was forced to flee first to Princeton, New Jersey,
and finally to Annapolis, Maryland.[1] Thus, this clause was mserted into the Constitution to give
juzisdiction to Congress over its capital, and such other places which Congress might purchase for forts,
magazines, arsenals and other needful buildings wherem the State ceded jurisdiction of such lands to the
federal government. Other than in these areas, this clause of the Constitution did not operate to cede further
jurisdiction to the federal government, and jurisdiction over those areas which had not been so ceded
remained within the States.

While there had been no real provisions in the Articles which permitted the Confederation Congress to
acquire property and possess exclusive jurisdiction over that property, the above clause filled an essential
need by permitting the federal govermment to acquire land for the seat of government and other purposes
from certain of the States. These lands were deemed essential to enable the United States to perfonm the
powers delegated by the Constituhion, and a cession of lands by any particular State would grant exclusive

junsdiction of them to Congress. Perhaps the best explanations for this clause in the Constitution were set
forth ir Essay No. 43 of The Federalist:

“The indispensable necessity of complete authority at the seat of government carries its own evidence with
it. It is a power exercised by every legislature of the Union, I might say of the world, by virtue of its general
supremacy. Without it not only the public authority might be insulted and its proceedings interrupted with
impunity, but a dependence of the members of the general government on the State comprehending the seat
of the government for protection in the exercise of them duty might bring on the national councils an
imputation of awe or influence equally dishonorable to the government and dissatisfactory to the other
members of the Confederacy. This consideration has the more weight as the gradual accumulation of public
improvernents at the stationary residence of the government would be both too great a public pledge to be
left in the hands of a single State, and would create so mary obstacles to a removal of the government, as
still further to abndge its necessary independence, The extent of this federal district is sufficiently

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circumscr isfy every it} jated to-fhisqise with
the Come RS ee Sete the State a hi Provide in he aot forte sigh and the
consent of the citizens inbabitingt, as the inhabitants will find sufficient inducements of interest to become
willing parties to the cession, as they will have had their voice in the election of the government which is to
exercise authonty over them; as a municipal legislature for local purposes, derived from their own sufirages,
will of course be allowed them; and as the authority of the legislature of the State, and of the inhabitants of
the ceded part of it, to concur in the cession will be derived from the whole people of the State in their
adoption of the Constitution, every imaginable objection seems to be obviated.

“The necessity of a like authority over forts, magazines, etc., established by the general government, is not
less evident. The public money expended on such places, and the public property deposited in them, require
that they should be exerapt from the authority of the particular State. Nor would it be proper for the places
on which the security of the entire Union may depend to be in any degree dependent on a particular member
of it. All objections and scruples are here also obviated by requiring the concurrence of the States concerned
im every such establishment.”

Since the ratification of the present U.S. Constitution, the U.S. Supreme Court and all lower courts have had
many opportunities to constme and apply this clause of the Constitution. The essence of all these decisions
manifests a legal principle that the States of this nation have exclusive jurisdiction of property and persons
located within their borders, excluding such lands and persons residing thereon which have been ceded to
the United States.

Perhaps one of the earliest decisions on this point was United States vy. Bevans, 16 U.S. (3 Wheat.) 336
(1818), which involved a federal prosecution for a murder committed on board the Warship, Independence,
anchored in the harbor of Boston, Massachusetts. The defense complained that only the state had jurisdiction
to prosecute this crime and argued that the federal circuit courts had no jurisdiction of this crime supposedly
committed within the federal government's admiralty jurisdiction. In argument before the Supreme Court,
counsel for the United States admitted as much:

“The exclusive junsdiction which the United States have in forts and dock-yards ceded to them, is derived
from the express assent of the states by whom the cessions are made. It could be derived in no other manner,
because without it, the authority of the state would be supreme and exclusive therein,” Id., at 350-51.

In holding that the State of Massachusetts had jurisdiction over this crime, the Court held:

“What, then, is the extent of jurisdiction which a state possesses? “We answer, without hesitation, the
yanisdiction of a state is co-extensive with its territory; co-extensive with its legislative power,” Id, at 386-
87. “The article which describes the judicial power of the United States is not intended for the cession of
territory or of general jurisdiction... Congress has power to exercise exclusive jurisdiction over this district,
and over all places purchased by the consent of the legislature of the state in which the same shall be, for the
erection of forts, magazines, arsenals, dock-yards, and other needful buildings.

“It is observable that the power of exclusive legislation (which is jurisdiction) is united with cession of
tertitory, which 1s to bé the free act of the states. Iris difficult to compare the two sections together, without
feeling a conviction. not to be strengthened by any commentary on them, that, in describing the judicial
power, the framers of our constitution had not in view any cession of territory; or, which is essenually the
same, of general jurisdiction,” Id., at 388.

The Court in Bevans thus established a principle that federal jurisdiction extends only over the areas wherein
it possesses the power of exclusive legislation, and this is a principle incorporated into all subsequent
decisions regarding the extent of federal jurisdiction. To hold otherwise would destroy the purpose, intent
and meaning of the entire U.S, Constitution.

The decision in Bevans was closely followed by decisions made in two state courts and one federal court
within the next two years. In Commonwealth v. Young, Brightly, N.P. 302, 309 (Pa 1818), the Supreme
Court of Pennsylvania was presented with the issue of whether lands owned by the United States for which
Pennsylvania had never ceded jurisdiction had to be sold pursuant to state law. In deciding that the law of
Pennsylvania exclusively controlled this sale of federal land, the Court held:

“The legislation and authority of congress is confined to cessions by particutar states for the seat of
government, and purchases made by consent of the legislature of the state, for the purpose of erecting forts.

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The legislative power and excl jurisdiction remained in the several tall territory within their
limits, not ceded to, or purchased by, congress, with the assent of the state legislature, to prevent the
collision of legislation and authority between the United States and the several states.” A year later, the
Supreme Court of New York was presented with the issue of whether the State of New York had junsdiction
over a murder committed at Fort Niagara, a federal fort. In People v. Godfrey, 17 Johns. 225, 233 (N.Y,
1819), that court held that the fort was subject to the jurisdiction of the State since the lands therefore had
hot been ceded to the United States:

“To oust this state of its jurisdiction to support and maintain its laws, and to punish crimes, it must be shown
that an offense committed within the acknowledged limits of the state, is clearly and exclusively cognizable
by the laws and courts of the United States. In the case already cited, Chief Justice Marshall observed, that
to bring the offease with the jurisdiction of the courts of the union, it must have been comunitted out of the
junsdiction of any state; it is not (he says,) the offence committed, but the place in which it is committed,
which must be out of the jurisdiction of the state.”

The decisional authority upon which this court relied was United States v,
Bevans, supra.

At about the same time that the New York Supreme Court rendered its opinion in Godfrey, a similar fact
situation was before a federal court, the only difference being that the murder was committed on land which
had been ceded to the United States. In United States v. Cornell, 25 Fed.Cas. 646, 648, No. 14,867
(C.C.DRI. 1819), the court held that the case fell within federal jurisdiction:

“But although the United States may well purchase and hold lands for public purposes, within the territorial
lymits of a state, this does not of itself oust the jurisdiction or sovereignty of such State over the lands so
purchased. It remains until the State has relinquished its authority over the land either expressly or by
necessary itnplication.

“When therefore a purchase of land for any of these purposes is made by the national government, and the
State Legislature has given its consent to the purchase, the land so purchased by the very terms of the
constitution ipso facto falls within the exclusive legislation of Congress, and the State Jurisdiction 1s
completely ousted.”

Almost 18 years later, the U.S. Supreme Court was again presented with a case imvolving the distinchon
between state and federal jurisdiction In New Orleans v. United States, 35 U.S. (10 Pet.) 662, 737 (1836),
the United States claimed title to property in New Orleans likewise claimed by the city. After holding that
title to the subject lands was owned by the city, the Court addressed the question of federal jurisdiction:

“Special provision is made in the Constitution for the cession of jurisdiction from the States over places
where the federal government shal! establish forts or other military works. And it is only in these places, or
in the territories of the United States, where it can exercise a general junsdiction.”

In New York v. Miln, 36 U.S. (11 Pet.) 102 (1837), the question before the Court involved an attempt by the
City of New York to assess penalties against the master of a ship for his failure to make s report regarding
the persons his ship brought to New York. As against the master’s contention that the act was
unconstitutional and that New York had no jurisdiction in the matter, the Court held-

“Tf we look at the place of its operation, we find it to be within the territory, and, therefore, within the
Jurisdiction of New York. If we look at the person on whon it operates, he is found within the same territory
and jurisdiction,” Id., at 133.

“They are these: that a State has the same undeniable and unlimited junsdiction over all persons and things
within its terntorial limits, as any foreign nation, where that Jurisdiction is not surrendered or restrained by
the Constitution of the United States. That, by virtue of this, it is not only the right, but the bounden and
solemn duty of a State, to advance the safety, happiness and prosperity of its people, and to provide for its
general welfare, by any and every act of legislation which it raay deem to be conducive to these ends: where
the power over the particular subject, or the manner of its exercise is not suttendered or restrained, in the
mariner just stated. That all those powers which relate to merely municipal legislation, or what may, perhaps,
more properly be called internal police, are not thus surrendered or restrained: and that, consequently, m
relation to these, the authority of a State is complete, unqualified and exclusive,” Id., at 139.

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Some eight years later in Poll Hagan, 44 U.S. (3 How.) 212 (1845), estion of federal jurisdiction
was once again before the Court. This case involved a real property title dispute with one of the parties
clamning a right to the contested property via a U.S. patent; the lands in question were situated in Mobile,
Alabama, adjacent to Mobile Bay. In discussing the subject of federal jurisdiction, the Court held-

“We think a proper examination of this subject will show that the United States never held any municipal

Sovereignty, jurisdiction, or right of soil in and to the territory, of which Alabama or any of the new States
were formed,” Id, at 221.

“{B]ecause, the Umted States have no constitutional capacity to exercise municipal jurisdiction, sovereignty
or eminent domain, within the limits of a State or elsewhere, except in the cases in which it is expressly
granted,” [d., at 223.

“Alabama is therefore entitled to the sovereignty and jurisdiction over all the territory within her limits,
subject to the common law,” Id., at 228-29. The single most important casc regarding the subject of federal
jurisdiction appears to be Fort Leavenworth R. Co. v. Lowe, 114 U.S. 525, 531, 5 8.Ct. 995 (1885), which
sets forth the faw on this point fully. Here, the railroad company property which passed through the Fort
Leavenworth federal enclave was being subjected to taxation by Kansas, and the company claimed an
exemption from state taxation because its property was within federal jurisdiction and outside that of the
state. In holding that the railroad company’s property could be taxed, the Court carefully explained federal
Jurisdiction within the States:

“The consent of the states to the purchase of lands within them for the special purposes named, is, however,
essential, under the constitution, to the transfer to the general government, with the title, of pohtical
junsdiction and dominion. Where lands are acquired without such consent, the possession of the United
States, unless political jurisdiction be ceded to them in some other way, is simply that of an ordinary
proprietor. The property in that case, unless used as a means to carry out the purposes of the government, 15
subject to the legislative authority and contro! of the states equally with the property of private individuals.”
Thus the cases decided within the 19 century clearly disclosed the extent and scope of both State and
federal jurisdiction. [n essence, these cases, among many others, hold that the Junisdiction of any particular
State is co-extensive with its borders or territory, and all persons and property located or found therein ate
subject to that jurisdiction; this jurisdiction is superior. Federal junsdiction results from a conveyance of
State jurisdiction to the federal government for lands owned or otherwise possessed by the federal
government, aud thus federal jurisdiction is extremely limited in nature. There is no federal jurisdiction if
there be no grant or cession of jurisdiction by the State to the federal povernment. Therefore, federal
territorial jurisdiction exists only in Washington, D.C., the federal enclaves within the States, and the
territories and insular possessions of the United States. The above principles of Jurisdiction established in
the last century continue their vitality today with only one minor exception. In the last century, the cessions
of jurisdiction by States to the federal government were by legislative acts which typically ceded full
jurisdiction to the federal government, thus placing in the hands of the federal government the troublesome
problem of dealing with and governing scattered, localized federal enclaves which had been totally
surrendered by the States. With the advent in this century of large federal works projects and national parks
the problems regarding management of these areas by the federal government were magnified. During the
last century, it was thought that if a State ceded jurisdiction to the federal government, the cession granted
full and complete jurisdiction But with the ever increasing mumber of separate tracts of land fatling within
the jurisdiction of the federal government m this century, it was obviously determined by both federal and
state public officials that the States should retain greater control over these ceded lands, and the courts have
acknowledged the constitutionality of varying degrees of state jurisdiction and control over lands so ceded.

One of the first cases to acknowledge the proposition that a State could retain some jumsdiction over
property ceded to the federal government was Surplus Trading Co. v. Cook, 281 U.S. 647, 50 S.Ct. 455
(1930). Here, a state attempt to assess an ad valorera tax on Army blankets located within a federal any
camp was found invalid and beyond the state’s jurisdiction. But in regards to the proposition that a State
could make a qualified cession of jurisdiction to the federal government, the Court held:

“[U}he state undoubtedly may cede her jurisdiction to the United States and may make the cession either
absolute or qualified as to her may appear desirable, provided the qualification is consistent with the
purposes for which the reservation is maintained and is accepted by the United States. And, where such a

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cession is made and accepted, | be determinative of the jurisdiction of the United States and the
state within the reservation,” Id., at 651-52,

Two cases decided in 1937 by the U.S. Supreme Court further clarify the constitutionality of a reservation of
partial state jurisdiction over lands ceded to the jurisdiction of the United States. In James y. Dravo
Contracting Company, 302 U.S. 134, 58 S.Ct 208 (1937), the State of West Virginia sought to impose a tax
upon the gross receipts of the company arising from a contract which it had made with the United States to
build some dams. One of the issues involved in this case was the validity of the state tax imposed on the
receipts derived by the company from work performed on lands to which the State had ceded “concurrent”
jurisdiction to the United States, The Court held that a State could reserve and qualify any cession of
Junisdiction for lands owned by the United States: since the State had done so here, the Court upheld this part
of the challenged tax notwithstanding a partial cession of jurisdiction to the U.S. A similar result oceurred m
Silas Mason Co. v. Tax Commission of State of Washington, 302 1.8. 186, 58 S.Ct, 233 (1937), Here, the
United States was undertaking the construction of several dams on the Columbia River ir Washington, and
had purchased the lands necessary for the Project, Silas Mason obtained a contract to build a part of the
Grand Coulee Dam, but filed suit challenging the Washington income tax when that State sought to Impose
that tax on the contract pr . Mason's argument that the federal government had exclusive jurisdiction
over both the lands and its contract was not upheld by either the Supreme Court of Washington or the U.S.
Supreme Court. The latter Court held that none of the lands owned by the U.S. were within its jurisdiction

and thus Washington clearly had jurisdiction to impose the challenged tax; see also Wilson v. Cook, 327
U.S. 474, 66 8.Ct. 663 (1946).

Some few years later in 1943, the Supreme Court was again presented with similar taxation and Jurisdiction
issues; the facts in these two cases were identical with the exception that one clearly involved lands ceded to
the jurisdiction of the United States. This single difference caused directly opposite results in both cases. In
Pacific Coast Dairy v. Department of Agriculture of California, 318 U.S. 285, 63 $.Ct. 628 (1943), the
question involved the applicability of state law to a contract entered into and performed on a federal enclave
to which jurisdiction had been ceded to the United States. During World War II, California passed a law
setting a minimum price for the sale of milk, and this law imposed penalties for sales made below the
regulated price. Here, Pacific Coast Dairy consummated a contract on Moffett Field, a federal enclave
within the exclusive jurisdiction of the United States, to sell milk to such federal facility at below the
regulated price. When this occurred, California sought to impose # penalty for what it perceived as a
violation of state law. But, the U.S. Supreme Court refused to permit the enforcement. of the California law,
holding that the contract was made and performed in a tertitory outside the jurisdiction of Califormia and
within the jurisdiction of the United States, a place where this law didn’t apply. Thus in this case, the
existence of federal jurisdiction was the foundation for the decision. However, in Penn Dairies v. Milk
Contral Commission of Pennsylvania, 318 U.S. 261, 63 $.Ct. 617 (1943), an opposite result was reached on
almost identical facts. Here, Pennsylvania likewise had a law which regulated the price of milk and
penalized milk sales below the regulated price. During World War IT, the United States leased some land
from Pennsy!vania for the construction of a military camp, since the land was leased, Pennsylvania did not
cede jurisdiction to the United States. When Penn Dairies sold milk to the military facility for a price below
the regulated price, the Commission sought to impose the penalty. In this case, since there was no federal
jurisdiction, the Supreme Court found that the state law applied and permitted the imposition of the penalty,
These two cases clearly show the different results which can occur with the presence or absence of federal
Jurisdiction,

A final poit regarding federal jurisdiction concerns the question of when such jurisdiction ends or ceases.
This issue was considered m S.2_A. v. Mummesota, 327 U.S. 558, 563-64, 66 S.Ct. 749 (1946), which
involved the power of a State to tax the real property interest of a purchaser of land sold by the United
States. Here, a federal post office building was sold to 5.RA. pursuant to a rea) estates sale contract which
provided that title would pass only after the purchase price had been paid. In refuting the argument of $.R.A.

that the ad valorem tax on its equitable interest in the property was really an unlawful tax on U.S. property,
the Court held:

“In the absence of some such provisions, a transfer of property heid by the United States under state cessians
pursuant to Article 1, Section 8, Clause 17, of the Constitution would leave numerous tsolated islands of

federal jurisdiction, unless the unrestricted transfer of the property to private hands is thought without more
to revest sovereignty in the states. As the purpose of Clause 17 was to give control over the sites of

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governmental operations to the @:: States, when such coutrol was deem. sential For federal activites,
it would seem that the sovereignty of the United States would end with the reason for its existence and the
disposition of the property. We shall treat this case as though the Government's unrestricted transfer of
property to non-federal hands 1s a relinquishment of the exclusive legislative power.”

Thus when any property within the exclusive jurisdiction of the United States is no longer utilized by that
government for governmental purposes, and the title or any interest therein is conveyed to private imterests,
the jurisdiction of the federal government ceases and jurisdiction once again reverts to the State. ‘The above
principles regarding the distinction between State and federal jurisdiction continue today; see Paul v. United
States, 371 U.S. 245, 83 8.Ct 426 (1963), and United States v. State Tax Commission of Mississippi, 412
U.S. 363, 93 $.Ct, 2183 (1973). What was definitely decided in the beginning days of this Republic
regarding the extent, scope, and reach of each of these two distinct jurisdictions remains unchanged and
forms the foundation and basis for the smooth workings of state governmental systems in conjunction with
the federal government. Without such jurisdictional principles which form a clear boundary between the
jurisdiction of the States and the United States, our federal governmental system would have surely met its
demise long before now.

In summary, the jurisdiction of the States is essentially the same as they possessed when they were leagued
together under the Articles of Confederation. The confederated States possessed absolute, complete and full
Jurisdiction over property and persous located within their borders. It is hypocritical to assume or argue that
these States, which had banished the centralized power and jurisdiction of the English Parliament and Crown
over them by the Declaration of Independence, would shortly thereafter cede comparable power and
jurisdiction to the Confederation Congress. They did not and they closely and jealously guarded ther own
nights, powers and jurisdiction. When the Articles were replaced by the Constitution, the intent and purpose
of the States was to retain their same powers and jurisdiction, with a small concession of jurisdiction to the
United States of lands found essential for the operation of that government. However, even this provision
did not operate to instantly change any aspect of state jurisdiction, it only permitted its future operation
wherein any State, by its own volition, should choose to cede jurisdiction to the United States.

By the adoption of the Constitution, the States jointly surrendered some 17 specific and well defined powers
to the federal Congress, which related almost entirely to external affairs of the States. Any single delegated
power, or even Several powers combined, do not operate in a fashion so as to invade or divest a State of its
junsdiction. As against a single State, the remainder of the States under the Constitution have no right to
yansdiction within the single State absent its consent.

The only provision in the Constitution which permits territorial jurisdiction to be vested in the United States
is found im Art. I, § 8, cl. 17, which provides the mechanism for a voluntary cession of jurisdiction from any
State to the United States. When the Constitution was adopted, the United States had junsdiction over no
lands within the States, and it possessed jurisdiction only in the lands encompassed in the Northwest
Territories. Shortly after formation of the Union, Maryland and Virginia ceded jarisdiction to the United
States for Washington, D.C. Cer time, the States have ceded junsdiction to federal enclaves within the
States. Today, the temitorial jurisdiction of the United States is found only in such ceded areas, which
encompass Washington, D.C., the federal enclaves within the States, and such territories and possessions
which may now be owned by the United States.

The above conclusion is buttressed by the opinion of the federal govermnent itself. In Aime 1957, the United
States government published a work entitled Jurisdiction Over Federal Areas Within The States: Report of
the Interdepartmental Committee for the Study of Jurisdiction Over Federal Areas Within the States, Part J],
and this report is the definitive study on this issue. Therein, the Committee stated:

“The Constitution gives express recognition to but one means of Federal acquisition of legislative
Jurisdiction -- by State consent under Article [, section 8, clause 17... Justice McLean suggested that the
Constitution provided the sole mode for transfer of jurisdiction, and that if this mode is not pursued, no
transfer of jurisdiction can take place,” Ic, at 41. “Ht scarcely needs to be said that unless there has been a
transfer of jurisdiction (1) pursuant to clause 17 by a Federal acquisition of land with State consent, or (2) by
cession from the State to the Federal Government, or unless the Federal Goverment has reserved
jurisdiction upon the admission of the State, the Federal Government possesses no legislative jurisdiction
over any area within a State, such jurisdiction being for exercise by the State, subject to non- mterference by
the State with Federal functions,” Id, at 45.

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“The Federal Go ¢ pers ation Ssppart, erasay euislative jusisdiction Over any
area within @2 Sra Wate a te,” Id; at Bt be

“On the other hand, while the F Government has power under various provisions of the Constitution to
define, and prohibit as criminal, certain acts or omissions occurmng anywhere in the United States, it has no
power to pumish for various other crimes, jurisdiction over which is retained by the States under our Federal-

State system of government, unless such crite occurs on areas as to which legislative jurisdiction has been
vested in the Federal Government,” Jd, at 107.

Thus from a wealth of case law, in addition to this lengthy and definitive government treatise, the
“jurisdiction of the United States” is identified as a very precise and carefully defined portion of America.
The United States is one of the 50 jurisdictions existing on this continent, excluding Canada and its
provinces.

FEDERAL CRIMINAL JURISDICTION

It 18 a well established principle of law that all federal “legislation applies only within the territorial
jurisdiction of the United States uniess a contrary intent appears,” see Caha v. United States, 152 U.S. 211,
215, 14 S.Ct. 513 (1894); American Banana Company v. United Fruit Company, 213 U.S. 347, 357, 29
S.Ct. 511 (1909); United States v. Bowman, 260 U.S. 94, 97, 98, 43 S.Ct. 39 (1922); Blackmer v. United
States, 284 U.S. 421, 437, 52 S.Ct. 252 (1932); Foley Bros, v. Filardo. 336 US. 28), 285, 69 S.Ct. 575
(1949); United States v. Spelar, 338 U.S. 217, 222, 70 5.Ct. 10 (1949), and United States v, First National
City Bank, 321 F.2d 14, 23 (2 Cir 1963). This particular principle of law is expressed in a number of
cases from the federal appellate courts; see McKeel y. Islamic Republic of Iran, 722 F.2d $82, 589 (9" Cir.
1983) {holding the Foreign Sovereign Intmunities Act as territorial); Meredith v, United States, 330 F 2d 9,
11 (9 Cir. 1964) (holding the Federal Torts Claims Act as territorial); United States v. Cotroni, 527 F.2d
708, 711 (2 Cir. 1975) (holding federal wiretap laws as territorial);

Stowe v. Devoy, 588 F.2d 336, 341 (2 Cir. 1978); Cleary v. United States Lines, Inc, 728 F.2d 607, 609
(3" Cir, 1984) (holding federal age discrimination laws as territorial); Thomas v. Brown & Root, Inc, 745
F.2d 279, 281 (4" Cir. 1984) (holding same as Cleary, supra); United States v. Mitchell, $43 F.2d 996, 1002
(5 Cir, 1977) (holding marine mammals protection act as territorial), Pfeiffer v. William Wrigley, Jr., Co.,
755 F.2d 554, $57 (7™ Cir. 1985) (holding age discrimination laws as territorial):

Aarline Stewards & Stewardesses Assn. v. Northwest Airlines, Inc... 267 F2d 170, 175 (8" Cir. 1959)
(holding Railway Labor Act as territorial). Zahourek v. Arthur Young and Co., 750 F.2d 827, 829 (10 Cir,

“The laws of Congress in respect to those matters do not extend into the territorial limits of the states, but

have force only in the District of Columbia, and other places that are within the exclusive jurisdiction of the
national government.”

But, because of treaties as well as express statutory language, the federal drug laws operate extra-
territorially; see United States v. King, $52 F.2d 833, 851 (9" Cir. 1976). The United States has territorial
Jurisdiction onty in Washington, D.C., the federal enclaves within the States, and in the territories and
insular possessions of the United States However, it has no territorial jurisdiction over non-federaily owned
areas inside the territorial jurisdiction of the States within the American Union, and this proposition of law is
supported by literally hundreds of cases.

As a general rule, the power of the United States to criminally prosecute is, for the most part, confined to
offenses cormmitted within “its jurisdiction” in the absence of treaties. ‘This is born out simply by
examination of 18 U.S.C. §5 which defines the term “United States” in clear jurisdictional terms. [2}
Further, §7 of that federal criminal code contains the fullest Statutory definition of the “jurisdiction of the
United States.” The U.S. district courts have jurisdiction of offenses occurring within the “United States”

pursuant to 18 U.S.C, §3231. -
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Examples of this proposition a @pescrous. in Pothier v. Rodman, 291 F. 3S" Cir. 1923), the question
mivolved whether a murder commutted at Camp Lewis Military Reservation in the State of Washington was 4
federal crime, Here, the murder was committed more than a year before the U.S. acquired a deed for the
Property which was the scene of the crime. Pothier was arrested and incarcerated in Rhode [sland and filed a
habeas corpus petition seeking his release on the grounds that the federal courts had no funisdiction over this
offense not committed m U.S. jurisdiction. The First Circuit agreed that there was no federal jurisdiction and
ordered his release. But, on appeal to the U.S. Supreme Court, in Rodman v. Pothier, 264 U.S. 399, 44
5-Ct, 360 (1924), that Court reversed; althongh agreeing with the jurisdictional principles enunciated by the
First Circuit, xt held that only the federal court im Washington State could decide that issue. In United States
v. Unzeuta, 35 F.2d 750 (8" Cir, 1929), the Eighth Circuit held that the U.S. had no junsdiction over a
murder committed in a railroad car at Fort Robinson, the state cession statute being construed as not
imchiding railroad rights-of-way. This decision was reversed in United States v. Unzeuta, 281 U.S. 138, 50
S.Ct. 284 (1930), the Court holding that the U.S. did have jurisdiction over the railroad rights-of-way in Fort
Robinson. In Bowen v. Johnson, 97 F.2d 860 (9" Cir. 1938), the question presented was whether the lack of
jurisdiction over an offense prosecuted in federal court could be raised in a habeas corpus petition. The
denial of Bowen’s petition was reversed in Bowen v. Johnston, 306 U.S. 19, 59 S.Ct. 442 (1939), the Court
concluding that such a jurisdictional challenge could be raised via such a petition. But, the Court then
addressed the issue, found that the U.S. both owned the property in question and had a state legislative grant
ceding jurisdiction to the United States, thus there was jurisdiction in the United States to prosecute Bowen.
But, if jurisdiction is not vested in the United States pursuant to statute. there is no Jurisdiction; see Adams
v. United States, 319 U.S. 312, 63 $.Ct. 1122 (1943).

The lower federal courts also require the presence of federal jurisdiction in criminal prosecutions. In Kelly v.
United States, 27 F. 616 (D.Me. 1885), federal jurisdiction of a manslaughter committed at Fort Popham was
upheld when it was shown that the U.S. owned the property where the offense occurred and the state had
ceded jurisdiction. In United States v. Andem, 158 F. 996 (D.N.J, 1908), federal jurisdiction for a forgery
offense was upheld on a showing that the United States owned the property where the offense was
commutted and the state had ceded jurisdiction of the property to the U.S. In United States v. Penn, 48 F. 669
(E.D. Va. 1880), since the U.S. did not have jurisdiction over Arlington National Cemetery, a federal larceny
prosecution was dismissed. In United States v, Lovely, 319 F.2d 673 (4" Cir. 1963), federal jurisdiction was
found to exist by U.S. ownership of the property and a state cession of jurisdiction. In United States v.
Watson, 80 F Supp. 649, 651 (E.D.Va. 1948), federal criminal charges were dismissed, the court stating:
“Without proof of the requisite ownership or possession of the United States, the crime has not been made
out.”

In Brown v. United States, 257 F. 46 (5" Cir. 1919), federal jurisdiction was upheld on the basis that the
U.S. owned the post office site where a murder was committed and the state had ceded Jurisdiction; see also
England v. United States, 174 F.2d 466 (5° Cir. 1949), Hudspeth v. United States, 273 F.2d 848 (5" Cir.
1955); Krull v. United States, 240 F.2d 122 (5 Cir. 1957), and Gainey v. United States, 324 F.2d 731 (s"
Cir, 1963). In United States v. Townsend, 474 F.2d 209 (5® Cir. 1973), a conviction for receiving stolen
property was reversed when the court reviewed the record and learned that there was absolutely no evidence
disclosing that the defendant had committed this offense within the jurisdiction of the United States. In

United States v. Benson, 495 F.2d 475, 481 (5" Cir. 1974), in finding federal jurisdiction for a robbery
committed at Fort Rucker, the court held:

“It 1s axiomatic that the prosecution must always prove territorial Jurisdiction over a crime in order to sustain
4 conviction therefor.” In two Sixth Circuit cases, United States v. Tucker, 122 F. $18 (W.D.Ky. 1903), a
case involving an assault committed at a federal dam, and United States y. Blunt, 558 F.2d 1245 (6* Cir.
1977), a case involving an assault within a federal penitentiary, jurisdiction was sustained by finding that the
U.S. owned the property in question and the state involved had ceded jurisdiction. In In re Kelly, 71 F. 545
(F.D.Wis. 1895), a federal assault charge was dismissed when the court held that the state cession statute in
question was not adequate to convey jurisdiction of the property in question to the United States. In United
States v. Johnson, 426 F.2d 1112 (7" Cir, 1970), a case involving a federal burglary prosecution, federal
junsdiction was sustained upon the showing of U.S. ownership and a state cession. And cases from the
Eighth and Tenth Circuits likewise require the same elements to be shown to demonstrate the presence of
federal jurisdiction; see United States v. Heard, 270 F Supp. 198 (W.D.Mo, 1967); United States v.
Redstone, 488 F 2d 300 (8 Cir. 1973); United States vy. Goings, $04 F.2d 809 (8" Cir. 1974) (demonstrating

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loss of junsdiction); Hayes v. e: States, 367 F.2d 216 (10" Cir. 1966); v. United States, 404 F.2d
1367 (10* Cir. 1969); United States v, Carter, 430 F.2d 1278 (10 Cir, 1970); and United States v. Cassidy,
571 F.2d 534 (10® Cir. 1978). Of all the circuits, the Ninth Circuit has addressed jurisdictional issues more
than any of the rest. In United States v. Bateman, 34 F. 86 (N.D.Cal. 1888), it was determined that the
United States did not have jurisdiction to prosecute for a murder committed at the Presidio because
California had never ceded jurisdiction, see also United States v. Tully, 140 F. 899 (D.Mon. 1905). But later,
California ceded jurisdiction for the Presidio to the United States, and it was held in United States v.
Watkins, 22 F.2d 437 (N.D.Cal. 1927), that this enabled the U.S. to maintain a murder prosecution. See also
United States v. Holt, 168 F. 141 (W.D. Wash. 1909), United States v. Lewis, 253 F. 469 (S.D.Cal. 1918),
and United States y. Wurtzbarger, 276 F. 753 (D.Or. 1921), Because the U.S, owned and had a state cession
of yunsdiction for Fort Douglas in Utah, it was held that the US. had jurisdiction for a rape prosecution in
Rogers v. Squier, 157 F.2d 948 (9" Cir. 1946). But, without a cession, the U.S. has no jurisdiction: see
Arizona v. Manypenny, 445 F Supp. 1123 (D. Ariz. 1977).

The above cases from the U.S. Supreme Court and federal appellate courts set forth the rule that in criminal
prosecutions, the government, as the party seeking to establish the existence of federal jurisdiction, must
prove U.S. ownership of the property in question and a state cession of jurisdiction. This same rule
manifests ftself in state cases. State courts are courts of general jurisdiction and in a state criminal
prosecution, the state must only prove that the offense was committed within the state and a county thereof,
If'a defendant contends that only the federal government has jurisdiction over the offense, he, as proponent
for the existence of federal jurisdiction, must likewise prove U.S. ownership of the property where the crime
was committed and state cession of jurisdiction.

Examples of the operation of this principle are numerous. In Arizona, the State has jurisdiction over federal
lands in the public domain, the state not having ceded jurisdiction of that property to the U.S.; see State v.
Dykes, 114 Anz. 592, 562 P.2d 1090 (1977). In California, if it is not proved by a defendant in a state
prosecution that the state has ceded jurisdiction, it is presumed the state does have jurisdiction over a
criminal offense; see People v. Brown, 69 Cal. App.2d 602, 159 P.2d 686 (1945). If the cession exists, the
state has no jurisdiction; see People v. Mouse, 203 Cal. 782, 265 P. 944 (1928). In Montana, the state has
jurisdiction over property if it is not proved there is a state cession of jurisdiction to the U.S.: se¢ State ex rel
Parker v. District Court, 147 Mon. 151, 410 P.2d 459 (1966); the existence of a state cession of jurisdiction
to the U_S. ousts the state of jurisdiction; see State v. Tully, 31 Mont, 365, 78 P. 760 (1904). The same
applies in Nevada; see State v. Mack, 23 Nev. 359, 47 P. 763 (1897), and Pendleton v. State, 734 P.2d 693
(Nev, 1987), it applies in Oregon (see State v, Chin Ping, 91 Or. 593, 176 P, 188 (1918), and State v.

Aguilar, 85 Or.App. 410, 736 P.2d 620 (1987), and in Washington (see State v. Williams, 23 Wash. App.
694, 598 P.2d 731 (1979).

In People v. Hammond, | [2d 65, 115 N.E.2d 331 (1953), a burglary of an IRS office was held to be
within state jurisdiction, the court holding that the defendant was required to prove existence of federal
junsdiction by U.S. ownership of the property and state cession of Jurisdiction. In two cases from Michigan,
larcenies committed at U.S. post offices which were rented were held to be within state jurisdiction: see
People v. Burke, 161 Mich 397, 126 N.W. 446 (1910), and People vy. Van Dyke, 276 Mich 32, 267 N.W,
778 (1936). See also In re Kelly, 311 Mich. 596, 19 N.W.2d 218 (1945). In Kansas City v, Garner, 430
5.W.2d 630 (Mc. App. 1968), state jurisdiction over a theft offense occurring in a federal building was
upheld, and the court stated that a defendant had to show federal jurisdiction by proving U.S. ownership of
the building and a cession of jurisdiction from the state to the United States, A similar holding was made for
a theft at a U.S. missile site in State v. Rindall, 146 Mon. 64, 404 P.2d 327 (1963). In Pendleton v. State, 734
P.2d 693 (Nev. 1987), the state court was held to have jurisdiction over a D.U1. committed on federal lands,
the defendant having failed to show U.S. ownership and state cession of jurisdiction.

In People v. Gerald, 40 Misc.2d 819, 243 N-Y.8.2d 1001 (1963), the state was held to have jurisdiction of an
assault at a U.S. post office since the defendant did not meet his burden of showing presence of federal
Jurisdiction, and because a defendant failed to prove title and jurisdiction im the United States for an offense
committed at a customs station, state jurisdiction was upheld in People v. Fisher, 97 A.D2d 65 1, 469
N.Y.S.2d 187 (AD. 3 Dept, 1983). The proper method of showing federal jurisdiction in state court is
demonstrated by the decision in People v. Williams, 136 Misc. 2d 204, 518 N.Y.S.2d 751 (1987). This mile
was likewise enunciated in State v. Burger, 33 Ohio App.3d 231, 515 N.E.2d 640 (1986), a case mvolving a
D,U.1L offense committed on a road near a federal arsenal. in Kuerschner v. State, 493 P.2d 1402

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(Okl.Cr App. 1972), the state Ou: to have jurisdiction of a drug sales o occurring at an Air Force
Base, the defendant not having atterapted to prove federal jurisdiction by showing title and jurisdiction of
the property in question in the United States, see also Towry v. State, 540 P.2d 597 (Okl.Cr. App. 1975).
Similar holdings for murders committed at U.S. post offices were made in State v. Chin Ping, 91 Or. 593,
176 P. 188 (1918), and in United States v, Pate, 393 F.2d 44 (7" Cir. 1968). Another Oregon case, State v.
Aguilar, 85 Or. App. 410, 736 P.2d 620 (1987), demonstrates this rule. Finally, in Curry v. State, 111 Tex,
Cr. 264, 12 §.W.2d 796 (1928), it was held that, in the absence of proof that the state had ceded jurisdiction
of a place to the United States, the state courts had jurisdiction over an offense.

Therefore, in federal criminal prosecutions involving jurisdictional type crimes, the government must prove
the existence of federal jurisdiction by showing U.S. ownership of the place where the crime was committed
and state cession of jurisdiction. If the government contends for the power to criminally prosecute for an
offense committed outside “its jurisdiction,” it must prove an extraterritorial application of the statute in
question as well as a constitutional foundation supporting the same. Absent this showing, no federal
prosecution can be commenced for offenses committed outside “its jurisdiction.”

END NOTES:
[1] See Fort Leavenworth R. Co. v. Lowe, 114 U.S. 525, 529, 5 S.Ct. 995 (1885).

[2] The statutory definition of “United States” as expressed in this § 5 is identical to the constitutional
definition of this term; see Cunard 8. 8. Co. v. Mellon, 262 U.S. 100, 43 S.Ct. 504 (1923), which deals with
the definition of “United States” as used in the 18" Amendment.

PEURRREEUERCAUU RE OGGG RGAE AG CGEC CREO REE E AER M RCO M MER RE RR RORR EA SU GSG Ed PATO U RM TANNA STORM RU CAUSE ROSA REUAT UGA AA CCMA T ANUS

The first FULL and complete definition of the word “state” in a federal stanste appears in an act to tax booze
and tobacco, 15 Stat. 125, ch. 186 (July 20, 1868). Section 104 of this act, 15 Stat. at 166, contained
definitions to certain words appearing in the act and here may be found the following:

“.. and the word ‘State’ to mean and include a Territory and District of Columbia...”

Wee ee eee a ee ee Re ee

[Note for the reader: The above memo discusses only about 140 cases. If you wish to find more cases
addressing the issue of federal terntorial jurisdiction, please see the other 3 separate files noted on the main
web site. The important U.S. Supreme Court cases are all cataloged in their own file; the same type of cases
from each federal circuit and each state are found in the other two files. 1f you wish to leamm more about how
federal laws are applicable outside “its jurisdiction,” please study the brief regarding treaties. ]

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THE CONSEQUENCES OF PERJURY AND
RELAT, ED CRIMES :

 

"HEARING

BEFORE THE -

COMMIPTER ON THE J UDICLARY
HOUSE OF REPRESEN TATIVES

ONE HUNDRED FIFTH CONGRESS
_ SECOND SESSION ©
- ON :

_ THE CONSEQUENCES. OF PERJURY AND RELATED CRIMES

 

DECEMBER 1, 1998.

 

Serial No.67

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Printed for the use. of the. Committee. on the Judiciary

 
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ot
And the word “Duty" in the Duty, Honor, Coun

‘motta, said to us that we're DY those whose job it is to enforce the law, and i

a”

ored, or ever

not just prepared to give our lives, we're prepared to lead a tough life as well. We've legitimized, by. those whose responsibility it is to check those whi

prepared to move our family and our household 28 times in

wail, the Sinai, Korea, Germany, Central America and elsewhere.
There have been ve

tation of the seven Army values:
Duty
Honor
Loyalty
Integrity
Selfless Service
Courage
Respect for Others

Note that Integrity has now been separately listed from Honor to add even more

emphasis to its importance.

hy is it important that the military services be values-based institutiona? There
are both external and internal reasons. Externally, to paraphrase e great American,
America's military is created by America, is for America and is from America. It
hasn't been any other way for 226 years, but particularly the last 25 years since

the draft ended. This is not really an all-volunteer Army—-it’s an all-recruited Army.

Each year a half-million young American men and women have to personally elect

ta join the military, and another 1.8 million have to elect to remain. That is truly
“from America." So the military must have a positive image or frankly, we'll have
to return to the draft. Despite occasional mistakes and setbacks, the military has
been the most admired institution in America for almost two decades, according to
the Gallup poll survey of Americans’ confidence in their institutions. Ifs my per-
sonst view as an old recruiter that it can't be any other way. Erede the value system
and Americans will not be proud to join nor to stay. ,

Fortunately today's highest mililary leaders are attuned to this reality—and none
of them need to be reminded of the iroportance of an ethical climate. They talk it,
and they walk the talk. . . .

Now consider the infernal toilitary reasons for having a solid set of core values.
Those half-million whe join us every year come from all backgrounds and al) walks
of tife. Not every one of them has fad the advantage of being born to parents like
my mom end dad. Not all of them have been exposed to the Ten Commandments
or the 12 points of the Scout Law. So the Army has an aggressive program of char-
acter develapment starting with basic training. i

Now I am net so naive as to think that en Anny of 4 million men and women,
Active, Reserve, Guard, are void of weak leaders. Certainly not. But the good news
is that there are systems to weed them cut in peacetime so that the terrible war-
lime consequences can be avoided,

Will soldiers follow weak leaders that don’t abide by the standards I've attempted
to describe? The enswer is yes. They must, for they are bound by their cath “to sbey
the ordera of the Prasident and the officers appointed over me.”

But the difference between an average unit end the best unil is most often its
leaders. Greet leaders, men of character, inspire soldiers ta do extraordinary things.
Conversely, a general malaise hangs over units whose leaders are weak. Soldiers
want, indeed deserve, leaders who are beld accountable for the seme standards that
they are held. The credibility of the system is at stake when that is not the case,
The military cannot afford te have its standards viewed as irrelevant or out of step.
Mihtary leadership development rograms, the code of ethics and the Uniform Code
of Military Justice all work together in concert to insure that the standards are ap
pled equally up and down the chain of commend.

Tlook forward to your questions.

Mr. Hype. Professor Dershowitz.
STATEMENT OF ALAN M. DERSHOWITZ, FELIX FRANEFURTER
PROFESSOR OF LAW, HARVARD LAW SCHOOL

Mr. DERSHOWITZ, Thank you. For nearly a quarter of a century
I have been teaching, lecturing and writing about the corrosive in-

i years. We're pre-
pared to spend countless nights and days in field training, or to jump out the door
of @ perfectly good airplane on a moonless night. And today's soldiers can add
months away From their demilies while in Haiti, Bosnia, Croatia, Macedonia, Ku-

good efforts over the years ta amplify on the meaning of
Duty, Honor, Country. In my view none has been any better than the recent articu-

continuum, rangin

enforce the law. ;

I appreciate very much your asking me to share my experienc
and expertise here with you teday. On the basis of my academi:
and professional experience, I believe that no felony is committe:
more frequently in this country than the genre of perjury and faiss
statement crimes. Perjury during civil depositions and trials is s
endemic that a respected appeilate judge once observed that “expe
rienced lawyers say that, in large cities, scarcely a trial occurs it
which some witness does not lie.” Police perjury in criminal cases
particularly in the context of Searches and other exclusionary ruli
issues, is 50 pervasive that the former police chief in San Jase ant
Kansas City has estimated that “hundreds of thousands of law en
forcement officials commit felony perjury every year testifyin;
about drug arrests” alone.

But in comparison with their frequency, perjury crimes an
among the most underprosecuted in this country. As prosecutor Mi
chael McCann concluded, “Outside of income tax violation, perjur:
is probably the most underprosecuted crime in America.” Moreover
there is evidence that false statements are among the most selec
tively prosecuted of all crimes and that the criteria for selectivit:
bears little relationship to the willfulness or frequency of the lies
the certainty of the evidence, or any other neutral criteria relatin;
ta the elements of perjury.

Historically, I think we can all agree that false statements hav
been committed of considerable variations in degree. The core con
cept of perjury grows out of the Bible, the Ten Commandments
“bearing false witnesses,” a term that consisted in accusing anothe
falsely of a crime.

Clearly the most heinous brand of lying is the iving of false tes
timony that results in the imprisonment of somebody who is inno
cent, Less egregious, but still quite serious, is false testimony tha
results in the conviction of a person who may be guilty, but whos:
rights were violated in a manner that would preclude conviction i
the police testified truthfully. There are many other Pointa on thi-
from making false statements about incom:
taxes to testifying falsely in civil trials. The least culpable genre o
false testimony are those that deny embarrassing personal conduc
of marginal relevance to the matter at issue in the legal proceed
ing.

I think it is clear that the false statements of which Presiden
Clinton is accused fall at the most marginal end of the least cul
pable genre of this continuum of offenses and would never even bi
considered for prosecution in the routine cases involving an ordi
nary defendant.

y own interest in the corrosive influences of perjury arose fron
two cases that ] appeared in as a young lawyer. In both cases th:
policemen were caught committin perjury, one on tape and th
other by his own admission. In both cases, the policemen were pre
moted, not prosecuted. Neither of those policemen were called {
appear as witnesses here today. .

l reports on the pervasive problems of police perjury and toler

fluences of perjury on our legal svstem. esnerialty when samenit+-di 8Nce of the Ivine hy nracsnutaes -a4 L.

 

 
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Case 3:02-cr

problem. The Mollen Commission in New York, for example, con-
cluded that the practice of police falsification is se common that it
has spawned its own word: “teatilying.” Officers also commit fal-
sifications to serve what they perceive to be legitimate law enforce-
ment ends and are committing perjury. The Commission provided
several examples of perjury cover stories that had been suiggested
ta young officers in order to make arrests.

Many judges who listen to or review testimony on a regular basis
agree with Judge Alex Kozinski of the ninth circuit who publicly
stated, “It is an open secret long shared by prosecutors, defense
lawyers and judges that perjury is widespread among Jaw enforce-
ment officials,” yet there is little apparent concern to remedy that
serious abuse of the oath to tell the truth, even among those whe
now claim te be so concerned with the corrosive influences of per-
jury on our legal system.

This committee, far example, in pursuance of its oversight man-
date has never, to my know edge, conducted hearings on this deep-
ly corrosive issue, which has far more dangerous impact over our
legal system than anythin charged against President Clinton. If
this were truly today an objective hearing on the consequences of
perjury or on double standards, it would focus on the most serious
types of perjury: that committed by police, with the approval of
prosecutors and judges. Yet we see no such concern.

A perfect example of the selective morality regarding perjury oe-
curred when President George Bush pardoned the former Secretary
of Defense Caspar Weinberger in 1992, even though the evidence
was absolutely clear and convincing.

The real issue is not the couple of convicted perjurers who ap-
peared before this committee today or the judges who condemned
the evils of perjury, but the hundreds of thousands of perjurers
who are never prosecuted and who this committee does not seém
ta care about, many for extremely serious and calculated lies de-
signed te undercut constitutional rights of unpopular defendants,
and the judges who say nothing and do nothing abeut this corrosive
phenomenon. You could not fit into this room or into this building
all of the People who testified more perjuriously than President
Clinton and were not ever prosecuted.

If we really want to reduce the corrosive effect of perjury on our
iegal system, the place ta begin is at or near the top of the perjury
hierarchy. If, instead, we continue deliberately to blind ourselves to
pervasive police perjury and other equaliy dangerous forms of lying
under oath and focus on a politically charged tangential lie in the
lowest category of possible perjury, hiding embarrassing facts by
evasive answers to poorly framed questions which were marginally
relevant to a dismissed civil case, we will be reaffirming the dan-

erous and hypocritical message that perjury will continue to be se-
ectively prosecuted as a crime reserved for political or other agen-
da-driven purposes.

A Republican aide to this committee was quoted in The New
York Times as follows: “In the hearing we will be looking to wheth-
er it is tenable for a Nation to have two different standards for
lying under oath, one for the President and one for everyone élse."

On the basis of my research and experience, I am convinced that
if President Clinton were-an ordinary citizen. he would nat ha nene

on

ecuted for his allegedly false statements, If President Clinton we
ever to be prosecuted or impeached for perjury on the basis of i
currently available evidence, it would, indeed, represent an ir.
proper double standard, a selectively harsher one for this Preside:
and perhaps a handful of other victims of selective prosecution a1
the usual laxer one for everyone else, especially popular police pe
jurers. Thank you. ;
[The prepared statement of Mr. Dershowitz follows:]

PREPARED STATEMENT OF ALAN M. DERSHOWITZ, FELEX FRANKFURTER PROFESSOR |
Law, HARVARD Law Scioa.

™

      

My name is Alan M. Dershowitz and [ heve been teaching criminal law at H:
vard Law School for 36 years. [ have also participated in the litigation—especia'
at the appellate level_—of hundreds oC federal and state cases, many of them invo!
ing perjury and the making of false statements. 1 have edited a casebook on cri:
na law and have written 10 books and hundreds of articles dealing with subjec
relating to the issues before this committee. It is an honor to have been asked
share my experience and expertise with you ell here today.

For nearly a quarter century, I have been teaching, lecturing and writing abo
the corrosive influences of perjury in our legal system, especially when committ
by those whose job itis to enforce the law, and ignored—or even legitimized—
those whose responsibility it is ta check those who enforce the law.

On the basis of my academic and professional experience, | believe that no felo:
ig committed more frequently in this country than the genre of perjury and fai
statements, Perurcy during civil depositions and trials is so endemic that a +
spected appellate judge once observed that “experienced lawyers say that, in lar
cites, scarcely a trial occurs in which some witness does not He” He quoted a w
te the effect that cases often are decided “according to the preponderance of p:
jury."! Filing false tax returns and other documents under pains and penalties
pedury is sc rampant that everyone acknowledges that only a tiny fraction of 1
fenders can be prosecuted. Making false slatements ta a law enforcement official
86 commonplace that the Justice ‘Department guidelines provide for prosecution
only some categories of this daily crime. Perjury at criminal trials is so common th
whenever a defendant testifies and is found guilty, he has presumptively committ-
perjury.? Police perjury in criminal cases—particularly in the context of search
and other exclusionary rule issues—is so pervasive that the former police chief
San Jose and Kansas City has estimated that “hundreds of thougands of law-e
forcement officers commit felony perjury every year testifying about drug arrest
alone.

In comparison with their frequency, it is likely that false statement crimes a
among the most under-prosecuted in this country. Though state and federal statut
carry stringent penalties for perjury, few perjurers ever actually ara gubjected
those penalties. As prosecutor E. Michagi McCann has concluded, “Outside of i
come tax evasion, perjury is, . . probably the most underprosecuied crime in Am:
ica." 4 Moreover, there is evidence that false statements are among the most sel:
tively prosecuted of all crimes, and that the criteria for selectivity bears little rel
tionship to the willfulness or frequency of the lies, the certainty of the evidence .
any other neutral criteria relating to the elements of perjury or other false stat

 

1 Jerome Frank, COURTS CN TRIAL 55 (3546),

7Many such defendants now heave years added on to thelr aentencee under ihe federal gulc
tines, which add pointe for perjury at trial.

*Joseph D. McNamara, Has the Grog Wer Created an Officer Liars’ Club? LOS ANGEL
TIMES, Feb. 11, 1996, at M1.

*From Mark Curriden, The Lies Have it, ABA. d., Mey 1996, at TL, quoted in Lisa C. Harr:
Perjury Defects Justice, 42 Wayre L. Rev. 1755, 1768-69 (1896) tfootnote omitted). Ser af
Hon, Sonis Sotomayor & Nicole A. Gordon, Returning Majesty to the Law and Politics: A Mode.
Approach, 30 Surroik U. L. Rev, 35, 61 n62 (1996) (Perjury caves are not often Purswed, a:
Periiaps should be given preater consideration by prosscuting attorneys as a means of enhanc:
the cred/bility of he trial system generally."); Fred Cohen, Police ertury: Aa Interview Wi
Martin Garbes, 8 Cam, L. BULL. G3, $67 (1972), quoted in Christopher Slobogin, Testifyin
Police Perjury ond Wha fo Do About it, 67 UW. Cove. L. REV. 1037, 1060 n 14 faca.

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Spears-CGilbert Professor of Law
at the University of Kentucky's law school, writes that: .

- +. More often, the [perjury] Jaw has been invoked for revenge, or for
the purpose of realizing some political end (the very base reeson that lies
are sometimes told!}, ar for the purpose of nabbing 8 criminal whe might
otherwise be difficult to nab, or, dare | aay it, for the purpose of gaining
some tactical advantage. Proving that perjury was committed, or that a
“false statement” or a “false claim™ was made, may be an easier, or @ more
palatabie, brief for the prosecution?

Historically, false statements generally have admitted of considerable variations
degree.* The core concept of perjury was that of "bearing false witness," a biblical
rm that consisted in accusing another of crime.?
Clearly, the most heinous brand of lying is the giving of false testimony that re-
uits in the imprisonment or even execution of an innocent person. Less fpregious,

E still quite serious, is false testimony that results in the conviction of a person
®ho committed the criminal conduct, but whose rights were violated in a manner
@hat would preclude conviction if the police were bo testify truthfully. There are
many other points on this continuum, ranging from making false statements about

e or expenses to testifying falsely in civil trials. The leant culpable genre of

tatements are those that deny embarrassing persenal conduct of marginal rel-
e to the matter at issue in the legal proceeding.
~Much of the public debate about President Clinton
£8 ignore the folowing important lessons of history:

° 1. That the overshelming majority of individuals who make false statements
under oath are not prosecuted:

2. That those who are prosecuted generaily fell into some special category of
culpability or are victims of selective prosecution; and,

3. Thet the false stalementa of which President Clinton is accused fall at the
most marginal end of the leant culpable genre of this continuum of offenses and

would never even be considered for Prosecution in the routine ease involving an
ordinary defendant,

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CMy interest in the corrosive effects of perjury began in the early 1270s when |
ipresented—on a pro bono basis—a young man whe was both a member of and a
"g0vernment informer against the Jewish Defense League. He was accused of making

bomb that caused the death of a woman, but he swore that a particular policeman, .

© had been assigned to be his handler, had mede him certain romises in ex-
henge for his information, The policeman categorically denied ma ing any prom-
ifs, but my client had—unbeknownst to the policeman—surrentitiously taped many
kis conversations with the policeman. The tapes proved beyond any doubt that
t liceman had eommit repeated perjury, and all charges were dropped
my client, But the policeman was never charged with perjury. Instead he

Wes promoted.§ . :

The following year, I represented, on appeal, a lawyer accused of corruption. The
niger witness against him was a policeman who acknowledged at trial that he him-
s€N had committed three crimes while serving as a police officer. He denied that
hehe committed more then these three crimes, It was subsequently learned that
h@had, in fact, committed hundreds of additional crimes, including some he specili-
cally denied under oath. He too was never prosecuted for perjury, because a young

tstant US. Attorney, named Rudolph Giuliani, led a campaign against progecut-
ing this admitted parjurer. Shortly afterward, the policeman explained:

erjury when they are in the Po-
lice Academy. Perjury bo a péliceman—and to a iawyer, by the way-—is not
& big deal. ether they are giving out speeding tickets or parking Lckets,
‘they're almost always iying. But very few cops lie eboyt the actual facts of
scase, They may stretch an incident or whatever te fit it into the frame-

 

Richard H, Underwood, Perjury: Aa Anthology,
ee,
10 Antz. J inT'L & Comp. L. 215, 259 n 187 (1993)
. Sr eg. Underwood, if at 229 and accompanying note 37.

tSee Dershowits, THE BEST Drerense €7 (1982) The rhief nf Aotactians arate. ar +

Ja Antz. J. Tat‘, & Comp. L. 907, 370 11998),

and possible perjury Oppears

ef Richard H. Underwood, Fader Witness, A Lawyer's History of the Law of Perjury, la

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work of the law based on what they consider a silly jaw of the Supreme

Court?

Nor is the evidence of police perjury merely anecdotal. Numerous commission re-
ports have found rampant abuses in police departments throughout the country. All
objective reports point to a pervasive problem of police lying, and tolerance of the
.fying: by prosecutors and judges, all in the name of convicting the factually guilty
whose righta mey have been violated and whose convietions might be endangered

_ by the exclusionary rule, »

As the Molien Commission reported: /

The practice of police falsification in connection with such arresta is so
rommon in certain précincts that it has spawned tts own word: “teatitying.”
_. . Officers also commit (lslfication to serve what they perceive to be “Te-
gitimate" law enforcemerit ends—and for ends that meny honest and cor-
Tupt officers alike stubbornly defend aa correct. In their view, regerdless of
the legality of the arrest, the defendant is in fact gullty and ought to be

arrested. '9
Even more troubling, in the Mollen Commission's view, “the evidence suggests
that the . . . commanding officer sot only tolerated, but encouraged, this unlawful

ractice.” The commission provided several examples of perjured cover stories that
fad been suggested to a young officer by his supervisor:

Scenaricg were, were you going to Bay ip) that you observed what
peared to be e drug transaction; (6) ye observed a bulge in the defendant's
weistband; or (c) you were informe by a male black, unidentified at this
time, that at the location there were drug sales.

QUESTION: So, in other words, what the lieutenant was telling you is
“Here's your choice of false predicates for the arrest.”

OFFICER: That's correct. Pick which one you're going to use?!

Nor was this practice
ported:

Several former and current. prosecutors acknowledged—“oif the record” —
that perjury and falsification are serious problems in iaw enforcement that, ;
though net condoned, are ignored. The form this tolerance takes, however,
1s subtle, which makes accountability in this area especially diMeult.12

The epidemic is conceded even among the bighest ranka of law enforcement, For
example, Willism F. Bratton, who has headed the police departments of New York
CHy and Boston, has confirmed that “testilying” iz a “rea! problem that needs to

responelbility squarely at the feet of pros-
ecutors: . :

limited ta police supervisors. As the Molien Commission re-

When a prosecutor is really determined tg win, the trial prep procedure
may skirt slong the e of egercing or leading the police witness. In this
way, some impressionable young cops learn to failor their testimony to the
tequirements of the law.

Many judges who listen to or review police testimon
agree with Judge Alex Kozinski of the US. Court of Ay
who publicly stated: “It is an open secret leng

on 4 regular basis privately
preala for the Ninth Circuié,

shered by prosecutors, defense law.

* See Dershowitz, THe BEAT DEFENSE, supra note B, at 377. Thir was confirmed in a book enti-
Hed Prince of fae City {and a motion Picture of the same name}, whose contents ware approved
by the poticeman, See Robert Daley, PRINCE OF THE Ctry (1578).

Commission to Investigate Allegations of Pollce Corny Hon and the AnH-Corruption Prac.
tices of the Police Department, Milton Molten, Chair; July 7, 1904, at 38 {hereinafter Mollen Ae-
port], The report thea went on to daseribe how

For exemple, when officers un-

lawfully stop and search 4 vehicle because they believe it contains druga or 8, off-
cers will falsely claim In police reports and under cath that the car ran a red Eght for
committed some other traffic violation) and that they subsequently asw contraband in
the car in plein view. Te conceal an unlawful search of an Individual who officers be.
‘lieve ig carrying drugs or a gun, they will fnleely aseert that they saw a bulge in the
person's pocket or sa drigs and money ehenging hands. To justify unlawfully entering
an apartment where officera believe narcetica or cash can be found, they pretend to
have information from an unidentified civilian informant.
al 38.

" Mollen Report, supra note 1, at 4E,
Wallan Done ot toe ‘4

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yers and judges that perjury ls widespread among law enforcement officers,” and
that the reason for it is that “the exclusionary rule... sets up a great incentive
for... police to lie to avoid letting someone they think is guilty, or they know is
guilty, go free." 14 Or, as Judge Irving Younger explained, “Every lawyer who prac-
tices in the criminal courts knows that police perjury is commonplace.” +5

As these Judges attest, this could not happen without active complicity of many
prosecutors and judges. Yet there is little apparent concern to remedy that serious
abuse of the oath to tell the truth—even among those who now claim to be se con-
cerned with the corrosive influences of perjury on our legal system. The sad reality
appears to be that most people care about perjury only when they disapprove of the
substance of the lie or of the person who is Fin .

A perfect example of selective morality regarding perjury occurred when President
George Bush pardoned former Secretary of Defense Caspar Weinberger in 1992,
even though physical records proved that Weinberger had Hed in connection with
his testimony regarding lmowledge of Iran arms sales. Not only was’ there no great
outcry against pardoning an indicted perjurer, some of the same people who insist
that President Clinton not be allowed to “get away” with lying were perfectly pre-
pared to see Wein er “get away” with perjury. Senator Bob Dole of 5 spoke

or many when ‘he ed the pardon a “Christmas Eve act of courage and compas-
sion.” 2 . . ; .

The real issize is not the handful of convicted perjurers appearing before this com-
mittee, but the hundreds of thousands of perjurers who are riever prosecuted, many
for extremely serious and calculated acts of perjury designed to undercut constitu-
tional rights of unpopular defendants.

If we really want to reduce the corrosive effects of perjury on our legal system,
the place to begin is at or near the top of the perjury hierarchy. if instead we con-
tinue dehberately to blind ourselves to pervasive police perjury and other equally
dangerous forms of lying under oath and focus on a politically charged tangential
lie in the lowest category of possible perjury (hiding embarrassing facts only margin-
ally relevant to a dismissed civil case), we would be reaffirming the dangerous mes-
sage that perjury will continue to be a selectively prosecuted crime reserved for po-
litical or other agenda-driven purpases.

! A Republican aide to this committee was quoted by The New York Times as fol-
Ows!

In the hearing, we'll be looking at perjury and its consequences, and
whether it is tenable for a nation to have two different standards for lying
under oath; one for the President and ane for everyone else.?7

On the basis of my research and experiences, [ am convinced that if President Clin-
ton were an ordinary citizen, he would not be prosecuted for his allegedly false
statements, which were made in a civil deposition about a collateral sexual matter
later found inadmissible in 2 case even y dismissed and then settled. If Presi-
dent Clinton were ever to be prosecuted or impeached for perjury on the basis of
the currently available evidence, it would indeed represent an improper double
standard: a selectively harsher one for the president (and perhaps a handful of other
victims of selective prosecution) and the usual laxer one for everyone else.

Mr. Grkas [presiding]. The members of the committee will re-
frain from demonstrations. That is not part of the decorum of this
committee.

The time of the witness has expired, and we now turn to Profes-
sor Saltzburg.

STATEMENT OF STEPHEN A. SALTZBURG, HOWREY PROFES-
SOR OF TRIAL ADVOCACY, LITIGATION, AND PROFESSIONAL
SCHOOL GEORGE WASHINGTON UNIVERSITY LAW

CHGOL

Mr. SALTZBURG. Thank you. Mr. Chairman, members of the com-
mittee, the conflict among you is as understandable as it is power-

'4Scuart Taylor, dr., For the Record, AMERICAN LAWYER, Oct, 1995, at 72.

if Irving Younger, The Perjury Routine, THE NATION, May &, 1967, at 596-97,

“Elaine Scioling, On the Question of Pardons, Dole has Taken Both Sides. THE NEW YORE
TIMES, -16 Oct. 1996, at AJS.

WEric Schmitt, Pane! Considers Perjury and Its Consequences, THE NEw YorK TIMES, Nov.

28, 1998, at Al3.
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It's all in the NAME

At the Christian Law Fellowship and Assembly, we've been repeatedly requested to publish our accumulated
research concerning the use of all or full capitalized letters for proper names: ie., JOHN JAMES SMITH as
commonly substituted for Joha James Smith in all ceust documents, Driver's Licenses, bank accounts, Birth
Certificates, etc,

Is this some special English grammar rule or style? Is it a contemporary American style of English? Is the use of
this form of capitalization recognized by educational authorities? Is this an official judicial or U.S. government
tule and/or style of grammar? Why do lawyers, court clerks, prosecutors, judges, insurance companies, banks,
and credit card companies always use all capital letters when writing a proper name?

What English grammar experts say

Ome of the foremost authorities on American English grammar, style, composition, and rules is The Chicago

Manual of Style. Their latest 14" Edition, published by the University of Chicago Press, is internationally
known and respected as a major contribution to maintaining and improving the standards of written or printed
text. We could find no reference in their manual concerning the use of all capitalized letters with a proper name
of any other usage. We wrote to the editors and asked this question:

"Is it acceptable, or is there any rule of English grammar, to allow a proper name
to be written in all capital letters? For example, if my name was John Robert

Jones, can it be written as JOHN ROBERT JONES? Is there any rule covering
this?”

We received the following reply from the Chicago Editorial Staff

"Whiting names in all caps is not conventional; it is not Chicago style to put
anything in all caps. For instance, even if 'GONE WITH THE WIND" appears on
the title page all in caps, we would properly render it 'Gone with the Wind' ina
bibliography. The only reason we can think of to do so is if you are quoting some
material where it is important to the narrative to preserve the casing of the letters,

We're not sure in what context you would like your proper name to appear in all

caps, but it is likely to be seen as a bit odd."
Yes, it does appear "a bit add" for governments, their judicial courts, and other legal entities incorporated within
their legal jurisdiction to use this method of capitalizing every letter in a proper name.

We then contacted Mary Newton Bruder, Ph.D., also known as The Grammar Lady, who established the
Grammar Hotline in the late 1980's for the Coalition of Adult Literacy. We asked her the following:

"Why do federal and state government agencies and departments, judicial and
administrative courts, insurance companies, efc., spell a person's proper name in
all capital letters? For example, if my name is John Joseph Smith, is it proper at
any time to write it as JOHN JOSEPH SMITH?"

Dr. Brudet’s reply was short and to the point:
“It must be some kind of internal style. There is no grammar rule about it.”
Another fellow researcher, whose report on this subject can be found at AliCapName.htinl, queried the same

question from Cambridge University about capitalization. The reply from them was signed by Colin T,
Clarkson;

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"I have checked A comprehensive grammar of the English language, by Randolph
Quirk... [et al.] (London: Longman, 1985), The Oxford English grammar, by
Sidney Greenbaum (Oxford: Oxford University Press, 1996) and Hart's rules for
compositors and readers at the University Press, Oxford, by Horace Hart, 39th
edition (Oxford: Oxford University Press, 1983). 1 find no grammatical rule
which defines a situation in which all the letters of a name or, indeed, of any word
should appear as capitals. Rather the use of capitals or small capitals in this way is

simply a typographical device used for emphasis, for example of headings or
keywords,”

So, in addition to there being no American English rule of grammar to spell names in all capitals, there is

neither - for those who still believe that Britain rules this country - a British English rule of grammar. The rule
which spells our names in all capital letters is outside the mules of grammar.

It seemed that these particular grammatical experts had no idea why proper names were written in all caps, so
we began to assemble an extensive collection of reference books authored by various publishers, governments,
and legal authorities in order to find the answer.

What English grammar reference books say

Manual on Usage & Style
One of the reference books we obtained was the Murmal on Usage & Style, Eighth Edition, ISBN 1-878674-51-
X, published by the Texas Law Review in 1995. In Section D, CAPITALIZATION, paragraph D: 1:1 states:

"Always capitalize proper nouns... [Proper nouns}, independent of the context in
which they are used, refer to specific persons, places, or things (¢.g., Dan, Austin,
Rolls Royce)."

Paragraph D: 3:2 of Section D states:

"Capitalize People, State, and any other terms used to refer to the government as
a litigant (e.g., the People’s case, the State's argument), but do not capitalize other
words used to refer to litigants (e.g., the plaintiff, defendant Manson)."

Tt appears that not a single lawyer, judge, or law clerk in Texas has ever read their own recognized law style

manual as they contime to wnte "Plaintiff", “Defendant”, "THE STATE OF TEXAS" and proper names of
parties in all capital letters on every court document.

The Elements of Style
Another well recognized reference book we obtained waa The Elements of Style, Fourth Edition, ISBN 0-205-
30902-X, written by William Strunk, Jr. and EB. White, published by Allyn & Bacon in 1999. Within this
renowned English grammar and style reference book, we found only one reference to capitalization located
within the Glossary at proper noun, page 94, where it states:

“The name of a particular person (Frank Smatra), place (Boston), or thing (Moby
Dick). Proper nouns are capitalized.”

There's an abvious and legally evident difference between capitalizing the first letter of a formal name as
compared to capitalizing the entire name.

The American Heritage Book of English Usage

in The American Heritage Book af English Usage, A Practical and Authoritative Guide to Contemporary
English, published in 1996, at Chapter 9, E-Mail, Conventions and Quirks, Informality, they state:

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"To give a message special emphasis, an E-mailer may write entirely in capital
letters, a device E-mailers refer to as screaming. Some of these visual conventions

have emerged as a way of getting around the constraints on data transmission that
now limit many networks".

Here is a reference source, within contemporary - modern - English, that states it's of an informal manner to
write every word of - specifically - an electronic message, a.k.a. E-mail, in capital letters. They say it’s
“screaming” to do so. By standard definition, we presume that's the same as shouting or yelling. Are all judges,
their cout clerks and lawyers shouting at us when they print our proper names in this manner? Is the insurance
company screaming at us for paying the increased premium on our policy? This is doubtful as to any standard
generalization, even though specific individual instances may prove this to be true, We can, however, safely
conclude that it would also be informal to write a proper name in the same way.

Does this also imply that those in the legal profession are writing our Christian names /naformally on court

documents? Aren't attorneys and the courts supposed to be specific, whereas they formally write their legal
documents within the "letter of the law"?

New Oxford Dictionary of English
The New Oxford Dictionary of English is published by the Oxford University Press, 1998, Besides being
considered the foremost authority on the British English language, this dictionary is also designed to reflect the
way language is used today through example sentences and phrases. We submit the following definitions:
Proper noun (also proper name). Noun. A name used for an individual person,
place, or organization, spelled with an initial capital letter, e.g. Jane, London, and
Oxjam,

Name. Noun 1 A word or set of words by which a person, animal, place, or thing
is known, addressed, or referred to: my name is Parsans, John Parsons.
Kalkwasser is the German name for limewater. Verb 3 Identify by name; give the
correct name for: the dead man has been named as John Mackintosh. Phrases. 2
In the name of, Bearing or using the name of a specified person or organization:
a driving licence in the name of William Sanders.

From the Newbury House Dictionary of American fnglish, published by Moarce Allen Publishers, Inc., 1999:

name 7. 1 [C] a word by which a person, place, or thing is known: Her name is
Diane Daniel,

We can find absolutely no example in any recognized reference hook that specifies or allows the use of all

capitalized names, proper or common. Is there any doubt that a Proper name is written with the first letter
capitalized, followed by lower case letters?

U.S. Government Style Manual
Is the spelling and usage of a proper name defined officially by U.S, government? Yes. The United States
Government Printing Office in their Style Afarual, March 1984 edition (the most recent edition published as of
March 2000), provides comprehensive grammar, style and usage for all government publications, including
court and legal writing.
Chapter 3, Capitalization, at § 3.2, prescribes rules for proper names:

"Proper names are capitalized... [Examples given are) Rome, Brussels, John
Macadam, Macadam family, Italy, Anglo-Saxon."

At Chapter 17, Courtwork, the rules of capitalization, as mentioned in Chapter 3, are further reiterated:

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"17.1, Courtwork differs in style from other work only as set forth in this section;

otherwise the style prescribed in the preceding sections will be followed" [bold
emphasis added].

After entirely reading § 17, we found no other references that would change the grammatical rules and styles
specified in Chapter 3 pertaining to capitalization.
At § 17.9, this same official U.S. government manual states:

"In the titles of cases the first letter of all principal words are capitalized, but not
such terms as defendant and appellee."

This wholly agrees with Texas Law Review's Marmal on Usage & Style as referenced above.
Examples shown in § 17.12 are also consistent with the aforementioned § 17.9 specification: that is, all proper
names are to be spelled with capital first letters; the balance of each spelled with lower case letters.

Grammar, Punctuation, and Capitalization
The National Aeronautics and Space Administration (NASA) has publish one of the most concise U.S.
Government resources on capitalization. NASA publication SP-7084, Grammar, Punctuation, and

Capitalization, A Handbook for Technical Writers and Editors, was compiled and written by the NASA
Langley Research Center ian Hampton, Virginia. At Chapter 4. Capitalization, they state in 4,1 Introduction:

"First we should define terms used when discussing capitalization:
full caps means that every letter in an expression is capital, LIKE THIS.

Caps & Ic means that the principal words of an expression are capitalized,
Like This,

Caps and small caps refers to a particular font of type containing small
capital letters instead of lowercase letter.

Elements in a document such as headings, titles, and captions may be capitalized
in either sentence style ot headline style:

Sentence style calls for capitalization of the first letter, and proper nouns
of course.

Headline style calls for capitalization of all principal words (also called
caps & Ic).

Modern publishers tend toward a down style of capitalization, that is, toward use
of fewer capitals, rather than an up style."

Here we see that in headlines, titles, captions, and in sentences, there is no authorized usage of full caps, At
4.4.1. Capitalization With Acronyms, we find the first authoritative use for full caps:

"Acronyms are always formed with capital letters. Acronyms are often coined for
a particular program or study and therefore require definition. The letters of the

acronym are not capitalized in the definition unless the acronym stands for a
proper name:

Wrong ‘The best electronic publishing systems combine What You See Is What You Get (WYSIWIG) features...

Correct The best electronic publishing systems combine what you see is what you get (WYSIWIG) features...
But Langley is involved with the National Aero-Space Plane (NASP) Program."

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This cites, by example, that using full caps is allowable in an acronym. Acronyms are words formed from the

initial letters of successive parts of a term. They never contain periods and are often not standard, so that
definition is required.

Could this apply to lawful proper Christian names? If that were tre, then JOHN SMITH would have to follow a
definition of some sort, which it does not. For example, only if JOHN SMITH were defined as ‘John Orley
Holistic Nutrition of the Smith Medical Institute To Holistics (JOHN SMITH)’ would this apply.

The most significant section appears at 4.5.3. Administrative Names:

Official designations of political divisions and of other organized bodies are

capitalized:
Names of political divisions Names of
governmental units
Canada
U.S. Government
New York State
Executive
United States Department
Northwest Terntories LS. Congress
Virgin Islands U.S. Army
Ontario Province U.S. Navy

According to this official U.S. Government publication, the States are never to be spelled in full caps such as

NEW YORK STATE, The proper English grammar style is New York State. This agrees, once again, with
Texas Law Review's Manual on Usage & Style.

The Use of a Legal Fiction
The Real Life Dictionary of the Law
We refer to The Real Life Dictionary of the Law. The authors, Gerald and Kathleen Hill, are accomplished

scholars and writers, Gerald Hill is an experienced attorney, judge, and Jaw instructor. Here is how the term
legal fiction is described:
“Legal fiction. n. A presumption of fact assumed by a court for convenience,
consistency or to achieve justice. There is an old adage: ‘Fictions arise from the
law, and not law from fictions.” "

Oran’s Dictionary of the Law

From Oran's Dictionary of the Law, published by the West Group 1999, within the definition of Fiction is
found:
"A legal fiction is an assumption that something that is (or may be) false or
nonexistent 1s true or real, Legal fictions are assumed or invented to help do
justice. For example, bringing a lawsuit to throw a nonexistent "John Doe" off

your property used to be the only way to establish a clear right to the property
when legal title was uncertain."

Merriam-Webster's Dictionary of Law
Merriam-Webster's Dictionary of Law 1996 states:

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"legal fiction = something assumed in law to be fact irrespective of the truth or
accuracy of that assumption. Example: the egal fiction that a day has no fractions
-- Fields v. Fairbanks North Star Borough, 818 P.2d 658 (1991)."

This is the reason behind the use of fud/ caps when writing a proper name. The U.S. and State Governments are
deliberately using a legal fiction to "address" the Lawful Christian We say this is deliberate because their own
official publications state that proper names are not to be written in Jull caps, They are deliberately not
following their own recognized authorities.

In the same respect, by identifying their own government entity in fd] caps, they are legally stating that they are
also a legal fiction. As stated by Dr. Mary Newton Bruder in the beginning of this report, the use of full caps for
writing a proper name is an "internal style” for what is apparently a pre-determined usage and, at this point,
unknown jurisdiction.

The main key to a legal fiction is assumption as noted in each definition above.

Conclusion: There are no official or unofficial English grammar style manuals or reference publications
that recoguize the use of full caps when writing a proper name. To do so is considered & legal fiction.

The Assumption of a Legal Fiction
An important issue conceming this entire matter is whether or not a legal fiction, such as a proper name written
in full caps, can be substituted for a lawful Christian name or any proper name, such as the State of Florida. [s
the use of a legal fiction "legal? Lf so, from where does this legal fiction originate and what enforces it?

A legal fiction can be used when the name of a "person" is not known by using the fictional name "John Doe"
‘This is understood by all and needs little explanation, [f you have no way to identify someone, then the legal
fiction John Doe or Jane Doe is used to describe an unknown name until the proper name can be identified,

In all cases, a legal fiction is an axsemption of purported fact without having shown the fact to be true or valid.

It's an acceptance with no proof. Simply, to assume is to pretend. Gran’y Dictionary of the Law says that the
word assume means:

1. To take up or take responsibility for, to receive: to undertake. See assumption.

2. To pretend.

3. To accept without proof.

These same basic definitions are used by nearly all of the modern law dictionaries. It should be noted that there
is a difference between the meanings of the second and third definitions with that of the first. Pretending and
accepling without proof are of the same understanding and meaning. However, to take responsibility for and
receive, or assumption, does not have the same meaning, Oran's defines assuniption as:

"Formally transforming someone else's debt into your own debt. Compare with
guaranty. The assumption of a mortgage usually involves taking over the seller's
“mortgage debt’ when buying a property (often a house)."

Now, what happens if all the meanings for the word assume are combined’ In a literal and definitive sense, the

meaning of assume would be: The pretended acceptance, without proof, that someone has taken
respousibility for, has guaranteed, or has received 4 debt.

Therefore, if we apply all this in defining a /egal fiction, the use of a legal fiction is an assumption or pretension
that the legal fiction named has received and is responsible for a debt of some sort

 

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Please go oo further until you understand and comprehend exactly what the above paragraphs have stated. If

necessary, re-read the above until you have a full understanding of what is involved in the meaning of a legal
fiction.

An assumed debt is valid unless proven otherwise. This is in accord with the Uniform Commercial Code valid
in every State and made a part of the Statutes in each State, A legal fiction written with full caps - resembling a
proper name but grammatically #of a proper name - is being held as a debtor for an assumed debt.

What happens if the proper name, ie. John Doe, answers for or assumes the legal fiction, ig, JOHN DOE? They
become one and the same. This is the crux for the use of the full caps legal fictions by the U.S. Government and
the States, It is the way that they can bring someone into their fictional venue and jurisdiction that they have
created. By implication of definition, this also is for the purpose of some manner of assumed debt.

Why won't they use "The State of Texas" or "John Doe" in their courts or on Driver’s Licenses? What stops
them from doing this? Obviously, there is a reason for using legal fictions since they are very capable of writing
proper names just as the ow official style mamual states, The reason behind legal fictions is found within the
definitions as cited above, At this point, ths should be very clear to every reader,

The Legalities Behind Legal Fictions

We could go on for hundreds of pages citing the legal basis behind the creation of legal fictions. In a nutshell, a
legal fiction in and of itself, such as the STATE OF TEXAS, can create additional legal fictions. Fictions arise
from the law, not the law from fictions. Take a moment to understand what that means. Legal fictions originate
from any law that is used to create them, regardless of th rted fou | i

not. However, a law can never onginate from a fictional foundation that doesn't exist.

The generic aod original U.S, Constitution is a valid foundation document of treaty law having been created
between the individual state nations. Contained within it is the required due process of law for all the
participating nation states of that treaty. Proper representatives of the people in each nation state agreed upon it
and signed it with their awful seals. The federal government is not only created by it, but is also bound to

operate within the guidelines of Constitutional due process. Any law that originates from the Constitutional due
process is valid law. Au :a fictional law without validity, Thus,

the true test of any American law is its basis of due process according to the genenc U.S. Constitution. Was it
created according to the lawful process or outside of lawful process based on that constitutional treaty?

 

Executive Orders and Directives
For years we have researched the /aw/el basis for creating full caps legal fictions and have concluded that there
ig no such foundation according to valid laws and due process. But what about those purported “laws” that are
not valid and have nor originated from constitutional due process? There's a very simple answer to the creation
of such purported laws that are really not laws at all: Executive Orders aud Directives. They are the “color of
law" without being valid laws of due process. They have the appearance of law and look as if they're Jawa, but
according to due process, they are nov laws. Rather, they are “laws” based on fictional beginnings and are the
basis for further fictional "laws" and other legal fictions. They are “regulated” and “promulgated” by
Administrative Code, rules and procedures, not due process. Currently, Executive Orders are enforced through
the legal fiction known as the federal Administratrve Procedures Act. Each State has also adopted the same
fictional administrative "laws".

Lincoln Establishes E.O.’s

Eighty-five years after the Independence of the united States, seven southern nation States of America walked
out of the Second Session of the thirty-sicth Congress on March 27, 1861. In so doing, the Constitutional due
process quorum necessary for Congress to vote was lost and Cougress was adjourned sine diz, or "without day’.
This meant that there was no lawful quorum to set a specific day and time to reconvene which, according to
Robert's Rules af Order, dissolved Congress. This dissolution automatically took place because there were no
provisions within the Constitution allowing the passage of any Congressional vote without a quonum of the
States.

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Lincoln's second Executive Order of April 1861 called Congress back into session days later, but pot under the
tawful authority, or lawful due process, of the Constitution. Solely in his capactty as Commandet-in-Chief of
the U.S. Military, Lincoin called Congress into session under authority of Martial Law. Since April of 1361,
“Congress” has not met based on lawful due process. Our current "Congress" is based on legal fiction no
different than a proper name written in full caps is.

Legal fiction "laws", such as the Reconstruction Acts and the implementation of the Lieber Code, were soon
instituted by Lincoln and thua became the basis for our current “laws*. Every purported "Act" in effect today is

based on legal fiction, not lawful due process. Lincoln has been called the greatest American Lawyer and his
ingetious legal rule of America enforces such a title.

The abolition of the English & American common law
Here's an interesting quote from the 1973 session of the U.S. Supreme Court:

"The American law, In this country, the law in effect in al] but a few States until
mid-19th century was the pre-existing English common law... It was not until
after the War Between the States that legislation began generally to replace the
common law." -- Roe vy. Wade, 410 US. 113.

In effect, Lincoln’s second Executive Order abolished the recognized English common law in America and
replaced it with "laws" based on a fictional legal foundation, i.¢., Executive Orders and Dnrectives. Most States
still have a reference to the common laws within their present day statutes. For example, in the Florida Statutes
(1999), Title I, Chapter 2, at 3 2.01 Common law and certain statutes declared in force, it states:

“The common and statute laws of England which are of a general and not a local
nature, with the exception hereinafter mentioned, down to the 4th day of July,
1776, are declared to be of force in this state; provided, the said statutes and
common law be not inconsistent with the Constitution and laws of the United
States and the acts of the Legislature of this state. History. --s. 1, Nov. 6, 1829,
RS 59; GS 59; RGS 71; CGL 87."

Note that the basis of the common law is an approved act of the people of Florida by resolution on November 6,
1829, prior to Lincoln’s Civil War. Also note that the subsequent "laws", as a result of acts of the Florida
Legislature and the United States, now take priority over the common law in Florida. Since April 1861, the
American and English common law was abolished and replaced with legal fiction "laws", aka, Statutes, Rules
and Codes, based on Executive Order, nof the due process specified within the generic Constitution.

Applying it all to Current "laws"
Title U1, Pleadings and Motions, Rule 9(a) Capacity, Federal Rules of Civil Procedure, states:

"When an issue is raised as to the legal existence of a named party, or the

party’s capacity to be sued, or the authority of a party to be sued, the party

desiring to taise the issue shall do so by specific negative averment, which shall

include supporting particulars.” [Bold emphasis added].
At this juncture, it’s clear that the existence of a name written with fu// caps is a legal fiction. This is surely an
issue to be raised and the supporting particulars are outlined within this article. Use of the proper name must be
insisted upon as 4 matter of abatement - correction - for all parties of an action of purported "law", However, the

current "courts" cannot correct this since they are based on fictional law and must use fictional names. Instead,

they expect the lawful Christian man or woman to accept their full caps name and become a fictional entity, just
as they are.

Oklahoma Statutes

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Deo the individual States within the United States follow sut? The requirement of proper names, including a
mandate for correction when proper names are provided, is clearly set forth when relating to criminal
prosecution in the OMahoma Statutes, Chapter 22, § 403.

"When a defendant is indicted or prosecuted by a fictitious or erroneous name,

and in any stage of the proceedings his true name is discovered, it must be

inserted in the subsequent proceedings, referring to the fact of his being charged

by the name mentioned in the indictment or information.” [Bold emphasis added].

American Jurisprudence

In general, it’s necessary to properly identify parties to court actions. If not properly identified, then jidgments

are void, as outlined in Volume 46, American Jurisprudence 2d, at Indgments:
“§ 100 Parties - A judgment should identify the parties for and against whom it is
rendered, with such certainty that it may be readily enforced, and a judgment
which does not do so may be regarded as void for uncertainty. Such identification
may be achieved by naming the persons for and agamst whom the judgment is
rendered, Technical deficiencies in the naming of the persons for and against
whom judgment is rendered can be corrected if the parties are not
prejudiced, A reference in a judgment to a party plainly liable, followed by an
omission of that party's name from the language of the decree, at least gives rise
to an ambiguity and calling for an inquiry into the court's real intention as
reflected in the entire record and surrounding circumstances." [Footnote numbers
are omitted; cites have not been reproduced; bold emphasis added]

The present situation m America

A legal person = a legal fiction
One of the terms used predominantly by the present civil governments and courts in America is fegal person.
According to them, just what is a legal person? We offer some definitions for your review:
legal person : a body of persons or an entity (a5 a corporation) considered as
having many of the rights and responsibilities of a natural person and esp. the
capacity to sue and be sued. -- Merriam-Webster's Dictionary of Law 1996.

Person. 1, A human being (a "natural" person). 2. A corporation (an "artificial"
person), Corporations are treated as persons in many legal situations. Also, the
word "person" includes corporations in most definitions in this dictionary. 3. Any
other “being” entitled to sue as a legal entity (a government, an association, a
group of Trustees, etc.). 4. The plural of person is persons, not people (see that
word). — Gran’s Dictionary of the Law, West Group 1999,

Person. An entity with legal nights and existence including the ability to sue and
be sued, to sign contracts, to receive pifts, to appear in court either by themselves
ot by lawyer and, generally, other powers incidental to the full expression of the
entity in Jaw. Individuals are "persons" in law unless they are minors or under
some kind of other incapacity such as a court finding of mental incapacity. Many
laws give certain powers to "persons" which, in almost all instances, includes
business organizations that have been formally registered such as partnerships,
corporations or associations. — Duhaime's Law Dictionary.

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PERSON, noun. per'sn. [Latin persona; said to be compounded of per, through or
by, and senus, sound; a Latin word signifying primarily a mask used by actors on
the stage.) -- Webster's 1828 Dictionary.

A person is basically an entity - legal fiction - of some kind that has been fegally created and has the /egal
capacity to be med. Isn't it odd that the word dawAd ig not used within these definitions?

Legal or Lawful?

We feel that it’s quite necessary to also define what is egal as opposed with what is daw. The generic
Constitution ts lawful. That fact has already been established. The present civil authorities and their courts
prefer to use the word /ega/. Is there a difference in the meanings? The following is quoted from A Dictionary

gf Law [893
Lawful. In accordance with the law of the land; according to the law; permitted,
sanctioned, or justified by law. "Lawful" properly implies a thing conformable to
of enjoimed by law; "Legal", a thing in the form or after the manner of law or
binding by law. A writ or warrant issuing from any court, under color of law,
is a "legal" process however defective. See /egal. [Bold emphasis added]

Legal. Latin /egalis. Pertaining to the understanding, the exposition, the
administration, the science and the practice of law: as, the legal profession, legal
advice; legal blanks, newspaper. Implied or imputed in law. Opposed to actual.
“Legal” looks more to the letter, and “Lawful” to the spint, of the law. “Legal” is
more appropnate for conformity to positive rules of law, "Lawful" for accord with
ethical principle. "Legal" imports rather that the forms of law are observed,
that the proceeding is correct in method, that rules prescribed have been
obeyed; "Lawful" that the right is actful in substance, that moral quality is
secured. “Legal” is the antithesis of "equitable", and the equivalent of
“coustructive". 2 Abbott's Law Dict. 24. [Bold emphasis added]

 

exal matters adm and { able in nature and are implied rather
ta aguals A legal peesi an be defective telat This falls in ‘line with our previous discussions of legal
fictions and the color of law. To be legal, a matter does not follow the law. Instead, it conforms to and follows
the rufes of law. This may help your understanding as to why the Federal and State Rules of Civil & Criminal
Procedure are cited in every court petition so as to conform to /ega/ requirements of the legal fictions, Le., the
STATE OF GEORGIA or the U.S. FEDERAL GOVERNMENT, that rule the courts.

 

Lawl matter are ethically enjoined in the law of the land - the law of the people — and are actual in nature, not
implied. This is why the lawful generic Constitution has little bearing or authority in the present day legal
courts.

Executive Orders rule the land
The current situation is now this: Legalism has taken over the Jaw. The administration of legal rules, codes, and
statutes are now being substituted for actual law. This takes place on a Federal as well ag State level.
Government admiaistrates what it has created through its own purported “laws", which are nat lawful, but
purely Jegal. They are legal fictions based on legally - fictionally - created authority. They are authorized and

enforced by legal Executive Orders. Executive Orders are not lawful and never have been. As you read the
following, be aware of the words code and administration,

For example, let’s take a quick look at the United States Census 2000, The legal authority for this census comes
from Office of Management and Budget (OMB) Approval No. 0607-0856, The OMB is 4 part of the Executive
Office of the President of the United States. The U.S. Census Bureau is responsible for implementing the
national census, which is a division of the Economics and Statistics Administration of the U.S, Department of

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Commerce (USDOC). The USDOC is a department of the Executive Branch. Obviously, Census 2000 is

authorized, carried out, controlled, enforced and implemented by the President, aka. the Executive Branch of
the Federal Government.

In fact, the Executive Office of the President controls the entire nation through various departments and
agencies effecting justice, communications, health, energy, transportation, education, defense, treasury, labor,

agriculture, mails, and much more, through a myriad of Executive Orders, Proclamations, Policies, and
Decisions.

All the U.S. Presidents since Lincoln have claimed their "authority" for these Executive Orders is generally
based on Article IL Section 2 of the (7.5. Constinetion:

"The President shall be commander in chief of the Army and Navy of the United
States, and of the militia of the several states, when called into the actual service
of the United States; ... He shall have power, by and with the advice and consent
of the Senate, to make treaties, provided two thirds of the Senators present
concur; and he shall nominate, and by and with the advice and consent of the
Senate, shall appoint ambassadors, other public ministers and consuls, judges of
the Supreme Court, and all other officers of the United States, whose
appointments are not herein otherwise provided for, and which shall be
established by law: but the Congress may by law vest the appointment of such
inferior officers, as they think proper, in the President alone, in the courts of law,
or in the heads of departments."

In reality, the Congress is completely by-passed. Since the Senate was convened in April 1861 by Presidential
Executive Order No. 2, not by lawful constitutional due process, the current Senate is also under the direct
authority of the Executive Office of the President. The President Jegal/y needs neither the consent nor a vote
from the Senate simply because the Senate's legal authority to meet exists on/y by Executive Order.

Ambassadors, public ministers, consuls, Federal judges, and a/f officers of the UNITED STATES are appointed
by, and under authority of, the Executive Office of the President.

The Federal Registry is an Executive function
For the past 65 years, every Presidential Executive Order has become purported "law" simply by its publication
in the Federal Registry, which is operated by the Office of the Federal Register (OFR). In 1935, the OFR was
established by the Federal Register Act. The purported authority for the OFR is found within the United Siates

Code, Title 44, at Chapter 15: .
"§ 1506. Administrative Committee of the Federal Register; establishment
and composition; powers and duties

The Administrative Committee of the Federal Register shall consist of the

Archivist of the United States or Acting Archivist, who shall be chairman, an

officer of the Department of Justice designated by the Attommey General, and the

Public Printer or Acting Public Punter. The Director of the Federal Register shall

act as secretary of the committee. The committee shall prescribe, with the

approval of the President, regulations for carrying out this chapter."
Notice that the entire Administrative Committee of the Federal Register is compriged of officers of the Federal
Government. Who appoints all Federal officers? The President does. This act also gives the President the
authority to decree all the regulations to carry out the act. This is quite a monopoly we're seeing here whereby

the Executive establishes, controls, regulates and enforces the Federal Government without need for any
approval from the Senate. How could anyone possibly call this lawful?

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In 1917, President Woodrow Wilson couldn't persuade Congress to agree with his desire to arm United States
vessels utilizing hostile German waters before the United States entered World War I. So, Wilson simply
invoked the “policy” through a Presidential Executive Order. President Franklin D_ Roosevelt issued Executive
Order No. 9066 in December 1941. His order forced 100,000 Americans of Japanese descent to be rounded up
and placed in concentration camps while all their property was confiscated.

Is it any wonder that the Congress he legally controls did not impeach President William Jefferson Clinton
when the evidence for impeachment was overwhelming? On that note, why is it that the lawyer-Presidents have
used Executive Orders the most? Who but a lawyer would know and understand legal ules the best. Sadly, they
enforce what’s legal and ignore what's lawful,

How debt is assumed by legal fictions
We now refer back to the matter of assumption, as already discussed, with its relationship to legal fictions, 7¢.
THE STATE OF CALIFORNIA ot JOHN SMITH. Since an assumption, by definition, implies debt, what debt
does a legal fiction assume? Now that we’ve explored the legal - executive - basis of the current Federal and
State governments, it’s ime to put all of this together.

The government use of Add? caps in place of proper names is absolutely no mistake. ft signifies an internal - legal
- rule and authority. [ts foundation is legal fiction and the resuit is further legal fiction that is created,
promulpated, instituted, administrated, and enforced via legal rule, ende, statute and policy. Let’s just cail them
“the laws that are but never were.’

Qui sentit commodum, sentire debet ef onus. He who enjoys the benefit, ought also to bear the burden. He who
enjoys the advantage of a right takes the accompanying disadvantage -- a privilege is subject to its condition or
conditions. — Sencvier's Mercims of Law 1856,

The Birth Certificate

Since the early 1960's, State governments - created legal fictions signified by full caps - have issued birth
certificates to “persons” with legal fiction full caps names. This is not a lawful record of your physical birth, but
a legal fiction as signified by the use of the full caps, It may look as if it’s your proper name, but that’s
impossible since no proper name is ever written im full caps. The Birth Certificate ig the government's created

legal instrument for its legal title of ownership, or deed, to the personal legal fiction they have created just for
you.

One important area to address, before going any further, is the governmental use of older data storage from the
late 1950's until the early 1980’s. As a "leftover" from various Teletype oriented systems, many government
data storage methods used full caps for proper names. The IRS was supposedly still complaining about some of
their antiquated storage systems as recent as the early 1980's. At first, this may have been a necessity of the
technology at the time, not a deliberate act. Perhaps, when this technology was first being used and

implemented into the mainstream of cormmunications, some legal experts saw it as a perfect tool for their legal
fictions. What better excuse could there be?

However, since local, State and Federal offices primarily used typewriters during that same time period, and
Birth Certificates and other important documents, such as Driver’s Licenses, were produced with typewriters,
it’s very doubtful that this poses much of an excuse to explain full caps usage for proper names. The only
reasonable usage of the older databank full caps storage systems would have been for addressing envelopes or
certain forms in bulk, including payment checks, which the governments did frequently.

Automated computer systems, with daisy wheel and pin printers used prevalently in the early 1980's, emulated
the TBM electric typewriter Courier or Helvetica fonts in oth upper and lower case letters, Shortly thereafter,
the introduction of laser and ink jet printers with multiple foots became the standard. For the past fifteen years,
there is no excuse that the government computers won't allow the use of lower case letters unless the older data
is still stored in its original fori, i. full caps, and has not been translated due to the costs of re-entry. But this
does not excuse the entry of new data, only "legacy" data. In fact, on many government forms today, proper
names are in full caps while other areas of the same computer produced document are in both upper and lower

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cage, One can only conclude that now, more than ever, the use of full caps in substitution the writing a proper
name is no mistake,

When a child ig born, the hospital sends the original, not a copy, of the record of live birth to the State Bureau of
Vital Statistics, sometimes called the Department of Health and Rehabilitative Services (HRS). Each STATE ts
required to supply the WNITED STATES with birth, death, and health statistics. The STATE agency that
receives the onginal record of live birth keeps it and then issues a Birth Certificate in the name of the child's
fictional person, as signified in full caps, ie. JAMES SMITH.
certifi-cate, noun. Middle English certificat, from Middle French, from
Medieval Latin certificatum, from Late Latin, neuter of certificatus, past
participle of certificare, to certify, 15th century. 3: 2 document evidencing
“—™ ownership or debt. -- Merriam Webster Dictionary 1998.

The Birth Certificate issued by the State is then registered with the U.S. Department of Commerce - the
Executive Office - specifically through ther own sub-agency, the 1.5. Census Bureau, who is responsible to
register vital statistics from all the States. The word registered, as it is used within commercial or legal based
equity law, does mof mean that the fill caps name was merely noted in a book for reference purposes. When a

birth certificate is registered with the U.S. Department of Conumerce, it means that the legal person named on it
in full caps has become a surety or guarantor.

registered. Security, bond. -- Merriam-Webster’s Dictionary of Law 1996. Security. 1a:
Something (as a mortgage or collateral) that is provided to make certain the fulfillment of
an obligation. Example: used his property as security for a loan. 1b: "surety". 2: Evidence
of indebtedness, ownership, or the right to ownership. — /bid, Bond, 1a: A usually formal
written agreement by which a person undertakes to perform a certain act (as fulfill the
obligations of a contract) ...with the condition that failure to perform or abstain will
obligate the person ...to pay a sum of money or will result in the forfeiture of money put
up by the person or surety. 1b: One who acts as a surety. 2: An interest-bearing document
giving evidence of a debt issued by a government body or corporation that ts sometimes
secured by a lien on property and is often designed to take care of a particular financial

need, -- /bid. Surety. The person who has pledged him or herself to pay back money or
perform a certain action if the principal to a contract fails, as collateral, and as part of the
original contract. - Duhaime's Law Dictionary. 1: a formal engagement (as a pledge}
given for the fulfillment of an undertaking. 2: one who promises to answer for the debt or
default of another. Under the Untform Commercial Code, however, a surety includes a
guarantor, and the two terms are generally interchangeable. -- Merriam Webster's

Dictionary of Law 1996. Guarantor. A person who pledges collateral for the contract of

another, but separately, as part of an independently contract with the obligee of the
original contract. -- Duhaime's Law Dictionary.

It's not difficult to see that a State created birth certificate, written with full caps in the name of 4 legal person,
is a document evidencing debt the moment it's issued. This is how tt works: Once each State has registered the
Birth Certificates with the U.S. Department of Commerce, the U.$. Department of the Treasury - also a part of
the Executive Office - then issues Treasury Securities in the form of Treasury Bonds, Notes, and Bills using the
birth certificates as sureties or guarantors for these purported Securities. This is based on the fisture tax revenues
of the fega/ person. This means that the bankrupt corporate U.S. can guarantee to the purchasers of their

securities the lifetime labor and tax revenues of all Americans as collateral for payment. They simply do this by
converting the /awful name into a legal person.

Legally, you are considered a slave or indentured servant to the various Federal, State and local governments
via your STATE issued and created Birth Certificate in the name of your full caps person. The reason this Birth

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Certificate was issued is go that - exclusively - they hold the title of birth to your Jegal person, This is
compounded further when one vohuitarily obtains a driver's license or a Social Security Identification number.
They own even your personal and private life through your STATE issued mariage certificate issued in the

names of legal persons. You have no Rights in birth, marriage, or even death. They hold the sovereign night to
all legal fiction titles they have created.

Qur current problem is that we have voluntarily agreed to their system of legal fiction law by simply remaining
silent - a legal default - and not taking claim to our own Rights. The legal rules and codes enforce themselves.
There is no court hearing to determine if those rules are correct. Their "law” is self-regulating and self-

supporting. Once set into motion, their "laws" automatically come into effect provided the legal process has
been followed.

Cujusque rei potissima pars principiam est— The principal part of everything is in the beginning.

The various bankruptcies
The legally created fiction called the UNITED STATES is bankrupt and holds no lawful Constitutionally
mandated sifver or gold - coin and bullion - to back up or pay their debts. For example: all privately held and
federally held gold coins and bullion in America was seized by Executive Order of Apni 5, 1933 and paid to the
creditor, the private Federal Reserve Bank Corporation (FRB) under the terms of bankruptcy.

Congress - still meeting under Executive Order authority - confirmed this bankruptcy through the Joint
Resolution to Suspend The Gold Standard And Abrogate The Gold Clause, June 5, 1933 in HJ. Res. 192, 73rd
Congress, Ist session, Public Law 73-10. Within this 1933 Public Law, it states in part:

" every provision contained in or made with respect to any obligation which

purports to give the obligee a nght to require payment in gold or a particular kind
of coin or currency, or in an amount im money of the United States measured
thereby, is declared to be against public policy”.

In 1980, the corporate U.S. declared bankruptcy a second time, whereby the Secretary of Treasury was
appointed as "Receiver" of the bankruptcy in Reorganization Plan No. 26, Title § USC 903, Public Law 94-564,
Legislative History, page 5967.

The only asset the UNITED STATES has, in order to pay their bankruptcy debt since 1933, is the people
themselves. But, if the UNITED STATES openly declared this, the people would never allow their labors and
future to be collateral to this bankruptcy debt. Consequently, they legally pledge the future labor and tax
revenues of Americans, by and through the full caps fictional Jegal persons they have created, as collateral for
credit - loars - to pay daily operational costs and the ever increasing debt. ,

Full caps legal person v. the lawful being
Just who is the full caps person, ig. JOHN JAMES SMITH? He’s the legal fiction the government created to
take the place of the real being, j.¢. Joho James Smith. The éaw/ul Christian name of birthnght has been
substituted by a legal fiction created by the government. [f the lawful Christian name answers as the legal

person, the two are recognized as being onc and the same, However, if the lawful being refuses acceptance of
the legal fiction, the two are separated. Thereiit lies the simple solution to the entire matter: refusal by the lawful

Christian to accept or answer for the legal person.

How did this happen? A result of the federal government bankruptcies was their creation of a legal fiction
known as THE UNITED STATES as 4 part of their legal reorganization. Each STATE was also converted to
their respective fictional lega! person, Ae. THE STATE OF TEXAS. Legal fictions can create further legal
fictions, such as corporations or any other fictional persons easily identified by being written with full caps.
Once this was accomplished, the entire process wag set into motion,

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All areas of government, including the purported courts of law, are currently authorized by, and operating as,
legally created fictions. For example, the CIRCUIT COURT OF WAYNE COUNTY or the U.S. DISTRICT
COURT can only recognize other legal persons, This is why your lawful name is never entered in their records.
It has been substituted with the jegal person written with full caps. Jurisdiction in such legal fiction courts is
only with other legal fictions — persons. The only jurisdiction a lawful being can enter into is a lawful
constitutional court - a common law venue, The "catch 22" is that lawful courts no longer exist. Only legal
courts are available to Americans. .

The purpose and reason for the government use of proper names written in full caps ig now revealed. The only
Way to couttter this is for lawful Americans to stop accepting the use of the substituted legal fiction the State has
given them Every document now issued by any government addresses the person written in full caps. Lawful
Americans must insist that they are not that legal fiction and refuse to accept it. By joining together and doing
so from the local level, each community will begin to upset the legal order. Lawful Americans must begin to
demand lawful government and lawful courts. The legal fictions can only come to an end when the people
refuse to use or recognize them.

The only way to restore lawful government in America is for the people to refuse the privileges of the
legal government now ualawfully in place, We've al! been duped and the billboard was right before our
own ¢yes. The use of full caps to write 4 proper name is ahsolutely no mistake.

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J am not a Person, or an Individual, or a Human

I am not a person, or an individual, or a Fued-man. Although some hu-mans look similar to me, I
am not a hued-man.

Some would say that I am a ‘natural’ person, but as I will show you, I am not one of those either.
Who then or what then am I?

To understand who I am, you must first understand the definitions which have been placed on the
words [ have quoted above, words that are commonly used, but do not describe me. For example,
the word ‘person,

Person - The Revised Code of Washington, RCW 1.16.080, (J tive in The State of Washington)
defines a person as follows: "The term 'person' may be construed to inchude the United States, this
state, or amy state or territory, or amy public or private corporation, a3 well as an individual."

Person - Black's Law Dictionary 6th Edition, pg. 791, defines ‘person’ as follows: "In general
usage, & human being {1.¢. natural person), though by statute term may include labor
organizations, partnerships, associations, corporations, legal representatives, trustees, trustees in
bankruptcy, or receivers."

Person - Oran's Dictionary of the Law, West Group 1999, defines Person as: 1. A human being (a
“natural” person). 2. A corporation (an "artificial" person), Corporations are treated as persons in
many legal situations. Also, the word “person” inchides corporations in most definitions in this
dictionary. 3. Any other “being” entitled to sue as a legal entity (a government, an association, a
group of Trustees, etc.), 4, The plural of person is persons, not people (see that word). -

Person - Duhaime's Law Dictionary. An entity with legal rights and existence including the
ability to sue and be sued, to sign contracts, to receive gifts, to appear in cout either by
themselves or by lawyer and, gencrally, other powers incidental to the full expression of the
entity in law, Individuals are “persons” in law unless they are mmors or under some kind of other
incapacity such as a court finding of mental incapacity. Many laws give certain powers to
“persons” which, m almost all instances, includes business organizations that have been formally
registered such as partnerships, corporations or associations. -

Person, noun, per’sn. - Webster's 1828 Dictionary. Defines person as: [Latin persona: said to be
compounded of per, through or by, and sonus, sound; a Latin word signifying primarily a mask
used by actors on the stage. ]

legal person - Merriam-Webster's Dictionary of Law 1996, defines a legal person as: a body of
persons or an entity (as a corporation) considered as having many of the rights and
Tesponsibilities of a natural person and esp. the capacity to sue and be sued.

A person according to these definitions, is basically an entity - legal fiction - of some kind that
has been legally created and has the legal capacity to be sued. Isn't it odd that the word lawful is
not used within these definitions?

Tam not "the United States, this state, or any territory, or any public or private corporation", [ am

not "labor organizations, partnerships, associations, corporations, legal representatives, trustees,
trustees in bankruptcy, or receivers." So, I cannot be a ‘person’ under this part of the definition.

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The RCW quoted above also states that a person could also be an “individual.” Black's Law
Dictionary also defines a person as a “human being," which they define by stating "{i.c. natural
person)". So let's first check to see if I am an "individual".

Individual - Black's Law Dictionary 6th Edition, pg. 533, defines "individual" as follows: "As a
noun, this term denotes a smgle person as distinguished from a group or class, and also, very
commonly, a private or natural person as distinguished from a partnership, corporation, or
association; but it is said that this restrictive signification is not necessarily inherent in the word,
and that it may, in proper cases, include artificial persons."

Well now, I have already been shown that J am not a ‘person’, and since ‘individual’ denotes a
suigle ‘person’ as distinguished from a group or class, I can't be an ‘individual’ under this
definition either. But I see the term ‘natural person’ used in the definition of the RCW, and also in
the definition of some of the Law Dictionaries, Maybe I am a ‘natural’ person, since I know I am
not an ‘artificial’ one.

I could not find the term ‘Natural person' defined anywhere, so I had to look up the word ‘natura!’
for a definition to see if that word would fit with the word person...

Natural - Black's Law Dictionary 6th Edition, pg. 712, defines Natural’ as follows: "Untouched
by man or by influences of civilization; wild; untutored, and is the opposite of the word
“artificial”. The juristic meaning of this term does not differ from the vernacular, except in the
cases where it 1s used in opposition to the term “legal”; and then it means proceeding from or
determined by physical causes or conditions, as distinguished from positive enactment's of law, or
attributabie to the nature of man rather than the commands of law, or based upon moral rather
than legal considerations or sanctions."

What the hell do they mean by this definition? Am I untouched by man (depends on what the
ward 'man' means I guess), or by influences of civilization? I don't think so. Am I ‘wild’, or
‘untutored’? Nope, not me. Even though the definition states that this word is the opposite of the
word ‘artificial’, it still does not describe who I am. So I must conclude that I am not a ‘natural’
person, under this defmition of the word ‘natural either. So the term ‘natural person! does not
appear to apply to me.

Black's Law Dictionary also used the term ‘human being’, and although Black's defined it as a
‘natural person’, maybe they made a mistake, and maybe I am a ‘human being. Human’ or ‘human
being’ does not appear to have a ‘Tegal’ definition, so I will have to rely on my old standby 1888

Noah Webster's Dictionary for a vernacular definition of this word. Maybe Noah would know
who J am.

Human - Webster's 1888 Dictionary defines ‘human' as follows: n. A human being: one of the
race of man [Rare and inelegant.] "Sprung of humans that inhabit earth.”

T know that I did not ‘Sprung’ up! Scripture says that my ancestor Adam was shaped from the dust
of the soil by Yahweh Elohim ..So my descendants were ‘shaped or formed’ not ‘Sprung up.' The
etymology of the word Human, suggests that it is a word formed of two separate words 'Hued'
(defined as the property of color), and man. But this cannot be correct, at least not poltically, so I
can't really go there, because the word ‘human’ would then mean cotored man

Am I of the race of man? Rare and inelegant? Sprung of humans that mhabit earth? (I'm not
colored, and I did not spring up}. Well, it looks like I have to define the word 'man' using
Webster's because there appears to be no ‘legal’ definition for ‘man’ (At least could not find one),
[ am not a Person... Page 2 03/05/03
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Oh! Oh! Well, it looks like we are back to the beginning of our study of defimtions, yep, back to
the start, completed the circle. | am not an ‘individual’, so I cannot be considered ‘of the human
race’; and since I'm not of the human race, so I can't be 'a human being,’ and I've also been shown
(by definitions) that I'm not ‘a person’ either.

When I was younger, ] remember filling out forms, which had the word ‘Caucasian’, listed for
race (they don't seem to use that defmition any more for some reason). I was always told that this
was the word for me to use since [ had white skin. (It is actually pinkish, and some is tamed, with

mostly white next to the tanned). I was still told [ was a ‘Caucasian'). So back to the definitions of
‘Caucasian”.

Caucasian - Black's Law Dictionary 6ih Edition, defines ‘Caucasian’ as Jollaws: Of or pertaining
to the white race.

Well, I guess that makes more sense since ] have always held myself to be ‘white’ but this is really
not a very descriptive definition. Let's see what an ‘older’ Black's Law Dictionary has to say if
anything (they have a tendency to change the meaning of words in the new dichonanes for some

reason).

Caucasian - Black's Law Dictionary 4th Edition defines “Caucasian As follows: Pertaining to the
white race, to which belong the greater part of European nations and those of western Asia. The

term is inapplicable to denote families or stocks inhabiting Europe and speaking either the so-
called Aryan or Semitic languages.

That's interesting, it appears that ‘white racist Aryan’ groups, like 'Aryan Nations’ types, or those
speaking Aryan, are not even ‘Caucasians! under this definition, so they can't be from the 'White’
Race (1 wonder if they know that). Neither are the people who call themselves Jews, and speak a
fonn of Hebrew (which appears to be derived from the older ‘Semitic’ language referred to in
Black's Law Dictionary).

Back to Noah's Dictionary to see if he has a vernacular definition of the word ‘Caucasian’.

Caucasian - Webster's 1888 Dictionary defines 'Caucasian' as follows: Anyone belonging to the
Indo-Enropean race, and the white races onginating near Mount Caucasus,

Well anyway, here then is my Conclusion: There may be some beings that are ‘persons’ and
some of them are ‘individuals’, and some ‘Natural persous' do exist, of this I have no doubt, I've
met some of them. There are also many that I believe are "Humans’, or 'Hued-man beings' these
human beings seem to exist all over this globe. However...

My lanfolk came from Western Europe, so I must have come from one of the European Nations. I
am also white (J use the term loosely) so by definition I gucss 1] am a 'Caucasian’. Since I am a
Caucasian, I must have come from, or be a member of one of the white races originating near
Mount Caucasus. 1 am a male of my race, so [ must conclude that ] am a ‘Caucasian male’, [ am
also a follower of the Scriptural Messiah whose name is Yahshua (some call him Jesus). Some
would call me a Christian, since I am a follower of the Messiah. I am a living breathing being,
formed from the soil. Therefore I must conclude that I am a Living Breathing Christian Caucasian
Male of the soil. That's it, ] am a ‘Living Breathing Caucasian Christian Male' (of the soil) or for
short, how about "L.B.C.C.M’ - Cool - Ok, now where are the Caucasus Mountains, and why

would my Caucasian Race be originating from the area near that mountain called Mount
Caucasus ......... Hunumm?

T am not a Person ... Page 3 03/05/03

 
 

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Construction.

The people of this state do not i

to the agencies that serve them. the peccle ety
delegating authority, do not give their public servant
che right to decide what is good for the people to know
and what is not good for them to know. The People insist
on remaining informed ao that they may maintain contr 1
over the instruments that they have created. The ubld
records subdivision of this chapter shall be liberally

construed and its exemptions narrowl
Promote this public policy. Y construed to

(1992 © 439 § 2.)

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" Procedure E-Z Review for Criminal Procedure

t V. Exclusionary Rule

   

The Rule requires suppression of illegally obtained evidence. This _

Rule bas been applied to violations of the Fourth. Fifth, Sixth and -
no suspicion whatsoever as | Fourteenth Amendments. This Rule is unique to American g
ce follows guidelines that Jurisprudence, In this section, we will explore the rationale, definition, 1
¢ not random, id operation of and casea involving the Exclusionary Rule.
——aan :

4 A, Generally

ft

Central to constitutional criminal procedure is the Exclusionary Rule,
i.

i

i

 

 

Constitutional right is not admissible in a court of law to

. 1. Evidence obtained by the government in violation of a
j prove guilt,

2. Purpose, The purpose of exclusion of inadmissible evidence
a is to:
a, Maintain judicial integrity;
b. Deter bad conduct on the part of law enforcement
officers; and
i c. Protect a person’s constitutional right to privacy, =

 

3. Limitations, Exclusionary rules are made only:

a. By judges, not by Congress or the Constitution; and a
b. Incriminal proceedings only. os

 

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5 Ae

5, Procedure, The following procedures apply for the ™ -—
invocation of the exclusionary rule: =

A a a ae ae |

a. tis raised in a pre-trial motion; and i

b. The burden is on the prosecution to prove that the as

evidence is admissible. a

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E-Z Review for Criminal Procedure

B. What is net Admissible?
The following are not admissible.

1. Illegally seized evidence

3. “Fruits of the Poisonous Tree”

y evidence that is the direct or indirect result

Definition. Ao
confession

of the initial illegal search or seizure. (Example:
may be the fruit of an unlawful arrest).

a. Allevidence from the resulting illegal act is inadmissible

in court, unless it has been obtained by means
anfficiently distinguishable to be purged of the primary
taint.
b. For example, officers unlawfully arrest Mary Juana and
unlawfully search Mary Juana’s home without a
warrant. Surprisingly, they find drugs. The drugs
would be inadmissible in court because the warrantless
search of Mary Juana’s home, absent exigent
circumstances, violates her Fourth Amendment right to
be free from unreasonable gearches and seizures. The
officers also find a day planner which saya “pick up
1000 kilos of cocaine at 101 High Street.” The police go
to 10] High Street and seize 1000 kilos of cocaine. That
cocaine would be excluded as fruit of a poisonous tree,
unless the prosecution could successfully argue that
there would have been:
i. Inevitable discovery of the evidence,
ii. There was ai independent source for the
information; or
ii. ‘There was sufficient attenuation.
C. Exceptions to the Exclusionary Rule
(Burden of proof on Prosecution. }

1. Inevitable Discovery

Definition, Fruit of a poisonous free ia admissible if the
court finds that the evidence would have been discovered

anyway by lawful means.
a. Limitation. Inevitable discovery is usually

physical evidence of weapors.

limited te

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Nix y. Witilains, 467 US. 431 (1984)

Facts: The police obtained statements. from the defendant in
violation of his'right to counsel. ‘Those:s tements lead the police tr
ithe. body of a 14-year-old gitl. The defendant wyas convicted of
urdering the girly b % Court overturned the conviction.
‘During a second tris i
body, location,
‘guilt. Theidefé
‘be excluded ‘as
Held: The body. ati
inevitable discovery
even absent the illegal gtatemén
for the cxclusiodigry. Tu h

     

    

                   

 

  

i. The Court acted th

siorary. is that the government shel’ cocci *
advantaye fromm ilegal police actions... Were. hare ver. patie © >
have fourid nde! anyway dhepe is voor al cerefit 1
would come fron excluding the evidetice. :

   

  
 

  

On the Burdes_of Proof, The prosecution must pow: by ape

ponderance of the evidence that the evidence weuld live The
discovered by other means.

9, To determine whether there ig sufficient aticnsation *
cleanse an illegal arrest of its taint, kesl. et:

a. The flagrancy of the illegal conehuct:

b, The temporal oroximity between she oarest owe
confession; snd

c. The presence of intervening iret 1c: s.

3. Turged Taint. Under the following ¢irew st. ice . Ih
ona evidence may be removed.

a. intervening actions. including deferdart’s awn acts.
remove the taint of an itlegal act.
b. However, defendant's act must be:
i. Made voluntarily;
4. Made after the stress of the ¢ririna! tart les
dissipated.
‘Wong Sun v. United States, 371 US. 474.1963)
Facts! The police: illegally. searched Toy's apartment. Asa result
ithe search Toy made att iheriminating atatcment against Yee. Th-
ipolice obtained heroin from. Yee, who-sald that it came from Toy anil

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E-Z Review for Criminal Procedure

 

 

 

 

 

   

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ue 5 1 1 .
4, The relationship between confession and illegal entry into a
© a
N home is as follows.
© Rule. Once a defendant Ieaves the threshold of the home, any
E confession he makes is unrelated to the illegal entry.
S 5, There is a legal distinction between physical evidence and a
a live witness.
I
x
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D a 4
G Note. The Court's treatment of live witnesses can be explained by
O its theory that live witnesses, unlike physical evidence, possess free

will, Even in the absence of the illegal search, it is possible that a live

witness could come forward and testify, whereas physical evidence
never volunteers to be found.

 

 

 

6. Independent Source.

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Rule. Evidence is admissible if the preveculion can prove that a
could have been obtained by an independent and lawful sam:
wholly unconnected to the illegal search and seizure.

                       

US. v, Crews, 445 USE
‘Facts: Defendant ¥

bathroom robberie.
‘photograph the
‘quéstioned bi

 

8 a possible suspect in a pair of
ingtott» Monument. Unalle to
icé took him into custe:ly,
n sgiaphi: A victim later identiticd
‘the defendant fromthe. ilegal ned. chotegraph.

‘Hell: A defendant isinot, pressible “fruit”, ancl the
‘illegality of his detention ddes not déprivé the’ government of th:
opportunity to prove his guilt thtough the.use of untainted evidenc:.
this: ca e p independent basis to suspect
Phich he was charged -

 

 

 
 

7. The independent source mie alse applies where police have
probable cause te search the premises, but without a
warrant.

           

th ne warrant but upen
(He police then applied
d Hot mention that they
nit back and seized the

 

‘had previously
idrugs. >

‘Held: Police’ had an indepeéident so
‘so the evidence is admissible. -

      

 

upon which to get a warrant,

 

 

8. Good Faith exception to the Exclusionary Rule

a, Requirements for the good faith exception are that:
i. The police reasonably relied on warrant issued by
detached and neutral magistrate.

i. The warrant is later found te be defective,

b. Consequence. Physical evidence that imects the
requirements of the exception is admissible in the
prosccutor's case-in-chief.

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c. Applica to:
i. Overturned cages;
ii. Overturned rulings;
iii, Subsequent changes in the law, and
rn, Finding of new Constitutional rights.

D, Inapplicability of the Exclusionary Rule.

The exclusionary rule is inapplicable in the following

proceedings.

1. Private searches where the evidence is turned over to the
government by a non-government searcher;

Civil Proceedings,

Bost-conviction sentencing;

Bow bp

Grand Jury investigations;
Impeachment proceedings.

Parole Revocation Hearings

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‘Court opined the ‘social aspects ofalloy ing a pale «ut ot
dinder restriction
‘that there is a high percentag? of repeat offend: rs meng ee

£-Z Review for Criminal Procedure

Penn spevania B oard of. Probation and Peroles ¥ a cert, No, 97-58]
(1998).

   

Facts; A condition of:the ‘defendant ‘5 parole was that he was to
refrain from owrling or: ‘possessing j Feapons. . Parole officers believed
the was violating:this
warrant and found fire:

ould not’ deter officers from ratwke mt;

 

‘Amendment ata parole revocation beating. The « Court noted tha cic
Rule is judicial created and ndt applicsbte in every situation. 1h

 

  
 

outweighs amy alternative, ‘The! ovet rls

An oflicer in this situation necd ned be deterresL.
E. Rationales for the Exchusionary Rule
The exclusionary mule:

1. Prevents violators of constitutional rinhis dem “pets

from their miscortoct,

Deters misconduct by government personne

Presc: ves the integrity of ihe judicial syst im,

Protects right ta privacy,

Leads to greater training amd prefe: sig alton is

enforcement,

6. Protects Fourth Amendment Fight cy oe fr:
unreasonable se irches and scizires is to '

Be we pa

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PF. Pes ons Militating for the Flimination ofthe Pie

1. Guilty persons may he set [ree be cause ofoves cecle oboe
enforcement,
4. The rule encourages police to cammnit periare,

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E-2 Review for Crintital Procedure

Raa

It diminishes overall respect for the justice system,

4, It does not punish the violator of the constitutional mght.
Rather, it punishes society by freeing guilty parties.

5. The United States is the only country which has this tvpe of
rulc (“Fruits of the Poisonous Tree"),

6 The Exclusionary Rule is not explicitly required by the

Constitution.

G Altematives

The icllowing alternatives are offered instead of the exclusionary
rule:

1. Ailow evidence to come in but allow person to gue
government in tort for violations.

Hold the individual officer who violates Constitutional! rights
accountable in tort or provide for disciplinary action,

3. Expand the Good Faith Dec*rtins, se¢ supra.

hm

Altematives to the exclusionary rule, such as those listed apove,

Amendment riuzhts. /

\ have failed in the past to provide adequate seh etuords for Foweth

 

 
    

 

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